                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN


KATHRYN KNOWLTON, ANDREW AARON, KAMILA AHMED, ROBERT AGNEW,
ISIAH BALDWIN, JACQUELINE BOGENBERGER, LAVITA BOOKER, REBECCA
BURRELL, RAINE CICH, TAHUDAH COLE, TALEAVIA COLE, TRACY COLE, KHALIL
COLEMAN, STEVEN CONKLIN, LAURYN CROSS, RACHEL DULAY, ANNE DELESSIO-
PARSON, ERIK FANNING, JESSICA FENNER, JILL FERGUSON, BREON FOSTER,
JOANNA GEISLER, CHRISTINE GROPPI, GAIGE GROSSKREUTZ, JOSEPH HAYES,
PERCY HAYES, DESTINEY JONES, ADANTE JORDAN, MARY KACHELSKI, SEAN
KAFER, JOEY KOEPP, JOHN LARRY, ALEX LARSON, SONORA LARSON, HOLLY
LAVORA, LAZARITO MATHEU, VAUN MAYES, DANA McCORMICK, MOLLY
NILSSEN, SHAWN PAGE, CARMEN PALMER, (JUVENILE) PALMER 1, (JUVENILE)
PALMER 2, LEAH PORTER, AIDALI RIVERA, WILLIAM RIVERA, HECTOR
RODRIGUEZ, JOSE HERNANDEZ RAMIREZ, OSCAR CONCEPCION RODRIGUEZ,
ROSALIND ROGERS, NATHAN SABEL, WILLIAM SCHROEDER, MADELIENE
SCHWEITZER, MARIAH SMITH, PETER SPARKS, TIFFANY STARK, ANGEL VEGA,
CHRISTINA VITOLO-HADDAD, GABRIELLA VITUCCI, TRISTIANA WALLS, OSCAR
WALTON, JAYDEN WELCH, BRITTA WELCH, SUZANNE WELLS, BRANDON
WILBORN, TRISHA WILSON, KATELYN WOJNAR, SONJA WORTHY, and MEMBERS OF
THE PEOPLE’S REVOLUTION, AN UNINCORPORATED ENTITY, hereinafter referred to as
(TPR), on behalf of themselves and all others similarly situated,


      Plaintiffs.

      v.                                              Case No. 20 CV 01660


CITY OF WAUWATOSA, DENNIS McBRIDE in his individual capacity, BARRY WEBER, in
his individual capacity as the Former Chief of Police of the Wauwatosa Police Department,
MARIA ARBITER in her individual capacity JEFFREY FARINA in his individual capacity,
JOSEPH LEWANDOWSKI in his individual capacity, DANIEL MITCHELL in his individual
capacity,       GEORGE OPELT in his individual capacity, ROBERT PIEHL in his individual
capacity, DOMINICK RATKOWSKI in his individual capacity, RUSSELL RICHARDSON in
his individual capacity,     JOSEPH ROY in his individual capacity, JAMES SHORT in his
individual capacity, BRIAN SKORNIA in his individual capacity, LUKE VETTER in his
individual capacity, TIMOTHY WARREN in his individual capacity, SHANE WRUCKE in his
individual capacity, KELLY ZIELINSKI in his individual capacity,     and    JOHN DOES
POLICE OFFICERS 1 – 100

      Defendants.




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      FOURTH AMENDED COMPLAINT AND DEMAND FOR A JURY TRIAL
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        Plaintiffs, by their undersigned attorneys of record, allege as follows:

                                     I.      INTRODUCTION

        1.      The City of Wauwatosa through its Police Department has spent the past two years

engaged in a political campaign against those who call for justice and reform. This campaign has

included the use of violence, criminal and civil charges, surveillance, and efforts to harass and

intimidate those who call for change. Plaintiffs bring this action to call out these invasions of their

privacy, violations of their right to assemble and to exercise their free speech, and to bring to light

the corrupt use of state force in pursuit of political gain.

        2.      These are civil rights actions challenging the unconstitutional actions of the City of

Wauwatosa employees, an elected official, and members of the Wauwatosa Police Department

(“WPD”) against these sixty-eight Plaintiffs and one unincorporated entity, many of whom were

tragically inspired to peaceably protest after the untimely deaths of George Floyd, Alvin Cole, Jay

Anderson Jr., Breonna Taylor, and so many others who have died at the hands of police. The vast

majority of these Plaintiffs were present during protests and/or an unlawful curfew while invoking

their constitutional rights in standing up against police violence, insisting on police reform, and

fighting for anti-racial policies and/or practices in the City of Wauwatosa who were summarily

arrested, targeted, and punished by police officers, elected officials, and city employees starting

on or around May 25, 2020 through present.

        3.      These civil actions are brought pursuant to 42 U.S.C. §1983. Plaintiffs seek

damages for injuries sustained by Plaintiffs as a result of Defendants’ violation of their

constitutional rights. Plaintiffs also seek to enjoin the City of Wauwatosa and Wauwatosa Mayor

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Dennis McBride from issuing unlawful emergency orders and other Wauwatosa Police Officers

from issuing and enforcing unlawful policies including dispersal orders to peaceful citizens based

on alleged unlawful assembly or other group misconduct by others.

       4.      Throughout the summer of 2020, the United States was immersed in the largest

social justice movement in history. In a repudiation of anti-Black racism, white supremacy, police

violence, mass criminalization, and mass incarceration, millions joined demonstrations around the

globe in solidarity against police violence.

       5.      Many of the Plaintiffs as well as thousands of other organizers, activists, and

community leaders throughout the State of Wisconsin - multi-racial, varying gender orientations,

and intergenerational in composition - engaged in a wide variety of actions throughout 2020, which

included rallies, marches, and other creative protests that consistently opposed police violence and

demanded police accountability within the criminal justice system.

       6.      One political protest movement emerged in Wisconsin after the murder of George

Floyd on May 25, 2020 called The People’s Revolution, hereinafter referred to as “TPR.”

       7.      Plaintiffs are citizens of the U.S. who were ticketed, arrested, and/or targeted in and

by the City of Wauwatosa and its employees for being physically present or engaging in peaceful

protests in the wake of the homicides of George Floyd, Alvin Cole, and the shooting of Jacob

Blake, peacefully protesting the inequitable treatment imposed upon persons of color who have

been severely hurt or killed by police officers.

       8.      The protests that occurred in Wauwatosa primarily occurred as a result of the

actions of former WPD officer Joseph Mensah “Mensah” and the inactions of the City of

Wauwatosa in holding him accountable for killing three males of color within his five years with

the WPD. On February 2, 2020, Mensah shot and killed Alvin Cole at Mayfair Mall. Mensah also

shot and killed Jay Anderson, Jr. on June 23, 2016 and Antonio Gonzales on July 15, 2015. In his
                                                                                                    3

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five years with the WPD, Mensah fired his weapon nineteen times that resulted in these three

deaths. He is the only WPD officer who has killed anyone within the last twelve (12) years.

Mensah has never been held accountable by the WPD for these deaths despite WPD’s cursory

admissions that Mensah failed to follow some departmental policies and procedures in his

involvement with the shootings and he has never been criminally charged.

        9.     Ultimately, because of the lack of accountability regarding the three shootings that

Mensah was involved in, several peaceful protests occurred in the City of Wauwatosa starting on

or around May 25, 2020 onwards in which persons or persons perceived to be affiliated with The

People’s Revolution “TPR” were ticketed, targeted, and monitored by members of the WPD,

Wauwatosa elected officials, and city employees.

        10.    In response to these peaceful protests, on or around May 25, 2020 Dominick

Ratkowski, a city of Wauwatosa employee who works at the WPD, created a TPR Target List

(“Target List”). This Target List contained persons whom Ratkowski perceived to be affiliated

with the People’s Revolution (“TPR”) and had their name, photos, addresses, dates of birth, and

other personal information. This Target List was indiscriminately distributed by Ratkowski and

other Wauwatosa city employees, local, state, and federal agencies often with no explanation or

guidance on who the people were on the Target List or why they were on their.

        11.    Although the protests from May 25, 2020 onwards were overwhelmingly peaceful,

the Wauwatosa Police Department (“WPD”) and its officers often used violent crowd control

tactics against peaceful protestors.

        12.    This case largely focuses on the City of Wauwatosa’s Emergency Order unlawfully

and unilaterally passed and signed by the Defendant Mayor Dennis McBride, on September 30,

2020.

        13.    Defendant McBride based upon the civil unrests that occurred in Kenosha after the
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Jacob Blake shooting and in Minneapolis after the George Floyd shooting, McBride anticipated

that there would be unrest in Wauwatosa and manufactured an emergency following the release of

the Milwaukee County District Attorney’s findings in the matter of Mensah’s killing of Alvin Cole

on February 2, 2020.

         14.   The Mayor’s Order gave rise to the WPD’s response to which Wauwatosa Captain

Luke Vetter, the second in command for the WPD under Former Chief Weber, was the Operational

Supervisor for the police operations in Wauwatosa which included the mobilization of over forty-

five (45) regional, state and federal operational partners, including but not limited to the Wisconsin

Department of Justice, the FBI (Federal Bureau of Investigations), the ATF (the Bureau of Arms,

Tobacco, Firearms and Explosives), the Wisconsin National Guard, the United States Marshalls,

etc.

         15.   The WPD, Wauwatosa City Agencies, and other operational partners responded to

the demonstrations with unconstitutional tactics that were clearly intended to injure, silence, and

intimidate Plaintiffs as well as all citizens. These abusive tactics included violently beating

protestors, engaging in false arrests, the creation of false arrest records, use of chemical agents,

and kettling protestors in enclosed areas.

         16.   The WPD targeted nonviolent protesters, medics, journalists, and individuals

recording the demonstrations with retaliatory and unlawful police tactics.

         17.   The actions of the WPD have gone unchecked by the City of Wauwatosa. In

particular the Mayor of Wauwatosa and its Police and Fire Commissioners (“PFC”) have done

little to nothing to address the decades of inequitable policing to persons of color and violence

against protestors.

         18.   From 8/13/2020 through 12/31/20 there were no less than four written citizen



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complaints made to Wauwatosa PFC regarding excessive force used by the WPD police officers

against peaceful protestors and none of those complaints were addressed, responded to, or

investigated by the PFC.

        19.     On January 7, 2021, one day after the U.S. Capitol insurrection, the WPD, through

Wauwatosa Police Lt. Joseph Roy, decided to publicly release hundreds of pages of unredacted

documents of fifty-three (53) Plaintiffs without their express consent, which contained their

personal information and highly restricted personal information obtained from their motor vehicle

records.

                              II.     JURISDICTION AND VENUE

        20.     This Court has jurisdiction to hear this Complaint pursuant to 28 U.S.C. §1331

(federal question), 28 U.S.C. §1343(a)(3) and (4) (civil rights jurisdiction), 28 U.S.C. §§2201,

2202 (declaratory judgment jurisdiction), and 28 U.S.C. §1367 (supplemental jurisdiction).

        21.     Plaintiff further invokes this court’s supplemental jurisdiction, pursuant to 28

U.S.C. §1367(a) over any and all state constitutional and state law claims that are so related to the

claims within the original jurisdiction of this Court that they form part of the same case or

controversy.

        23.     Venue is proper in the United States District Court for the Eastern District of

Wisconsin under 28 U.S.C. §1391(b)(1) and (2) because defendants (including entities) are therein

located, and because a substantial part of the acts or omissions giving rise to the claims herein

occurred in this judicial district.

                             III.     THE PARTIES TO THIS COMPLAINT

        24.     Plaintiff Andrew Aaron is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

        25.     Plaintiff Robert Agnew is a Wisconsin resident who resides in the City and County
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of Milwaukee, State of Wisconsin.

       26.    Plaintiff Kamila Ahmed is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       27.    Plaintiff Isiah Baldwin is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       28.    Plaintiff Jacqueline Bogenberger is a Wisconsin resident who resides in the City

and County of Milwaukee, State of Wisconsin.

       29.    Plaintiff Lavita Booker is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       30.    Plaintiff Rebecca Burrell is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       31.    Plaintiff Raine Cich is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       32.    Plaintiff Tahudah Cole is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       33.    Plaintiff Taleavia Cole is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       34.    Plaintiff Tracy Cole is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       35.    Plaintiff Khalil Coleman is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       36.    Plaintiff Oscar Concepcion Rodriguez is a Wisconsin resident who resides in the

City and County of Milwaukee, State of Wisconsin.

       37.    Plaintiff Steven Conklin is a Wisconsin resident who resides in the City of
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Watertown and County Jefferson of State of Wisconsin.

       38.    Plaintiff Lauryn Cross is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       39.    Plaintiff Anne Delessio-Parson is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       40.    Plaintiff Rachel Dulay is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       41.    Plaintiff Erik Fanning is a Wisconsin resident who resides in the City of Wauwatosa

and County of Milwaukee, State of Wisconsin.

       42.    Plaintiff Jill Ferguson is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       43.    Plaintiff Breon Foster is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       44.    Plaintiff Joanna Geisler is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       45.    Plaintiff Christine Groppi is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       46.    Plaintiff Gaige Grosskreutz is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       47.    Plaintiff Christina Vitolo-Haddad is a Wisconsin resident who resides in the City

of Madison in Dane County in the State of Wisconsin.

       48.    Plaintiff Joseph Hayes is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       49.    Plaintiff Percy Hayes is a Wisconsin resident who resides in the City and County
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of Milwaukee, State of Wisconsin.

       50.     Plaintiff Jose Hernandez Ramirez is a Wisconsin resident who resides in the City

and County of Milwaukee, State of Wisconsin.

       51.     Plaintiff Destiney Jones is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       52.     Plaintiff Mary Kachelski is a Wisconsin resident who resides in Wauwatosa in

Milwaukee County in the State of Wisconsin.

       53.     Plaintiff Sean Kafer is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       54.     Plaintiff Kathryn Knowlton resides in the City of Wauwatosa, Milwaukee County

in the State of Wisconsin.

       55.     Plaintiff Joey Koepp resides in the City of Greenfield, Milwaukee County in the

State of Wisconsin.

       56.     Plaintiff John Larry resides in the City of Wauwatosa, Milwaukee County in the

State of Wisconsin.

       57.     Plaintiff Alex Larson resides in the City of Wauwatosa, in Milwaukee County in

the State of Wisconsin.

       58.     Plaintiff Sonora Larson is a Wisconsin resident who resides in the City Boston in

Suffolk County, State of Massachusetts.

       59.     Plaintiff Holly Lavora is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       60.     Plaintiff Lazarito Matheu is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       61.     Plaintiff Vaun Mayes is a Wisconsin resident who resides in the City and County
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of Milwaukee, State of Wisconsin.

       62.     Plaintiff Dana McCormick resides in the City of Wauwatosa, Milwaukee County

in the State of Wisconsin.

       63.     Plaintiff Molly Nilssen is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       64.     Plaintiff Carmen Palmer is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       65.     Plaintiff (Juvenile) female Palmer #1 is a Wisconsin resident who resides in the

City and County of Milwaukee, State of Wisconsin.

       66.     Plaintiff (Juvenile) male Palmer #2 is a Wisconsin resident who resides in the City

and County of Milwaukee, State of Wisconsin.

       67.     Plaintiff Leah Porter is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       68.     Plaintiff Aidali Rivera is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       69.     Plaintiff William Rivera resides in the City of Wauwatosa Milwaukee County in

the State of Wisconsin.

       70.     Plaintiff Hector Rodriguez is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       71.     Plaintiff Rosalind Rogers is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       72.     Plaintiff Nathan Sabel is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       73.     Plaintiff William Schroeder is a Wisconsin resident who resides in the City and
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County of Milwaukee, State of Wisconsin.

       74.    Plaintiff Madeline Schweitzer is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       75.    Plaintiff Mariah Smith is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       76.    Plaintiff Peter Sparks is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       77.    Plaintiff Tiffany Stark is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       78.    Plaintiff Angel Vega is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       79.    Plaintiff Gabriella Vitucci is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       80.    Plaintiff Tristiana Walls is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       81.    Plaintiff Oscar Walton is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       82.    Plaintiff Suzanne Wells is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.

       83.    Plaintiff Brandon Wilborn is a Wisconsin resident who resides in the City and

County of Milwaukee, State of Wisconsin.

       84.    Plaintiff Trisha Wilson is a Wisconsin resident who resides in the City and County

of Milwaukee, State of Wisconsin.



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       85.      Plaintiff Katelyn Wojnar resides in the City of Stevens Point, Portage County in the

State of Wisconsin.

       86.      Plaintiff Sonja Worthy resides in the City of Madison, Dane County in the State of

   Wisconsin.

       87.      Plaintiffs the People’s Revolution (TPR) is an unincorporated entity consisting of

individuals who participated in various actions throughout the State of Wisconsin during 2020 that

originated in Wisconsin created after the George Floyd killing which took place on May 25, 2020.

       88.      Defendant City of Wauwatosa is a municipality incorporated in the State of

Wisconsin.

       89.      Defendant Dennis McBride is the Mayor of Wauwatosa, located at the Wauwatosa

City Hall at 7725 West North Avenue, Wauwatosa, WI 53213, County of Milwaukee, State of

WI., with a phone number of 414-479-8917 and an email of dmcbride@wauwatosa.net, and is, on

information and belief, an adult resident of the State of WI. residing in Milwaukee County, within

the Eastern District of WI. Defendant McBride is the chief executive officer of Wauwatosa,

responsible to direct the Chief of Police. He is named in his individual capacity At all times

pertinent and material to this Complaint, Defendant McBride was acting within the scope of his

position and under color of the statutes, ordinances, customs, policies, and usages of the State of

Wisconsin.

       90.      Defendant Barry Weber was the Chief of Police during all the dates relevant to this

complaint for the WPD located at 1700 North 16th Street, Wauwatosa, WI 53226, County of

Milwaukee, State of Wisconsin, with a phone number of 414-471-8430 and an email of

bweber@wauwatosa.net, and is, on information and belief an adult resident of the State of

Wisconsin residing in Washington County, within the Eastern District of Wisconsin. Defendant

Weber was the Chief of Police for Wauwatosa and in that capacity had final responsibility for
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establishing the rules of engagement for police deployments responding to protests and civil unrest

and as directed by the Mayor. Weber is named in his individual. At all times pertinent and material

to this Complaint, Defendant Weber was acting within the scope of his employment and under

color of the statutes, ordinances, customs, policies, and usages of the State of Wisconsin.

       91.     Defendant Maria Arbiter is an officer with the WPD located at 1700 North 116th

Street, Wauwatosa, WI 53226, County of Milwaukee, State of WI., with a phone number of 414-

471-8430 and an email of, and is, on information and belief, an adult resident of the State of WI.

residing in Milwaukee County, within the Eastern District of WI. Defendant Arbiter is named in

her individual capacity. At all times pertinent and material to this Complaint, Ms. Arbiter was

acting within the scope of her employment and under color of the statutes, ordinances, customs,

policies, and usages of the State of Wisconsin.

       92.     Defendant Jeffrey Farina was a law enforcement officer with the WPD located at

1700 North 116th Street, Wauwatosa, WI 53226, County of Milwaukee, State of WI., with a phone

number of 414-471-8430 and an email of, and is, on information and belief, an adult resident of

the State of WI. residing in Milwaukee County, within the Eastern District of WI. Defendant Farina

is named in his individual capacity. At all times pertinent and material to this Complaint, Farina

was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of Wisconsin.

       93.     Defendant Joseph Lewandowski is an officer with the WPD, located at 1700 North

116th Street, Wauwatosa, WI. 53226, County of Milwaukee, State of WI., with a phone number of

414-471-8430, and is, on information and belief, an adult resident of the State of Wisconsin

residing in Milwaukee County, within the Eastern District of WI.. Lewandowski is named in his

individual capacity. At all times pertinent and material to this Complaint, Defendant Lewandowski



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was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of Wisconsin.

       94.     Defendant Daniel Mitchell is an officer with the WPD, located at 1700 North 116th

Street, Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with a phone number

of 414-471-8430, and is, on information and belief, an adult resident of the State of Wisconsin

residing in Milwaukee County, within the Eastern District of Wisconsin. Defendant Mitchell is

named in his individual capacity. At all times pertinent and material to this Complaint, Defendant

Mitchell was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of Wisconsin.

       95.     Defendant George Opelt is an officer with the WPD, located at 1700 North 116th

Street, Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with a phone number

of 414-471-8430, and is, on information and belief, an adult resident of the State of Wisconsin

residing in Milwaukee County, within the Eastern District of Wisconsin. Defendant Opelt is named

in his individual capacity. At all times pertinent and material to this Complaint, Defendant Opelt

was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of Wisconsin.

       96.     Defendant Robert Piehl is an officer with the WPD, located at 1700 North 116th

Street, Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with a phone number

of 414-471-8430, and is, on information and belief, an adult resident of the State of Wisconsin

residing in Milwaukee County, within the Eastern District of Wisconsin. Defendant Piehl is named

in his individual capacity. At all times pertinent and material to this Complaint, Defendant Piehl

was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of Wisconsin.



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       97.     Defendant Dominick Ratkowski is an employee of the City of Wauwatosa who

worked at the WPD, located at 1700 North 116th Street, Wauwatosa, WI 53226, County of

Milwaukee, State of WI., with a phone number of 414-471-8430 and an email of

dratkowski@wauwatosa.net , and is, on information and belief, an adult resident of the State of

WI. residing in Milwaukee County, within the Eastern District of WI. Ratkowski is named in his

individual capacity. At all times pertinent and material to this Complaint, Defendant Ratkowski

was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of Wisconsin.

       98.     Defendant Russell Richardson is a law enforcement officer with the WPD, located

at 1700 North 116th Street, Wauwatosa, WI 53226, County of Milwaukee, State of WI. with a

phone number of 414-471-8430 and is, on information and belief, an adult resident of the State of

WI. residing in Milwaukee County, within the Eastern District of Wisconsin. Richardson is named

in his individual capacity. At all times pertinent and material to this Complaint, Defendant

Richardson was acting within the scope of his employment and under color of the statutes,

ordinances, customs, policies, and usages of the State of Wisconsin.

       99.     Defendant Joseph Roy is a law enforcement officer with the WPD, located at 1700

North 116th Street, Wauwatosa, WI. 53226, County of Milwaukee, State of Wisconsin, with a

phone number of 414-471-8430 and is, on information and belief, an adult resident of the State of

WI. residing in Milwaukee County, within the Eastern District of Wisconsin. Defendant Roy is

named in his individual capacity. At all times pertinent and material to this Complaint, Defendant

Roy was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of WI.




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       101.    Defendant James Short is a law enforcement officer with the WPD located at 1700

North 116th Street, Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with a phone

number of 414-471-8430 and an email of, and is, on information and belief, an adult resident of

the State of Wisconsin residing in Milwaukee County, within the Eastern District of Wisconsin.

Defendant Short is named in his individual capacity. At all times pertinent and material to this

Complaint, Defendant Zielinski was acting within the scope of his employment and under color of

the statutes, ordinances, customs, policies, and usages of the State of Wisconsin.

       102.    Defendant Brian Skornia is an officer with WPD, located at 1700 North 116th Street,

Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with a phone number of 414-

471-8430, and is, on information and belief, an adult resident of the State of Wisconsin residing in

Milwaukee County, within the Eastern District of Wisconsin. Defendant Skornia is named in his

individual capacity. At all times pertinent and material to this Complaint, Defendant Skornia was

acting within the scope of his employment and under color of the statutes, ordinances, customs,

policies, and usages of the State of Wisconsin.

       103.    Defendant Luke Vetter is a Captain with the WPD, located at 1700 North 116th

Street, Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with a phone number

of 414-471-8430 and is, on information and belief, an adult resident of the State of Wisconsin

residing in Milwaukee County, within the Eastern District of Wisconsin. Defendant Vetter is

named in his individual capacity. At all times pertinent and material to this Complaint, Defendant

Vetter was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of Wisconsin.

       104.    Defendant Timothy Warren is an officer with the WPD located at 1700 North 116th

Street, Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with a phone number

of 414-471-8430 and is, on information and belief, an adult resident of the State of Wisconsin
                                                                                                 16

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residing in Milwaukee County, within the Eastern District of Wisconsin. Defendant Warren is

named in his individual capacity. At all times pertinent and material to this Complaint, Defendant

Warren was acting within the scope of his employment and under color of the statutes, ordinances,

customs, policies, and usages of the State of Wisconsin.

       105.    Defendant Shane Wrucke is a law enforcement officer with the WPD located at

1700 North 116th Street, Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with

a phone number of 414-471-8430 and an email of, and is, on information and belief, an adult

resident of the State of Wisconsin residing in Milwaukee County, within the Eastern District of

Wisconsin. Defendant Wrucke is named in his individual capacity. At all times pertinent and

material to this Complaint, Defendant Wrucke was acting within the scope of his employment and

under color of the statutes, ordinances, customs, policies, and usages of the State of Wisconsin.

       106.    Defendant Kelly Zielinski is a law enforcement officer with the WPD located at

1700 North 116th Street, Wauwatosa, WI 53226, County of Milwaukee, State of Wisconsin, with

a phone number of 414-471-8430 and an email of, and is, on information and belief, an adult

resident of the State of Wisconsin residing in Milwaukee County, within the Eastern District of

Wisconsin. Defendant Zielinski is named in his individual capacityFinju. At all times pertinent

and material to this Complaint, Defendant Zielinski was acting within the scope of his employment

and under color of the statutes, ordinances, customs, policies, and usages of the State of Wisconsin.

       107.    John Does 1-100 are individual police officers and employees of the City of

Wauwatosa, who enabled, supported and/or effectuated arrests, caused bodily harm, created false

arrest records, and/or ticketed individuals at issue in this case. Their identities are currently

unknown to Plaintiffs but are known to Defendant City of Wauwatosa. They are each public

employees of Wauwatosa who were operating under the color of state law. When their identities



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are determined, this Complaint will be amended to name each individual officer to the extent that

they violated the rights contemplated in this suit.

   IV.       HISTORICAL BACKGROUND OF RACIAL ISSUES IN WAUWATOSA AND
                        THE WAUWATOSA POLICE DEPARTMENT

          108.      The City of Wauwatosa unfortunately has a long and sordid history of racial issues.

From 1920 through the 1950’s Wauwatosa was known as a restrictive zoning city in which African

Americans were not welcome.1 Even well into the 1960s it was common to see signs in Wauwatosa

excluding black people or seeing property deeds which explicitly “excluded non-whites from

purchasing, owning, leasing or occupying.”2

          109.      In 1989 the City of Wauwatosa hired an outside research firm, to conduct a

comprehensive study of the Wauwatosa Police Department hereinafter “WPD.”

          110.      The study concluded that there was an “inadequacy of leadership,” as well as

“inefficient training of officers and misallocation of personnel.” Additionally, it was noted that

the police non-supervisory union was too powerful. The study advised that the union should

relinquish some of its power (which they never did) and called for the City of Wauwatosa to

expedite the removal of then police chief Roy Wellnitz, who had held this position since for

nearly fifteen years. See Wauwatosa Times Article January12, 1989




1 https://www.jsonline.com/story/news/solutions/2019/06/18/centuries-old-racism-haunts-efforts-treat-milwaukee-trauma-
epidemic/2580146002/
2 Id.


                                                                                                                         18

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       111.    Police Chief Wellnitz was forced to leave in August 1989, and left the WPD amid

controversy in Wauwatosa for racially insensitive actions by officers working within the police

force and was replaced by Interim Chief Fred Basting who served as chief until May 1990.

       112.    In 1989 John Kutz, a civilian clerk, reported to the Wauwatosa’s Police and Fire

Commission (“PFC”) that Wauwatosa Police officers were hosting and attending racist events

labeled as the Martin Luther King Parties (“MLK parties.)”

       113.    There is no dispute that these racially divisive parties occurred in 1988 and 1989

and were hosted by former WPD Sqt. John Bozevich and attended by at least twelve WPD officers.

       114.    At the MLK parties Mr. Kutz reported that WPD officers wore nametags of

minorities, advertised the parties using pictures of minorities who had been arrested, and that Ku

Klux Klan materials and Confederate flags were prominently displayed at these parties.

Wauwatosa Times 03/29/90




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       115.    Former WPD Sqt. Bozevich who hosted at least two MLK parties was given a

twenty-day suspension and former WPD Officer James Zalewski who attended at least two of

these parties was given a thirty-day suspension while the matter was being investigated.

       116.    Amid this controversy, the City of Wauwatosa hired WPD’s most recent former

Chief Barry Weber in May 1990. He was the chief of the WPD at all times relevant to this

complaint and retired on June 1, 2021 replaced by James MacGillis.

       117.    While the investigation into the MLK parties was taking place, Defendant Chief

Weber promoted Bozevich, who unquestionably hosted the MLK parties and Bozevich quickly

became second in command with the WPD for many years. During the investigation into the

MLK was ongoing, Weber also promoted many of the WPD officers who attended these parties

and who were also harassing John Kutz, the whistleblower.

       118.    The Wauwatosa Police and Fire Commission (“PFC”) in 1991 reversed the

suspensions of the thirteen (13) WPD officers who hosted and/or attended the MLK parties,

returned back pay to the officers, and did nothing against the officers.

       119.    In September 1990 and January 1991, John Kutz filed a complaint to


Wauwatosa PFC against newly hired Chief Weber and others, claiming that Weber harassed him.

Kutz’s complaint also noted the promotions of WPD officers who hosted and attended these

parties while also sharing the racial harassment Kutz received at work. Wauwatosa Times

09/13/90




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         120.   Wauwatosa’s PFC also dismissed Kutz’s complaint against Weber in 1991.

         121.   According to the latest U.S. census of Wauwatosa as of August 13, 2021,

         122.   Wauwatosa has a population of approx.. 48,387 and is a little over 13 sq. miles.

         123.   Since April 2010 the population of Wauwatosa has stayed relatively constant, with

about a 3.6% increase over the ten-year period. Ethnically, the population is 84.4% white, 5.3%

black, 4.1% Asian, 2.9% Hispanic, with the remaining 3.3% identifying with two or more races.3

         124.   According to the arrest data, 83% of the arrests in Wauwatosa in 2018 were of

African Americans, 16% were of whites, and 1% were other. See graph below.




3
    https://www.census.gov/quickfacts/fact/table/wauwatosacitywisconsin,US/RHI225219
                                                                                                   21

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       125.   In Wauwatosa, white drivers are stopped an average of 13 minutes and 17 seconds

while black drivers are stopped on average 15 minutes and 26 seconds.

       126.   From 2015 – 2017, of those stops where racial data was recorded, 64% of

      people stopped by officers in the WPD were African Americans. See graphs below.




       127.   Defendant Mayor McBride stated on October 29, 2020 that, “The Wauwatosa of

today is not a racist community. Wauwatosa is a welcoming community. There are lots of nice

people. We are facing a difficult time here. But it’s a place where people want to come.”




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     V.      BACKGROUND OF PROTESTING IN WAUWATOSA and the KILLIN of
             ALVIN COLE, JAY ANDERSON, and ANTONIO GONZALES

             128.   Following the George Floyd killing in Minneapolis on May 25, 2020, the city of

     Wauwatosa, along with cities across the country, began to experience protests calling for police

     reform and accountability for unlawful police violence.

             129.   On February 2, 2020 former WPD officer Joseph Mensah “Mensah” shot and killed

     Alvin Cole at Mayfair Mall.

1.        130.      Prior to this, but still while employed as an officer for the WPD, Officer Mensah

          killed Jay Anderson, Jr. on June 23, 2016, and Antonio Gonzales on July 15, 2015.




             131.   Mensah is the only WPD officer who has killed anyone within the last twelve (12)

     years and he has never been held accountable by the WPD for these deaths despite WPD’s cursory

     admissions that Mensah did fail to follow some departmental policies and procedures.

             132.   Mensah was only on the WPD force for seven months when he shot and killed

     Antonio Gonzales on July 15, 2015 and the Milwaukee County DA’s office investigated this matter

     for one month and decided there was no probable cause to charge Mensah.




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       133.    Eleven months after Antonio Gonzales was killed, on June 23, 2016 Mensah shot

and killed Jay Anderson, Jr who had been sleeping in his car at Madison Park.

       134.    While Mensah was being investigated for the Jay Anderson shooting, Defendant

Barry Weber in August 2016 at a WPD annual event awarded Mensah with a Metal of Valor for

having killed Antonio Gonzales the year prior.

       135.    It should be noted that the Jay Anderson, Jr. family conducted a John Doe Hearing

into the shooting of Anderson and on July 28, 2021 a Milwaukee County Circuit Court Judge

Glenn Yamahiro found that there is probable cause to charge Mensah with a crime for killing Jay

Anderson in June 23, 2016. As a result, the Judge appointed two Special Prosecutors to investigate

this matter.

       136.    From February 2, 2020 through October 7, 2020 the Milwaukee County District

Attorney’s Office was investigating the shooting of Alvin Cole at the hands of Mensah.

       137.    On June 1, 2020 it became public that former WPD Officer Joseph Mensah shot

and killed Alvin Cole on February 2, 2020.

       138.    Since May 25, 2020 Wauwatosa has been the center of several protests while the

Alvin Cole shooting was under review by the Milwaukee County District Attorney’s office.

       139.    On June 18, 2020 the three families of Alvin Cole, Jay Anderson, and Antonio

Gonzales filed a police citizen complaint with Wauwatosa’s PFC requesting an internal

investigation into the three shootings and demanding that Mensah be fired from the WPD.

       140.    Although the protests in Wauwatosa were overwhelmingly peaceful, the WPD

police response to protests have been to enact unlawful surveillance, and to monitor and target

protestors, particularly people believed to be affiliated with The People’s Revolution ( “TPR”).




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       141.    On July 14, 2020 Wauwatosa’s Common Council held a special meeting in which

a resolution calling for the “City to facilitate the transition of Officer Joseph Mensah from

employment by the Wauwatosa Police Department.” And on July 15, 2020 the Wauwatosa’s PFC

suspended Mensah with pay.

       142.    The Wauwatosa Peace Officers Association “WPOA” is the exclusive bargaining

unit for officers with the WPD and is comprised of over 77% of the WPD police force for all times

relevant to these matters.

       143.    The WPOA shortly thereafter publicly criticized members of the Common Council,

Mayor McBride, and the PFC for suspending Mensah with pay and some of its members have even

gone as far to say to not call the WPD if there are any problems.

       144.    Twelve (12) Plaintiffs were given non-criminal municipal tickets by WPD officers

for being involved in peaceful protests on August 13 & 14 and September 5, 2020. And thirty-

eight (38) Plaintiffs were given non-criminal curfew tickets for the October 7 – 12, 2020 by WPD

Officers.

       145.    Attorney George Schimmel has been the outside Contract Attorney for the City of

Wauwatosa since 1992.

       146.     Attorney Schimmel has never had a written contract or a written terms of reference

outlining his job duties with the City of Wauwatosa since being hired in 1992.

       147.    All municipal non-criminal tickets given to the fifty (50) Plaintiffs is a result of

their being involved in protests or being present in Wauwatosa in 2020 are being prosecuted by

George Schimmel.




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                            VI.   TPR TARGET LIST – May 25, 2020 to Present

                A.      BACKGROUND

        148.    On or around May 25, 2020, shortly after the murder of George Floyd, Defendant

Dominick Ratkowski, a civilian crime analyst hired by the City of Wauwatosa, created the “TPR

(The People’s Revolution) Target List” hereinafter referred to as the “Target List” while working

in his official capacity.

        149.    Defendant Ratkowski put over two hundred people on this Target List including

forty-nine (49) it whom he put on this list because he believed they were affiliated with the

People’s Revolution and based on their political speech of calling for police reform.

        150.    Since creating the Target List, Defendant Rakowski is the only person who can add

individuals to the list and has never deleted anyone off of it.

        151.    The WPD had no basis for believing that these individuals were engaged in criminal

activity, other than a pervading belief within the WPD that the simple act of associating with the

BLM and TPR movements makes an individual a criminal.




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        152.   Defendant Ratkowski is supervised by Defendant Shane Wrucke, Defendant Luke

Vetter, and Defendant Barry Weber, once they became aware of the Target List, never stopped

Ratkowski from developing this list, never instructed him on how he should use this list, and never

provided any directions on who should get the Target List.

        153.   Defendant Ratkowski put forty-nine Plaintiffs on this Target list which contained

their personal information and/or their highly restricted personal information that he retrieved from

their motor vehicle records such as their driver’s license photo, address, phone number, and date

of birth.

        154.   Defendant Ratkowski made the Target list available to hundreds of people

including all WPD officers, Wauwatosa elected officials, employees, and various other third

parties outside of the WPD.

        155.   John Doe officers freely disseminated the Target List unlawfully to numerous

persons.

        156.   Ratkowski freely disseminated the Target List unlawfully to numerous persons.

        157.   Defendant Ratkowski’s supervisors Defendants Wrucke, Vetter, Keck, and Weber

knew about the Target List and condoned Defendant Ratkowski updating information on the list

and also condoned him giving it out to third parties without their approval.

        158.   Defendant Ratkowski’s supervisors, Defendants Weber, Vetter, and Wrucke were

aware of the list and encouraged his continued work, maintenance and updating of same.

               B.      PLAINTIFFS ALLEGATIONS

PLAINTIFFS Andrew Aaron, Robert Agnew, Kamila Ahmed, Isiah Baldwin, Jacqueline
Bogenberger, Lavita Booker, Rebecca Burrell, Raine Cich, Khalil Coleman, Tahudah Cole,
Taleavia Cole, Tracy Cole, Steven Conklin, Lauren Cross, Erik Fanning, Jessica Fenner, Breon
Foster, Christine Groppi, Gaige Grosskreutz, Joseph Hayes, Percy Hayes, Adante Jordan, Mary
Kachelski, Sean Kafer, Joseph Koepp, John Larry, Alex Larson, Sonora Larson, Vaun Mayes,
Molly Nilssen, Shawn Page, Carmen Palmer, Juvenile (male) Palmer, Juvenile (female) Palmer,

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Oscar Rodriguez, Rosalind Rogers, Madeline Schweitzer, Mariah Smith, Peter Sparks, Tiffany
Stark, Angel Vega, Gabriella Vitucci, Tristiana Walls, Oscar Walton, Jayden Welch, Britta Welch,
Brandon Wilborn, Trisha Wilson, and Kathelyn Wojnar

        159.    Plaintiff notes that on or around May 25, 2020 Defendant Ratkowski placed

Plaintiffs Andrew Aaron, Robert Agnew, Kamila Ahmed, Isiah Baldwin, Jacqueline Bogenberger,

Lavita Booker, Rebecca Burrell, Raine Cich, Khalil Coleman, Tahudah Cole, Taleavia Cole, Tracy

Cole, Steven Conklin, Lauren Cross, Erik Fanning, Jessica Fenner, Breon Foster, Christine Groppi,

Gaige Grosskreutz, Joseph Hayes, Percy Hayes, Adante Jordan, Mary Kachelski, Sean Kafer,

Joseph Koepp, John Larry, Alex Larson, Sonora Larson,Vaun Mayes, Molly Nilssen, Shawn Page,

Carmen Palmer, Juvenile (male) Palmer, Juvenile (female) Palmer, Oscar Rodriguez, Rosalind

Rogers, Madeline Schiweitzer, Mariah Smith, Peter Sparks, Tiffany Stark, Angel Vega, Gabriella

Vitucci, Tristiana Walls, Oscar Walton, Jayden Welch, Britta Welch, Brandon Wilborn, Trisha

Wilson, and Kathelyn Wojnar (hereinafter collectively referred to as “Target List Plaintiffs)” on a

Target List of persons who were affiliated with the People’s Revolution.

        160.    Defendant Ratkowski did not have a permissible purpose for obtaining these forty-

nine Target List Plaintiffs personal information and/or highly restricted personal from their motor

vehicle records and to distribute it to third parties.

        161.    Defendant Ratkowski unlawfully obtained, disclosed, or used these forty-nine (49)

Target List Plaintiffs personal and/or highly restricted personal information from their motor

vehicle records, without their express consent, and not for a permissible DPPA purpose.

        162.    Mere affiliation with TPR justified Defendant Ratkowski putting a person on the

Target List and did not require a person to be violent or even be present at any protests.




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       163.     Defendant Ratkowski never actually witnessed persons at any protests or protestor

events and based his criteria for placing these forty-nine (49) Target List Plaintiffs and others on

the list solely on social media.

       164.     Defendant Ratkowski believes it is appropriate for the government to keep lists of

people who attend protests.

       165.     Defendant Ratkowski unlawfully obtained, disclosed, or used these forty-nine (49)

Target List Plaintiffs personal information from their motor vehicle records by making false

representations to the Wisconsin Department of Transportation.

       166.     Defendant Ratkowski with willful or reckless disregard for the law obtained,

disclosed, or used these forty-nine (49) Target List Plaintiffs personal information and/or highly

restricted personal information from their motor vehicle records.

       167.     Defendant Ratkowski did not have the express consent of these forty-nine (49)

Target List Plaintiffs to obtain, disclose, or use their personal information and/or highly restricted

personal information from their motor vehicle records and to share with third parties .

       168.     Defendant Ratkowski did not have a DPPA permissible purpose to obtain, disclose,

or use these forty-nine (49) Target List Plaintiffs personal information and/or highly restricted

information..

       169.     Defendant’s Wrucke, Vetter, and Weber knew that Ratkowski had unlawfully

obtained, disclosed, or used these forty-nine Target List Plaintiff’s information from their motor

vehicle records and condoned and encouraged Ratkowski to disseminate the Target List to third

parties not for a DPPA permissible purpose.




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VII.   CITY OF WAUWATOSA’s PEACEFUL PROTESTS AUGUST 13, 2020

               A.      BACKGROUND

       170.    Sometime in August 2020, Defendant Officer Joseph Lewandowski created

inappropriate PowerPoint slides that contained obscene and defamatory language about the

People’s Revolution, protestors, and labeled certain persons including Mayor McBride as High

Value Targets which he shared with multiple people.

       171.    In the PowerPoint slides, Defendant Lewandowski noted that McBride,

“Continually provides outright lies and misleading information to the public.” (See below HVT

Power Point Slide Created in August 2020 by Defendant Joseph Lewandowski.)




       172.    On January 7, 2021 Defendant Lewandowski’s power point slides were

accidentally released to a journalist as part of an open records request for emails in which the slides

were an attachment to an email.

       173.    Once the HVT slide became public on or around January 10, 2021 it was widely

reported by the news media shortly thereafter, and then the WPD launched a performative internal

investigation in which Defendant Lewandowski was given a written reprimand.

       174.    A few weeks after the WPD internal investigation about the power point slides

concluded, Defendant Lewandowski was promoted to Sergeant by former Defendant Chief Weber.



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         175.   On the early afternoon of August 13, 2020 the WPOA, publicly shared that

approximately 99% of its members voted they had no confidence in Defendant Mayor McBride.

         176.   The WPOA, through its president WPD Officer John Milozky, reported on August

13, 2020 that “four out of five police officers and detectives are seeking to leave the WPD” and

that “these numbers represent failed political leadership and they represent the consequences of

politically motivated actions.”

         177.   After the WPOA press conference also on August 13, 2020, Defendant Mayor

McBride announced that the WPD will be enforcing all Wauwatosa ordinances and will begin

restricting protests in the city from 12pm to 8pm.

         178.   On Thursday August 13, 2020 there were peaceful protests in Wauwatosa and no

one was arrested, no one was charged with a crime, and no one was given a ticket that day.

                B.     PLAINTIFF’S ALLEGATIONS on AUGUST 13, 2020

         PLAINTIFFS Andrew Aaron, Khalil Coleman, Mariah Smith, and Gabriella Vitucci

         179.   Plaintiffs Andrew Aaron, Khalil Coleman, Mariah Smith, and Gabriella Vitucci

attended a number of protests throughout Wisconsin after May 25, 2020. Plaintiffs attended these

events to protest for police reform and to protest police brutality against black and brown people.

         180.   On August 13, 2020 Plaintiffs Aaron, Coleman, Smith, and Vitucci were peacefully

protesting in Wauwatosa and none of them were ticketed on this day, arrested, or charged with a

crime.

         181.   Several weeks later, Plaintiff Andrew Aaron, was mailed a non-criminal ticket for

Disorderly Conduct by Defendant Timothy Warren in the amount of $1,321

         182.   Several weeks later, Plaintiffs Khalil Coleman, was mailed a noncriminal ticket for

Obstruction of Traffic by Loitering in the amount of $691 by Defendant Timothy Warren.



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           183.   Several weeks later Plaintiff Gabriella Vitucci and Mariah Smith were mailed

noncriminal tickets for Obstruction of Traffic by Loitering by Defendant Timothy Warren in the

amount of $439.

           184.   Defendant Timothy Warren did not have probable cause to ticket Plaintiffs Andrew

Aaron, Khalil Coleman, Mariah Smith, or Gabriella Vitucci for their participation in peaceful

protests

           185.   Defendant Warren tickets given to Plaintiffs Aaron, Coleman, Smith, and Vitucci

lacked probable cause and was given with the intent to intimidate, dissuade, and chill their right to

protest.

           186.   George Schimmel maliciously prosecuted Defendants Vitucci and Coleman for an

ordinance violation of obstruction of justice despite the lack of probable cause.

           187.   Schimmel instituted court proceedings and acted maliciously in instituting

proceedings against Plaintiffs Vitucci and Coleman with the intent to intimidate, dissuade, and

chill their right to protest.

           188.   Defendants Vitucci and Coleman went to court and also had an attorney come to

court on their behalf no less than two times for tickets which lacked probable cause.

           189.   After several unnecessary court appearances, hiring an attorney and the stress that

comes with going to court to fight unlawful tickets Plaintiffs Vitucci and Coleman tickets for

obstruction was terminated in favor of Plaintiffs on the day it was scheduled for a trial in

Wauwatosa’s Municipal Court for the lack of probable cause to charge.

           190.   Defendant Mariah Smith continues to fight her ticket despite the lack of probable

cause.

      VIII. CITY OF WAUWATOSA’s PEACEFUL PROTESTS AUGUST 14, 2020

                  A.     BACKGROUND
                                                                                                  32

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         191.   On Friday August 14, 2020 Defendant Mayor McBride announced that the WPD

would enforce the law and numerous WPD officers showed up in riot gear during protests in

Wauwatosa.

         192.   On August 14, 2020 there were protests in Wauwatosa no one was charged with a

crime.

                B.     PLAINTIFF’S ALLEGATIONS on AUGUST 14, 2020

           PLAINTIFFS Isiah Baldwin, Khalil Coleman, Joseph Hayes, Sean Kafer,
                        Gabriella Vitucci, and Brandon Wilborn

         193.   Plaintiffs Isiah Baldwin, Khalil Coleman, Joseph Hayes, Sean Kafer, Gabriella

Vitucci, and Brandon Wilborn attended a number of protests throughout Wisconsin after May 25,

2020. Plaintiffs attended these events to protest for police reform and to protest police brutality

against black and brown people.

         194.   On August 14, 2020 Plaintiffs Isiah Baldwin, Khalil Coleman, Joseph Hayes, Sean

Kafer, Gabriella Vitucci, and Brandon Wilborn were peacefully protesting in Wauwatosa.

         195.   At approximately 7:00p.m. on August 14, 2020 Plaintiffs Isiah Baldwin, Khalil

Coleman, Joseph Hayes, Sean Kafer, Gabriella Vitucci, and Brandon Wilborn were all protesting

in Wauwatosa marching with other protestors.

         196.   Sometime after 7:00p.m. many John Doe WPD officers showed up in riot gear at

the protests which were peaceful.

         197.   Plaintiffs Baldwin, Coleman, Hayes, Kafer, Vitucci, and Wilborn were all

peacefully protesting, they were not arrested, never charged with a crime, and none of them were

given a ticket for protesting that day. And a few weeks later Plaintiffs were mailed tickets from

Defendant Jeffery Farina for peacefully protesting in Wauwatosa on August 14, 2020.




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         198.    Plaintiffs Coleman, Kafer, and Vitucci were all mailed a noncriminal tickets for

Obstruction in the amount of 1,321 signed by Defendant Jeffrey Farina.

         199.    Plaintiffs Hayes and Baldwin were given tickets for Disorderly Conduct in the

amount of $1,321 signed by Defendant Jeffery Farina.

         200.    Plaintiff Brandon Wilborn was given a ticket for Special Permit Required in the

amount of $1,321 signed by Defendant Jeffery Farina.

         201.    After several unnecessary court appearances, hiring an attorney and the stress that

comes with going to court to fight unlawful tickets Plaintiff Brandon Wilborn’s ticket for special

permit required was terminated in favor of Wilborn for the lack of probable cause to charge.

         202.    George Schimmel maliciously prosecuted Defendant Brandon Wilborn for not

having a permit to protest despite the lack of probable cause.

         203.    Schimmel instituted court proceedings and acted maliciously in instituting

proceedings against Plaintiffs Wilborn with the intent to intimidate, dissuade, and chill their right

to protest.

         204.    Defendant Farina did not have probable cause to ticket Plaintiffs Isiah Baldwin,

Khalil Coleman, Joseph Hayes, Sean Kafer, Gabriella Vitucci or Brandon Wilborn for their

participation in peaceful protests and the tickets were given with the intent to intimidate, dissuade,

and chill their right to protest.

   IX.          CITY OF WAUWATOSA’s PEACEFUL PROTEST SEPTEMBER 5, 2020

                 A.     BACKGROUND

         205.    On September 5, 2020 persons there was an event for persons sympathetic to TPR’s

movement celebrating one hundred consecutive days of protesting primarily throughout the state

of Wisconsin for police reform and to protest police brutality against black and brown people.



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       206.      As part of its 100 consecutive days of protesting, there was a picnic held in the City

of Milwaukee which was well attended by citizens in the community, politicians, legal observers,

and the media.

       207.      Also in celebration of the 100 days of consecutive protests, there were t-shirts made

with the People’s Revolution celebrating 100 days written on them which many people wore.

       208.      Despite this celebration being held in Milwaukee, members of the WPD surveilled

persons at the picnic throughout the entire day.

       209.      John Doe Officers with the WPD surveilled persons at the 100-day celebration in

Milwaukee.

       210.      Later in the evening of September 5, 2020 people marched to Wauwatosa to

peacefully protest. Plaintiffs Mariah Smith, Rosalind Rogers, and Isiah Baldwin were all a part of

the peaceful protest march in Wauwatosa on September 5, 2020 .

                 B.     PLAINTIFFS ALLEGATIONS

                  Plaintiffs Isiah Baldwin, Rosalind Rogers, and Mariah Smith

                        i.   Plaintiff Mariah Smith - September 5, 2020

       211.      Plaintiff Mariah Smith attended the 100-day picnic celebration in Milwaukee and

was wearing a t-shirt that had “TPR celebrating 100 days” prominently written on it.

       212.      While peacefully marching in Wauwatosa, members of the WPD were closely

watching the group.

       213.      At some point during the protests in Wauwatosa on September 5, 2020, unknown

John Doe officers were putting down spike strips in front of cars kettling vehicles in which forced

many to either stop their cars or drive in a particular direction.




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         214.   Plaintiff Smith was not in a car but was marching on foot in the protest when she

was targeted by Defendant Jeffrey Farina and was placed under arrest with no probable cause that

she had committed any crimes.

         215.   Plaintiff Smith was arrested and slammed to the ground by Defendants Jeffrey

Farina and Luke Vetter. Defendant Vetter put a knee to the back of her head and she suffered

substantial injuries as a result.

         216.   Defendant Officer George Opelt forcefully put a knee to Smith’s ribs and jaw while

other John Doe officers were on her also causing her great bodily harm and causing her to pass

out.

         217.   After Smith came to she was told by Defendant Vetter after she was arrested and

still on the ground that “Mariah you knew something like this was going to happen.”

         218.   The excessive force by Defendants Vetter, Farina, Opelt, and John Doe Officers

against Mariah Smith was objectively unreasonable in light of the facts and circumstances

confronting them.

         219.   Defendant John Doe officers assisted with the arrest of Plaintiff Smith and he

searched her despite the lack of probable cause for her arrest.

         220.   WPD Officer Stephen Mills took Smith into custody, who vomited, for an

ordinance disorderly conduct violation. She was then put in the back of the WPD van for hours

and Officer Mills repeatedly told by Smith and others that she needed to go to the hospital and that

she was dizzy, light-headed, and in extreme pain.

         221.   Instead of taking Smith to a hospital or providing her with any immediate medical

assistance, Mills arrested Smith taking her to the WPD where she was held for hours and then

released with a Disorderly Conduct ticket signed by Defendant Opelt.



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           222.   As a result of the excessive force deployed by Defendants Vetter, Farina, Opelt,

and John Doe Officers, Plaintiff Smith had numerous damages including a concussion, bruised

ribs, multiple injuries throughout her body, and substantial pain to her jaw.

                  ii.    Plaintiffs Isiah Baldwin and Rosalind Rogers – September 5, 2020

           223.   Plaintiffs Isiah Baldwin and Rosalind Rogers attended the 100-day picnic in the

City of Milwaukee on September 5, 2020 and were wearing a t-shirt made with TPR celebrating

100 days prominently written on it.

           224.   After the picnic, Plaintiffs Baldwin and Rogers went to Wauwatosa to peacefully

protest.

           225.   While Plaintiffs Baldwin and Rogers were protesting their vehicle was stopped by

Defendant Jeffrey Farina.

           226.   Plaintiffs Baldwin and Rogers were both wearing a TPR 100-day celebration t-shirt

and Defendant Farina said to Rogers, “if that shirt is gang related I will put you in a cell.”

           227.   Plaintiffs Baldwin and Rogers were placed under arrest by WPD Officers Matthew

Martell, Stephen Mills, and Defendant Farina who had no probable cause to arrest them for

peacefully protesting.

           228.   Mills took Baldwin and Rogers into custody for an ordinance violation for failure

to have a special event permit to protest.

           229.   Defendants Baldwin and Rogers were unlawfully arrested for protesting and the

failure to not have a special permit ticket in the amount of $691 signed by Defendant Farina which

was given to intimidate them from protesting in the future.

           230.   Defendants Baldwin and Rogers were forced to come to court no less than two

times for the tickets which lacked probable cause



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        231.    After several unnecessary court appearances, hiring an attorney and the stress that

comes with going to court to fight unlawful tickets Plaintiffs Rosalind Rogers and Isiah Baldwin’s

tickets for special permit required was terminated in favor of both Plaintiffs for the lack of probable

cause to charge.

        232.    George Schimmel maliciously prosecuted Defendants Rogers and Baldwin for not

having a permit to protest despite the lack of probable cause.

        233.    Schimmel instituted court proceedings and acted maliciously in instituting

proceedings against Plaintiffs Baldwin and Rogers with the intent to intimidate, dissuade, and chill

their right to protest.

        X.      CITY OF WAUWATOSA’s Curfew From October 7 - 12, 2020

                A.        BACKGROUND

        234.    On October 7, 2020 Milwaukee County DA John Chisholm announced that he was

not going to criminally charge Joseph Mensah for the killing of Alvin Cole on February 2, 2020.

        235.    On September 30, 2020, Mayor McBride signed a “Proclamation of Emergency”

for the City of Wauwatosa which enacted a curfew restricting “pedestrian and vehicular traffic on

Wauwatosa streets” from 7pm to 6am, to commence on October 7 and continue until October 12,

2020.

        236.    Defendant Mayor McBride is the chief executive and chief policy maker for the

city of Wauwatosa for all times relevant.

        237.    Defendant McBride alone signed the emergency proclamation on September 30,

2020 and declared the curfew without the knowledge or approval of Wauwatosa’s Common

Council, the local governing body in Wauwatosa for all times relevant.

        238.    At the time that Mayor McBride signed the emergency declaration there weren’t

any credible threats to the City of Wauwatosa.
                                                                                                    38

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       239.    Defendant McBride never communicated to Defendant Weber the existence of any

credible threats in Wauwatosa on September 30, 2020 or any time after.

       240.    Defendant McBride instituted the curfew because of the Alvin Cole decision that

was going to come down from the DA’s office, and also based on the unexpected tragic incidents

in Kenosha in August 23, 2020 after Jacob Blake was shot in the back by a police officer, and also

because of the death of George Floyd in Minneapolis by police officers on May 25, 2020.

       241.    Defendant Weber also recommended a curfew for October 7 – 12, 2020 to

Defendant McBride.

       242.    Defendant Weber is the chief policymaker of the WPD, he speaks for the WPD,

and the “buck stops with him” when it comes to statements and policy decisions on behalf of the

WPD.

       243.    Defendant McBride lacked the legal authority to unilaterally declare an emergency

in Wauwatosa as promulgated in the Proclamation of Emergency signed on September 30, 2020.

       244.    According to Wis. Stat. 323.11, an emergency order may only be declared under

two circumstances. The primary circumstance provides that:

               “The governing body of any local unit of government may declare, by ordinance
               or resolution, an emergency existing within the local unit of government
               whenever conditions arise by reason of a riot or civil commotion. The period of
               the emergency shall be limited by the ordinance or resolution to the time during
               which the emergency conditions exist or are likely to exist.”

       245.    There were no emergencies existing in Wauwatosa by reason of riot of civil

commotion that prevented the Common Council from making such a declaration by ordinance or

resolution from September 30, 2020 through October 7, 2020.

       246.    At no time did Defendant McBride attempt to meet with the Common Council to

discuss a curfew from July 1, 2020 through October 12, 2020.



                                                                                               39

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       247.     Defendant McBride started planning for the October 7 – 12, 2020 curfew sometime

in July 2020.

       248.     Defendant McBride testified and claimed that the decision to have the curfew in

Wauwatosa from October 7 – 12, 2020 came from him and Governor Evers jointly.

       249.     Wis. Stat. §323.14(4)b provides an emergency exception that permits an executive

to declare an emergency only where the emergency necessitating the proclamation prevents the

governing body from meeting. (emphasis added).

       250.     No emergency conditions existed in Wauwatosa from September 15, 2020 through

October 6, 2020 which prevented the Common Council from meeting.

       251.     Defendant McBride, intentionally did not tell the Common Council about the

curfew because, “loose lips sink ships” and he did not trust that certain members of the Common

Council would keep the manufactured emergency in Wauwatosa a secret.

       252.     Despite not sharing, discussing, or mentioning the existence of the emergency

proclamation to Wauwatosa’s Common Council before it was publicly announced on October 7,

2020, Defendant McBride did share information about the curfew and the emergency proclamation

with Milwaukee Mayor Tom Barrett on October 6, 2020. (See email below)




                                                                                             40

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       253.   Under Wis. Stat. §323.14(4)b, when an executive issues such an emergency order,

a meeting of the governing body must be called as soon as possible.

       254.   Defendant McBride failed to call a meeting as soon as possible with the Common

Council when he issued the emergency order on September 30, 2020.

       255.   No meeting of the Wauwatosa Common Council was called until the regularly

scheduled meeting of October 6, 2020.

       256.   The conditions required under Wisconsin law which permit an executive in narrow

circumstances to declare a state of emergency did not exist in Wauwatosa on from June 5, 2020

onwards.

       257.   On October 6, 2020, one week after Defendant McBride’s signing of his executive

order, the Wauwatosa Common Council held two (2) meetings and McBride purposefully did not

mention or inform them of the curfew as he was legally obligated.




                                                                                          41

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       258.   Defendant Weber has a legal obligation not to follow unlawful orders even if they

come from Mayor McBride.

       259.   Chief Weber knew that the Proclamation of Emergency that justified the curfew

was an unlawful order.

       260.   Defendant Luke Vetter, who was the second in command of the WPD under Chief

Weber during the curfew of October 7 – 12, 2020, was the operational supervisor and organized

the police operations in Wauwatosa during the curfew. Weber was in the command center every

day of the curfew watching real time video footage and received multiple law enforcement

briefings of law enforcement actions.

       261.   From October 7 through October 12, 2020 the scale and scope of the police

presence and the unnecessary means of force deployed in the streets of Wauwatosa against

protesters and the weapons used including rubber bullets, chemical agents, police vehicles, and

full body contact was excessive.

       262.   Defendant Weber knew before September 30, 2020 that DA Chisholm was not

going to charge Mensah for shooting and killing Alvin Cole and he shared this information with

Defendant McBride.

                                                                                            42

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        263.    If DA Chisholm had chosen to criminally charge former WPD officer Mensah for

killing Alvin Cole, Defendant McBride would have cancelled the manufactured “emergency” in

Wauwatosa and would not have imposed the curfew from October 7 – 12, 2020.

        264.    Defendant McBride discriminatorily enacted the curfew against those who were

protesting for Mensah to be criminally charged for killing Alvin Cole on February 2, 2020.

        265.    The Defendant McBride and City of Wauwatosa imposed this curfew between

October 7 – 12, 2020 against the above Plaintiffs without accommodating or attempting to

accommodate the right to peaceable assembly and protest.

        266.    Defendant officers and John Doe Officers enforced the curfew in a discriminatory

manner against those who were present for the protests and particularly focused on those they

believed to be affiliated with TPR.

        267.    Defendant officers and John Doe Officers routinely broke up protests through the

use of excessive force that often was objectively unreasonable.

        268.    The violence and aggressive arrest tactics employed against those who were present

during the protests constituted a policy of practice adopted by Defendant City of Wauwatosa.

        269.    Defendant McBride did not have the legal authority to impose the curfew.

        270.    Defendant City of Wauwatosa manifested a failure to adequately train and

supervise its police officers to respect the First Amendment rights of individuals attending or

participating in protests.

        271.    Defendant City of Wauwatosa exhibited deliberate indifference to the

unconstitutional conduct of Defendant officers.

                B.      PLAINTIFFS’ ALLEGATIONS

                         1).    Curfew in Wauwatosa from October 7, 2020 – October 12, 2020



                                                                                               43

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PLAINTIFFS Isiah Baldwin, Jacqueline Bogenberger, Raine Cich, Tahudah Cole, Taleavia
Cole, Tracy Cole, Rachel Dulay, Anne Delessio-Parson, Erik Fanning, Jill Ferguson, Breon
Foster, Joanna Geisler Joseph Hayes, Destiney Jones, Kathelyn Knowlton, Sonora Larson,
Holly Lavora, Dana McCormick, Lazarito Matheu, Molly Nilssen, Carmen Palmer, Palmer
(Juvenile) female 1, Palmer (Juvenile) male 2, Leah Porter, Aidali Rivera, William Rivera,
Hector Rodriguez, Jose Hernandez Ramirez, Oscar Rodriguez, Nathan Sabel, William
Schroeder, Peter Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Suzanne
Wells, Katelyn Wojnar, and Sonja Worthy.




       272.   A total of thirty-eight Plaintiffs were arrested and ticketed for protesting or being

present during protests in Wauwatosa from October 7 – 12, 2020.

       273.   Thirty-six Plaintiffs Isiah Baldwin, Jacqueline Bogenberger, Raine Cich, Tahudah

Cole, Taleavia Cole, Rachel Dulay, Anne Delessio-Parson, Erik Fanning, Jill Ferguson, Breon

Foster, Joanna Geisler Joseph Hayes, Destiney Jones, Kathelyn Knowlton, Sonora Larson, Holly

Lavora, Dana McCormick, Lazarito Matheu, Molly Nilssen, Carmen Palmer, Palmer (Juvenile)

female 1, Palmer (Juvenile) male 2, Leah Porter, William Rivera, Hector Rodriguez, Jose

Hernandez Ramirez, Oscar Rodriguez, Nathan Sabel, William Schroeder, Peter Sparks, Angel

Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Suzanne Wells, Katelyn Wojnar, and Sonja


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Worthy from October 7, 2020 through October 11, 2020 were all arrested, booked, questioned by

police and/or the FBI, and were given non-criminal ordinance tickets by members of the WPD in

the amount of $1,321, with the exception of Plaintiff Isiah Baldwin who was given a ticket in the

amount of $1,956, for violation of an emergency order pursuant to Wis. Stat. 323.28.

           274.   Two Plaintiffs, Tracy Cole and Aidali Rivera both were arrested and taken to the

hospital and given non-criminal ordinance tickets by members of the WPD in the amount of

$1,321,

           275.   All of these thirty-eight (38) curfew tickets were signed by Defendant Jeffrey

Farina and are being prosecuted by George Schimmel.

           276.   All thirty-eight (38) Plaintiffs continue to experience post-traumatic stress and fear

of on-going retaliation by the WPD and other law enforcement officers as a result of their unlawful

arrests.

           277.   According to Wis. Stat. 323.28 the maximum forfeiture that can be given for

violation of an emergency order is $200.

           278.   Wis. Statute 323.28 states:

                  “Whoever intentionally fails to comply with an order issued by an agent of the state
                  or of a local unit of government who is engaged in emergency management
                  activities under this chapter, including training exercises, is subject to a forfeiture
                  of not more than $200.”

           279.   Schimmel is the prosecuting attorney for all thirty-eight (38) Plaintiffs for violation

of an emergency order pursuant to Wis. Stat. 323.14.

           280.   Schimmel knows that Wis. Stat. 323.28 is the controlling legislation in prosecuting

the violation of emergency order tickets for these thirty-eight Plaintiffs and continues to

maliciously and unlawfully prosecute these tickets for the unlawful amount of $1,321.




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        281.        Defendant Luke Vetter was the second in command during the October 7 – 12,

2020 curfew under Defendant Barry Weber.

        282.        Defendant Luke Vetter instructed WPD officers during the curfew of October 7 –

12, 2020 to hide their names by wearing black tape over their names.

        283.        It is the policy of the WPD that arresting officers are required to give their names

if asked by the person whom they are arresting.

        284.        The WPD does not have any policies or procedures that allow for its officers to

purposefully hide their names from the public to identify who they are.

                                   2).      OCTOBER 7, 2020

               i.        PLAINTIFF Oscar Concepcion Rodriguez - October 7, 2020

        285.        Plaintiff Oscar Rodriguez was in Wauwatosa working as an UBER driver on

October 7, 2020 and around 9 p.m. Plaintiff picked up a passenger in Wauwatosa.

        286.        While he was on 101st and Lisbon Rodriguez saw National Guard, police dressed

in military-style fatigues, and citizens in the streets.

        287.        In the course of his job as an Uber driver, Plaintiff tried to leave the area but was

trapped by unidentified members of the National Guard and John Doe officers who were throwing

tear gas at the crowd.

        288.        Immediately after tear gas was thrown unidentified National Guard members and

John Doe Officers ran to Plaintiff’s car, demanding that he get out immediately, and threatened to

break the car windows.

        289.        As Rodriguez tried to get out of the car he was dragged out by John Doe officers

thrown on the ground, and was handcuffed extremely tightly.

        290.        Defendant Jeffrey Farina of the WPD approached Rodriguez and said, “He’s one

of the leaders.”
                                                                                                      46

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       291.    Rodriguez told all the officers and Defendant Farina that he was driving Uber and

even tried to show them his phone but was ignored. Plaintiff Rodriguez asked the officers for their

names which they all refused to give and he tried to identify other officers and saw that they had

black tape over their name tags.

       292.    Against WPD Tow Policy, Rodriguez’s car was towed from the area.

       293.    Plaintiff Rodriguez asked why he was being arrested, he asked to speak to his

attorney, and did not receive an answer from any of the John Doe Officers or Farina. One of the

John Doe officer took a picture of him and he observed that police were entering some information

on their phones.

       294.    Plaintiff Rodriguez was put in the back of a SWAT car by John Doe officers which

drove around for about 45 minutes. This car then met up with a van and the cars met bumper

to bumper and was driven around for a long time.

       295.    Plaintiff was never not told by Defendant Farina or any of the other John Doe

Officers why he was arrested or where he was being taken.

       296.    Plaintiff Rodriguez was taken to the West Allis Police Department where he was

booked, photographed, and made to talk to the FBI.

       297.    After hours of waiting to be released by the West Allis Police Department, a John

Doe officer told Rodriguez that it was taking long to release him based on a ticket because they

were waiting on the WPD to approve the release which the John Doe officer told Rodriguez that

it, “made no sense.”

       298.    There was no probable cause that Rodriguez committed any State or Federal crimes

to justify his arrest or the police and FBI trying to interrogate him.

       299.    Rodriguez invoked his right to remain silent and asked to speak to his attorney but

the FBI agent ignored him and continued to ask him questions.
                                                                                                47

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        300.     Plaintiff Rodriguez was given a ticket signed by Defendant Jeffrey Farina for

violation of an Emergency Order in the amount of $1,321

        301.     According to the Emergency Proclamation signed by Mayor Dennis McBride on

9/30/20 persons going “to and from work” were exempted from the arrest during the curfew on

October 7, 2020.

        302.     Schimmel and Defendant Farina knows that going to and from work is an exception

to being exempt from the curfew and even with this knowledge Schimmel is still maliciously

prosecuting Plaintiff Rodriguez.

        303.     Plaintiff Rodriguez continues to experience post-traumatic stress and fear of on-

going retaliation.

                                     3)      OCTOBER 8, 2020

PLAINTIFFS Tahudah Cole, Taleavia Cole, Tracy Cole, Rachel Dulay, Erik Fanning,
Joseph Hayes, Destiney Jones, Sonora Larson, Holly Lavora, Carmen Palmer, Palmer
(female) Juvenile 1, Palmer (male) Juvenile 2, Jose Hernandez Ramirez, Nathan Sabel,
Suzanne Wells,

            i.        PLAINTIFF Tracy Cole and Tahudah Cole – October 8, 2020

        304.     On October 8, 2020 Plaintiffs Tahudah Cole and Tracy Cole were protesting in

Wauwatosa.

        305.     Plaintiff Tracy Cole is the mother of Alvin Cole, Tahudah Cole is the sister of Alvin

Cole.




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       306.    On October 8, 2020 at around 7:00p.m. Tahudah was trying to leave a protest in

Wauwatosa with Tracy.

       307.    Since Alvin Cole’s death on February 2, 2020, Tracy Cole and her family have been

staunch advocates against the type of police violence that killed her son and frequently goes to

protests to support her desired political change

       308.    Around 7:00p.m. armored vehicles and lines of armored military-style personnel

wearing riot gear, helmets, shields, without identifying badges or names on their uniform entirely

blocked the streets of Wauwatosa where peaceful protestors were outside and were shooting rubber

bullets at them and others who were in Wauwatosa on October 8, 2020.




       309.    Plaintiffs Tracy and Tahudah attempted to leave Wauwatosa but were prevented

from leaving and were “kettled” in by WPD Officer Benjamin Rebholz, Defendant James Short,

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unknown members of the national guard, and other John Doe officers who deployed stop sticks on

the ground in front of Tahudah’s car, preventing them from leaving the area and safely driving

away.

        310.   WPD Officer Martin Keck yelled at Tracy and Tahudah, to “Get out the fucking

car before I bust your windows!”

        311.   Plaintiff Tahudah Cole was forced out of the car by WPD Officer Benjamin

Rebholz, Martin Keck, and P.O. Finley.

        312.   WPD Officers Defendant Daniel Mitchell and Defendant Robert Piehl violently

pulled Plaintiff Tracy Cole out of the car from the passenger seat.

        313.   Defendant Piehl forcefully pulled Tracy out of the car , grabbed her hair, kneed her

in her thigh, and threw her to the ground with the assistance of Defendant Mitchell.

        314.   Tracy Cole was also punched in the face several times and her head was bleeding.

        315.   Defendant Mitchell threw Tracy to the ground and put his knee to the back of her

head while other John Doe officers also were on her back while she was on the ground.

        316.   Defendant Mitchell tased Tracy several times and arrested her without probable

cause. Defendant Piehl handcuffed Tracy excessively tight while other John Doe Officers assisted.

        317.   While on the ground, Tracy repeatedly told Defendants Piehl, Mitchell, and other

John Doe officers that could not breathe and was in so much pain due to the assault and the

handcuffs that she thought that her arm was broken. None of the officers changed their positions

and they continued to put pressure on her back and neck.

        318.   The excessive force used by Defendants Mitchell, Piehl, and other John Doe

Officers against Plaintiff Tracy was objectively unreasonable in light of the facts and

circumstances confronting them.



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        319.   Tracy screamed her name at least four times and officers claimed they did not know

who she was. At one point she also screams, “"I can't believe y’all did this to me. Y’all killed my

son."

        320.   About a minute later, Tracy can be heard on video saying: "He hit me in my head

and pulled my hair. One of these cops over here. My head is bleeding."

        321.   One John Doe officer who was previously heard giving Tracy orders responded

with, “Well, that’s too bad.”

        322.   While officers were taking these actions they repeatedly yelled to Tracy, to “stop

resisting.” At no time was Plaintiff Tracy Cole resisting arrest.

        323.   Tracy Cole sustained several visible injuries captured by multiple journalists and

witnesses who were at the scene that night that resulted in her being hospitalized and being taken

away on stretcher in an ambulance.




                       (Tracy Cole on a stretcher taken by a TMJ4 photographer)

         https://www.tmj4.com/news/local-news/alvin-coles-mother-arrested-during-protest-in-
                                           wauwatosa)




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       324.    Tracy Cole went to Froedtert Hospital late in the evening of October 8, 2020 where

she was treated for multiple injuries including head trauma, cuts to her face, swelling of her

forehead, and a sprained arm.

       325.    In addition to the physical injuries, Plaintiff Tracy Cole is still seeking medical

assistance for the extreme mental trauma that she experienced from Defendants Piehl, Mitchell,

and other John Doe Officers on October 8, 2020.

       326.    Tracy was never given any tickets or citations on the evening of October 8, 2020.

       327.    On December 10, 2020, without any notice to Tracy through her counsel first

learned that she had a court hearing in the Wauwatosa municipal court docket for violating an

emergency order and resisting an officer both signed by Defendant Farina.

       328.    Plaintiff Tahudah Cole was arrested by the police and taken to the West Allis Police

Department by John Doe officers who refused to identify themselves.

       329.    Tahudah Cole and others tried to identify police officers but none of the officers

had legible name badges on and those that did had black tape over their names.

       330.    Plaintiff Tahudah Cole’s hand restraints were extremely tight. She asked repeatedly

that they be loosened and was ignored.

       331.    Tahudah Cole repeatedly asked the officers why she was under arrest and to speak

to her attorney who she specifically named as Kimberley Motley. She received no response from

any officers and was told she had to talk to the FBI which she did not want to do.

       332.    Despite Tahudah Cole’s repeated assertions of her right to remain silent and to an

attorney whom she specifically named, the FBI agents continued to ask her questions, including

what happened; why she was protesting; and was she with TPR.

       333.    Before leaving the West Allis County Jail, a few hours after her arrest, Tahudah

was given a municipal ticket for Violation of an Emergency Order signed by Defendant Farina.
                                                                                                52

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       334.    Plaintiff Tahudah Cole went back to the area where she left her car and discovered

that it had been towed.

       335.    Towing of Tahudah’s car was a violation of Wauwatosa’s Towing policy and she

had to pay $68.58 to get her back.

       336.    Due to the violent actions of Defendant Piehl, Mitchell, and other John Doe

Officers, as well as the subsequent unlawful tickets issued by Defendant Farina, Tracy Cole,

suffered physical discomfort and injury, including soreness and bruising from having their arms

handcuffed behind their backs, head trauma, bruises throughout her body, significant emotional

distress and trauma, as well as other long term medical issues due to the actions of the defendants.

including fear about where they would be taken and what would be done to them, from their

unlawful arrest and detention on October 8, 2020.

       337.    Plaintiffs Tracy and Tahudah Cole continue to experience post-traumatic stress and

fear of on-going retaliation.

                     ii. PLAINTIFF Taleavia Cole – October 8, 2020

       338.    On October 8, 2020 at around 7:00p.m. Taleavia Cole, the sister of Alvin Cole, was

trying to leave a protest in Wauwatosa.

       339.    Since Alvin Cole’s death on February 2, 2020, Taleavia Cole, who is the most

outspoken member of the Cole family, has been a staunch advocate against the type of police

violence that killed her brother and frequently goes to protests to support her desired political

change.

       340.    From May 25, 2020 through present Taleavia Cole has been unlawfully targeted,

harassed, and heavily monitored by members of the WPD.

       341.    On September 16, 2020 Defendant Timothy Warren provided multiple

misrepresentations in an affidavit filed with Judge Michell Havas that served as the basis for
                                                                                                 53

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getting a search warrant and conducted numerous unlawful searches of Plaintiff Taleavia Cole’s

Facebook account.

       342.    This pattern and practice of members of the WPD targeting, harassing, and

monitoring Plaintiff Taleavia has been encouraged and condoned by its supervisors Defendant

Luke Vetter and Defendant Barry Weber at all times relevant to this action.

       343.    On October 8, 2021 around 7:00p.m. armored vehicles and lines of armored

military-style personnel wearing riot gear, helmets, shields, without identifying badges or names

on their uniform entirely blocked the streets of Wauwatosa where peaceful protestors were outside.

       344.    Plaintiff Taleavia attempted to leave Wauwatosa but was prevented from leaving

and was “kettled” in by Benjamin Rebholz, Defendant James Short, unknown members of the

national guard, and other John Doe officers who deployed stop sticks on the ground in front of

Taleavia’s car, preventing her from leaving the area and safely driving away.

       345.    Plaintiff Taleavia, who was filming on her phone, was violently pulled out of her

vehicle by Defendant Russell Richardson and a John Doe officer believed to be a member of the

US Marshalls. Defendant Richardson and the John Doe officer threw Taleavia to the ground and

pointed a gun at her head. This excessive force that was objectively unreasonable in light of the

facts and circumstances confronting Defendant Richardson and John Doe Officer.

       346.    Defendant Richardson and John Doe Officers pointing their guns at Plaintiff

Taleavia Cole constitutes excessive force which was objectively unreasonable in light of the facts

and circumstances confronting them.

       347.    Plaintiff Taleavia Cole was not a threat to Defendant Richardson or any of the John

Doe officers at any time during their detention and subsequent arrests.

       348.    Plaintiff Cole was being stopped for a noncriminal nonviolent curfew violation and

were subsequently ticketed for it and released from custody hours later.
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       349.    Plaintiff Cole never resisted detention nor did she ever attempt to flee from

Defendant Richardson or John Doe Officers at any time.

       350.    While Taleavia was laying on the ground, Defendant Richardson, a John Doe U.S.

Marshall, and multiple John Doe officers put their knees on the back of Taleavia’s neck causing

her great bodily harm.

       351.    A John Doe U.S. Marshall arresting Taleavia Cole for a non-criminal municipal

violation is outside the statutory framework and legal authority that govern this collection.

       352.    Taleavia was recording on her phone the immediate interactions with the police

until a John Doe officer took her phone away and was looking through it without her permission.

       353.    Against WPD Policy, the officers refused to identify themselves to Taleavia who

asked for their names several times. She also tried to identify police officers but either the officers

did not have name badges on or there was black tape over their names.

       354.    It is against WPD policy for arresting officers to not identify themselves when

asked by the person whom they are arresting.

       355.    Defendant Maria Arbiter took Taleavia’s phone and refused to give it back.

       356.    Taleavia’s hand restraints were extremely tight. She asked repeatedly that they be

loosened; her request was denied. She also repeatedly asked John Doe officers why she was under

arrest and was ignored. She also stated that she wanted to talk to her attorney, Kimberley Motley,

but was denied.

       357.    Taleavia was taken in a van with others persons arrested and taken by John Doe

Officers to somewhere on Mayfair Road, where the police van parked for about an hour and then

she was taken to the Waukesha County Jail where they sat in the van for another hour and where

they took her picture.



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       358.    Plaintiff Taleavia was eventually taken inside the Waukesha County Jail building

where she was forced to strip naked and change into an orange jail uniform in front of a John Doe

officer who stayed in the room watching her remove all of her clothes to humiliate her.

       359.    Taleavia repeatedly told the John Doe Officers that she wanted to talk to her

attorney and repeatedly asked why she was under arrest.

       360.    Taleavia was told that she had to talk to the FBI. She repeatedly told John Doe

officers and John Doe FBI agents that she wanted to talk to her attorney and repeated asserting

her right to remain silent and the FBI agents continued to ask her questions.

       361.    The FBI asked several questions including what happened; why she was protesting;

why the Wauwatosa Police Department wanted her phone; and was she with TPR.

       362.    After Taleavia’s release, Defendant Maria Arbiter continued to seize her phone

and her phone was eventually given to Shane Wrucke who for weeks also continued to seize

Taleavia’s phone without her permission and without any probable cause that she had committed

any crimes.

       363.    Taleavia Cole was released from the jail hours later and Defendants Wrucke,

Skornia, Lewandowski, and John Doe officers kept her phone and she was given a municipal ticket

for Violation of an Emergency Order by Defendant Farina.

       364.    Taleavia Cole went back to the area where her car was parked and discovered that

it had been towed. The towing of Taleavia Cole’s car was in violation of WPD’s towing policy

and she had to pay $68.58 to get her car back.

       365.    For over three weeks Taleavia tried unsuccessfully to get her phone back from

Defendants Shane Wrucke, Brian Skornia, and Maria Arbiter who unlawfully and maliciously

refused to give it back despite the lack of probable cause to hold it and they never attempted to

get a search warrant for her phone.
                                                                                              56

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       366.    Plaintiff Taleavia’s phone was searched by Defendant Warren and other John Doe

Officers while it was in the possession of the WPD and she did not give consent for Defendants

Wrucke, Skornia, Warren, or any other John Doe officers to seize, retain, or search her phone.

       367.    As a result of Defendant Wrucke and Skornia’s refusal to return her phone, Plaintiff

Taleavia, filed a motion to return her property with the Milwaukee County District Court Judge

Pocan’s Court 20 CV 6184.

       368.    On October 30, 2020 in Judge Pocan’s court the WPD through its attorney Hanna

Kolberg agreed to immediately return Plaintiff Taleavia’s phone as they had no legal basis to keep

her phone for over three weeks.

       369.    On December 22, 2020 Judge Pocan agreed that the WPD had no legal basis to

keep Taleavia’s phone especially as long as they did and imposed the maximum sanctions of $200

against the WPD as allowed by law to be awarded to Taleavia for the WPD’s unlawful seizure of

her phone.

       370.    While the phone was in the custody of the WPD through Defendants Wrucke,

Arbiter, Skornia, Lewandowski, Warren, and other John Doe Officers, Taleavia’s Facebook

account, photos, videos – including the video she recorded of the police interactions on October 8,

2020 – and other videos have disappeared.

       371.    Defendant Timothy Warren unbeknownst to Taleavia

       371.    Plaintiff Taleavia at the hands of Defendant Richardson and other John Doe

Officers suffered physical discomfort and injury, including soreness and bruising from having their

arms handcuffed behind their backs, head trauma, and significant emotional distress and trauma,

including fear about where they would be taken and what would be done to them, from their

unlawful arrest and detention.



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        372.          Plaintiffs continue to experience post-traumatic stress and fear of on-going

retaliation.

               iii.      PLAINTIFFS Holly Lavora and Nathan Sabel - October 8, 2020

        373.          Plaintiffs Nathan Sabel and Holly Lavora were in the city of Wauwatosa on October

8, 2020 at around 6:30p.m. and were blocked in by an unmarked police car which prevented them

from leaving.

        374.          Several John Doe officers told them to get out of the car, which they did, and

without probable cause they were arrested and Plaintiff Lavora’s car was unlawfully searched

without her consent .

        375.          There was no probable cause to arrest Sabel and Lavora and neither consented to

the vehicle being searched.

        376.          While Plaintiff Lavora was under arrest another John Doe Officer drove her car,

which was legally parked, to Wauwatosa’s City Hall and which is against the WPD towing policy.

        377.          Plaintiff’s car was then towed and she had to pay $157.50 to get it back.

        378.          The towing and driving of Plaintiff’s car by the John Doe Officer was in violation

of WPD’s towing policy.

        379.          The John Doe officer seized and searched Lavora’s cell phone without her consent.

        380.          Plaintiffs were told by John Doe officers to stand on the grass, which they did, while

they waited for transport to the site of their detention.

        381.          Plaintiffs were driven in a police van to the parking lot of what they believed was

a school they were ordered out of the van and were then placed into another car. Plaintiffs were

not told where they were being taken. The officers who transported them refused to identify

themselves and they were ultimately taken to the West Allis police station.



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        382.   Officers at the West Allis police station complained to Plaintiff Lavora that the

Wauwatosa Police did not provide information on the procedures and were “taking too long” and

to Plaintiff Sabel the John Doe West Allis officer stated that the WPD “just threw this on us.”

        383.   Despite the lack of probable cause for state and federal crimes, Plaintiffs Lavora

and Sabel were both forced to sit and talk to FBI agents which they did not want to do.

        384.   Before leaving West Allis police station, Lavora asked for her phone and the John

Doe officer refused to give it back and she was told that she would have to work it out with the

WPD.

        385.   Plaintiff Lavora repeatedly tried to get her phone back from the WPD in the ensuing

days and was denied. She was told by a WPD John Doe officer that the WPD could keep her

phone as long as they wanted and that they did not have a search warrant but would get one shortly.

John Doe officers at the WPD never obtained a warrant for Lavora’s phone which they unlawfully

searched.

        386.   Plaintiffs Lavora and Sabel were arrested at 6:32p.m. and there was no probable

cause to arrest them for a curfew violation which started at 7:00p.m.

        387.   Despite the lack of probable cause. Plaintiffs Lavora and Sabel were given tickets

by Wauwatosa Police Lt. Jeffrey Farina for violation of an emergency order in the amount of

$1,321.

        388.   Plaintiffs suffered physical discomfort and injury, including soreness and bruising

from having their arms handcuffed behind their backs, significant emotional distress, and trauma,

including fear of where they would be taken and what would be done to them, from their unlawful

arrest and detention.

        389.   Plaintiffs continue to experience post-traumatic stress and fear of on-going

retaliation.
                                                                                                  59

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                        iv.   PLAINTIFF Destiney Jones - October 8, 2020

       390.    Plaintiff Destiney Jones was in Wauwatosa on October 8, 2020.

       391.    While she was in Wauwatosa driving her car and trying to leave, a John Doe officer

approached her car with a gun pointed at her head.

       392.    Pointing a gun at Plaintiff Destiney Jones’s head constitutes excessive force which

was objectively unreasonable in light of the facts and circumstances confronting John Doe officers.

        393.   Plaintiff Destiney Jones was not a threat to any of the John Doe officers at any time

during her detention and subsequent arrest.

       394.    Plaintiff Jones was being stopped for a noncriminal nonviolent curfew violation

and was subsequently ticketed for it and released from custody hours later.

       395.    Plaintiff Jones never resisted detention nor did she ever attempt to flee John Doe

Officers at any time.

       396.    The John Doe officer ordered her to get out of the car which she did.

       397.    Plaintiff Jones’ car was searched without her permission.

       398.    A female John Doe officer believed to be Defendant Maria Arbiter unlawfully

arrested Plaintiff Jones and made the hand restraints extremely tight hand restraints and refused to

loosen them when Jones repeatedly complained. Defendant Arbiter with another John Doe officer

then drove her to the Waukesha County Jail.

       399.    Jones was put into a van for hours and taken to the Waukesha County Jail where

she was forced to strip naked and change into an orange jail uniform in front of a female John Doe

officer who stayed in the room watching her remove all of her clothes to humiliate her.

       400.    Jones was photographed, fingerprinted, and made to talk with an FBI agent, despite

the lack of probable cause that she had committed any State or Federal crimes.



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       401.    Plaintiff Jones repeatedly told the police and the FBI that she wanted to talk to her

attorney and repeatedly asserted her right to remain silent.

       402.    Plaintiff Jones was released after midnight. John Doe officers kept her phone

without explanation.

       403.    Plaintiff was given a municipal ticket for Violation of an Emergency Order signed

by Defendant Jeffrey Farina for $1321.

       404.    While Plaintiff was under arrest her car was towed, the towing of Plaintiff’s car was

in violation of WPD’s towing policy and she had to pay $121.33 to get it back

       405.    Plaintiff Jones suffered physical discomfort and significant emotional distress and

trauma, including fear about where she would be taken and what would be done to her while she

was being unlawfully arrested and detained.

       406.    Plaintiff continues to experience post-traumatic stress and fear on-going retaliation.

         v.   PLAINTIFFS Erik Fanning and Sonora Larson - October 8, 2020

       407.    Plaintiffs Erik Fanning and Sonora Larson were in the City of Wauwatosa on

October 8, 2020.

       408.    While Plaintiffs Erik Fanning and Sonora Larson were attempting to leave

Wauwatosa after 7:00p.m. they were prevented from leaving the city and were “kettled” in by

Benjamin Rebholz, Defendant James Short, unknown members of the national guard, and other

John Doe officers who deployed stop sticks on the ground in front of the car they were traveling

in, preventing them from leaving the area and safely driving away.

       409.    Several law enforcement officers including WPD Officer James Short threatened

to break the windows of the car, pointed his rifle(s) at the rear driver-side window, and used

excessive force to pull Plaintiffs Fanning and Larson out of the car.



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       500.    Defendant James Short pointing his gun at Plaintiffs Erik Fanning and Sonora

Larson constitutes excessive force which was objectively unreasonable in light of the facts and

circumstances confronting them.

       501.    Plaintiffs Erik Fanning and Sonora Larson were not a threat to Defendant Short nor

any of the John Doe officers at any time during their detention and subsequent arrests.

       582.    Plaintiffs Fanning and Larson were being stopped for a noncriminal nonviolent

curfew violation and were subsequently ticketed and released from custody hours later.

       582.    Plaintiffs Larson and Fanning never resisted detention nor did they ever attempt to

flee from Defendant Short or John Doe Officers at any time.

       557.    Fanning was dragged across the pavement by John Doe officers and struck with

blunt object(s) while face-down on the ground.

       558.    Plaintiff Fanning and Larson’s phones were seized by John Doe officers without

legal justification or probable cause.

       559.    Plaintiffs were then made to get into a WPD van by John Doe officers. Plaintiffs

Larson and Fanning were next taken to an unknown rendezvous point. Plaintiffs were transferred

to a Waukesha County Jail van and taken to the Waukesha County Jail by WPD Officer Maria

Albiter and a Waukesha County Sheriff’s Deputy.

       560.    Plaintiffs were kept in close proximity to each other persons arrested, while their

hands were tightly bound in zip ties, for hours.

       561.    Plaintiffs were around multiple John Doe police officers, who refused to identify

themselves, and who were not wearing masks. Officers also refused to give Plaintiffs masks.

       562.    While at the Waukesha County Jail, Plaintiffs Larson and Fanning were told that

they had to talk to the FBI.



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       563.    Plaintiffs Larson and Fanning were made to change into inmate clothing,

photographed, fingerprinted, and made to talk with several FBI agents present at the jail that

evening.

       564.    Plaintiff Larson was eventually taken inside the Waukesha County Jail building

where she was forced to strip naked and change into an orange jail uniform in front of a female

John Doe officer who stayed in the room watching her remove all of her clothes to humiliate her.

       565.    Despite the lack of probable cause that Plaintiffs had committed any State or

Federal crimes, they were both individually forced to sit and talk to FBI agents.

       566.    Despite Plaintiff’s repeated assertions of their right to remain silent and their right

to an attorney, the FBI agents continued to question them.

       567.    While at the Waukesha County Jail for hours, Plaintiffs were denied water and use

of the bathroom.

       568.    Plaintiffs were released from the jail around 1:00a.m. Defendant Marie Arbiter

refused to give them their phones back and told them that Wauwatosa needed their phones for

“evidence.”

       569.    The Waukesha Police officers did not allow them to call for a ride and released

them from the station after 1:00a.m.

       570.    At no time were Plaintiffs given their Miranda warning, or informed in any way of

any legal rights they had incident to an arrest, search, seizure, detention and Interrogation.

       571.    Plaintiffs suffered physical injuries, discomfort, and significant emotional distress

and trauma, including the fear about where they would be taken and what would be done to them

while being unlawfully arrested and detained.

       572.    Plaintiffs continue to experience post-traumatic stress, and fear on-going retaliation

by the Wauwatosa Police Department.
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    vi.          PLAINTIFFS Rachel Dulay and Jose Hernandez Ramirez - October 8, 2020

          573.     Plaintiffs Rachel Dulay and Jose Ramirez were driving in Wauwatosa on October

8, 2020.

          574.     While at a stop sign, the police surrounded their car, placing “stop sticks”

underneath the wheels preventing them from leaving.

          575.     Defendants Cory Wex and Defendant Joseph Lewandowski arrested Plaintiffs

Dulay and Ramirez.

          576.     While stopped, the officers asked Plaintiff Ramirez to take the keys out of the car,

which he immediately did. Defendant Lewandowski forcefully pulled Ramirez out of the car

ripping his shirt while yelling ‘stop resisting,’ threw him to the ground, and Lewandowski pointed

his gun at Ramirez’.

          577.     Defendant Lewandowski pointing a gun at Plaintiff Ramirez constitutes excessive

force which was objectively unreasonable in light of the facts and circumstances confronting them.

          578.     Defendant Lewandowski continually yelled ‘stop resisting’; neither Plaintiffs

Ramirez nor Dulay ever resisted.

          579.     Plaintiff Dulay was trying to record the interaction on her phone. Defendant

Lewandowski pointed his gun at Plaintiff Dulay told her to not to record, seized her phone, and

searched it without her permission.

          580.     Defendant Lewandowski a gun at Plaintiff Dulay constitutes excessive force which

was objectively unreasonable in light of the facts and circumstances confronting them.

          581.     Plaintiff Dulay got out of the car. John Doe officers and Defendant Lewandowski

threw her to the ground, refusing to tell her why she was arrested, and refusing to identify

themselves.



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         582.   Plaintiffs Rachel Dulay and Jose Ramirez were not a threat to any of the John Doe

officers and Defendant Lewandowski at any time during their detention and subsequent arrests.

         583.   Plaintiffs Dulay and Ramirez were being stopped for a noncriminal nonviolent

curfew violation and were subsequently ticketed for it and released from custody hours later.

         584.   Plaintiffs Dulay and Ramirez never resisted detention nor did they ever attempt to

flee from the John Doe Officers and Defendant Lewandowski.

         585.   Plaintiffs were told not to speak and their hands were bound for hours with wrist

restraints that were extremely tight and asked the police to loosen the restraints which they didn’t.

         586.   Plaintiffs were forced into a van and were not told where they were being taken.

         587.   Plaintiff Dulay’s car was searched. Dulay did not give permission to search her car.

    While Plaintiff was under arrest her car was towed, the towing of Plaintiff’s car was in violation

    of WPD’s towing policy.

         588.   Plaintiffs were taken to West Allis Police Department and were told they had to

talk to the FBI.

         589.   The FBI asked Plaintiffs Dulay and Ramirez individually if they were “members of

a terrorist group like TPR, BLM, or Antifa.”

         590.   Plaintiff Dulay laughed when told that TPR is a terrorist organization. The FBI

agent replied that TPR was a terrorist gang because they went to Mensah’s house.

         591.   Plaintiff Dulay asked for a phone call and was denied.

         592.   John Doe officers told Plaintiff multiple times that her car had not been towed.

         593.   While Plaintiff was under arrest her car was towed and she had to pay $121.33 to

get it back.

         594.   The towing and driving of Plaintiff Dulay’s car was in violation of WPD’s towing

policy
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       595.    Plaintiffs were given tickets for violation of an emergency order by Defendant

Jeffrey Farina in the amount of $1,321.

       596.    Plaintiffs suffered physical discomfort and injury, including soreness and bruising

from having their arms tied behind their backs, and significant emotional distress and trauma,

including fear about where they would be taken and what would be done to them from his unlawful

arrest and detention.

       597.    Plaintiffs continue to experience post-traumatic stress and fear on-going retaliation.

                        vii.   PLAINTIFF Suzanne Wells – October 8, 2020

       598.    Suzanne Wells was in Wauwatosa protesting on October 8, 2020.

       599.    While Plaintiff Wells was trying to leave Wauwatosa, the car that she was traveling

in was being “kettled” by numerous, unidentifiable law enforcement vehicles and stop spike strips

were thrown in front of her car forcing her to stop and preventing her from leaving.

       599.    The police put wrist restraints on Plaintiff which was extremely tight and they

refused to loosen up. Eventually a police van showed up and they were driven to the parking lot

of what she believed to be a school.

       600.    She was then told to get out of the van and taken into another car and was not told

where she was going to be taken and the officers who transported her did not identify themselves.

       601.    Eventually she was taken to the West Allis police station, where she was

photographed, fingerprinted, and made to sit with the FBI despite their being no probable cause

that she had committed any federal crimes to justify talking to them.

       602.    Eventually Plaintiff Wells was released by the West Allis police department and

they refused to return her phone. She was told that they could keep her phone as long as they

wanted and they were trying to get a search warrant which they never did.



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           603.   When Plaintiff was eventually released from she was given a violation of an

emergency order ticket in the amount of $1,321.

           604.   While Plaintiff was under arrest her car was towed. The towing of Plaintiff’s car

was in violation of WPD’s towing policy

           605.   Plaintiff suffered physical discomfort and injury, including soreness and bruising

from having their arms handcuffed behind their backs, significant emotional distress and trauma,

including fear of where they would be taken and what would be done to them, from their unlawful

arrest and detention.

   viii.     PLAINTIFFS Carmen Palmer, (Juvenile Male) Palmer, and (Juvenile Female)
                              Palmer – October 8, 2020

           606.   Carmen Palmer and her two teenaged children, were in Wauwatosa protesting on

October 8, 2020.

           607.   While Plaintiff Palmer was driving she was “kettled” and then trapped in by

numerous, unidentifiable law enforcement vehicles and stop spike strips were thrown in front of

her car forcing her to stop and preventing her from leaving.

           608.   Police then pointed guns at Plaintiff Palmer and her two children and forced them

all out of the car.

           609.   John Doe Officers pointing a gun at Plaintiffs Carmen Palmer, Juvenile female

Palmer 1, and Juvenile male Palmer 2, constitutes excessive force which was objectively

unreasonable in light of the facts and circumstances confronting them.

           610.   Plaintiffs Carmen Palmer, Juvenile female Palmer 1, and Juvenile male Palmer 2,

were not a threat to any of the John Doe officers at any time during their detention and subsequent

arrests.




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          611.   Plaintiffs Carmen Palmer, Juvenile female Palmer 1, and Juvenile male Palmer 2,

were being stopped for a noncriminal nonviolent curfew violation and were subsequently ticketed

for it and released from custody hours later.

          612.   Plaintiffs Carmen Palmer, Juvenile female Palmer 1, and Juvenile male Palmer 2,

never resisted detention nor did they ever attempt to flee from any of the John Doe Officers.

          613.   Plaintiff Carmen Palmer and her two children were all forcefully pulled out of the

car and thrown down on the ground.

          614.   Plaintiff’s kids were trying to record the incident but the police stopped them.

          615.   Plaintiff Carmen told the officers that she wanted to call someone to get her children

and was told to shut up.

          616.   The John Doe officers put handcuffs on Plaintiff Carmen and the two juvenile

Palmer kids which were extremely tight and the officers refused to loosen it up.

          617.   John Doe officers took three phones of the Palmer family Plaintiff’s and refused to

return it to them immediately upon their release.

          618.   Eventually Plaintiffs Palmer family were taken to the West Allis police station

where they were photographed, fingerprinted, and made to talk with the FBI despite there being

no probable cause that any of the Plaintiffs had committed any federal crimes.

          619.   There were no acts by Plaintiffs Palmer family, nor acts by any other people that

the Plaintiff’s witnessed, which could constitute non peaceable assembly. They were simply

protesting and trying to leave a peaceful protest against police brutality.

          620.   When Plaintiffs were eventually released from West Allis each of them were given

a violation of an emergency order ticket in the amount of $1,321 signed by Defendant Jeffrey

Farina.



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        621.   While Plaintiff Carmen Palmer was under arrest her car was towed, the towing of

her car was in violation of WPD’s towing policy.

        622.   When Plaintiff Carmen went to get her car out of the tow lot she saw that it had

been completely ram sacked, all of her windows were down, and that it had been searched without

her permission.

        623.   Plaintiff did not give anyone permission to search her car.

        624.   Plaintiff continues to experience post-traumatic stress and fear of on-going

retaliation.

        625.   Plaintiffs suffered physical discomfort and injury, including soreness and bruising

from having their arms handcuffed behind their backs, significant emotional distress and trauma,

including fear of where they would be taken and what would be done to them, from their unlawful

arrest and detention.

                              3.      OCTOBER 9, 2020

PLAINTIFFS Jacqueline Bogenberger, Raine Cich, Anne Delessio-Parson, Breon Foster,
Joanna Geisler, Sonora Larson, Lazarito Matheu, Aidali Rivera, William Rivera, Hector
Rodriguez, William Schroeder, Angel Vega, Gabriella Vitucci, and Kathlyn Wojnar

       i.      PLAINITFFS Joanna Geisler and William Schroeder - October 9, 2020

        626.   Plaintiffs Joanna Geisler and William Schroeder are members of the Milwaukee

Alliance who were together in Wauwatosa on October 9, 2020 at around 6:00p.m.

        627.   While they were protesting peacefully Plaintiffs were both holding banners which

read, “Stop Police Crimes Now”.

        628.   At approximately 6:38 p.m., while walking in the crosswalk, Plaintiff Schroeder

was arrested by WPD Officer Ralph Salyers and other John Doe officers. Plaintiff Geisler was

arrested by WPD Officer Shannon Gee and other John Doe officers. Both were given tickets for

disobeying a lawful order.
                                                                                               69

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        629.    Plaintiffs asked what they were arrested for and were told rioting. Plaintiffs were

not rioting or committing any other crimes and their phones were seized.

        630.    Plaintiffs were handcuffed with the ties extremely tight and repeatedly asked that

the ties be loosened which they were not for hours.

        631.    As a result of the extremely tight wrist ties Plaintiff Schroeder sustained injuries to

his wrist.




        632.    Plaintiffs were transported by John Doe officers where they were photographed,

fingerprinted, and made to talk to the FBI.

        633.    The FBI agent continued to ask Plaintiff Geisler questions, despite her asserting her

right to remain silent.




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         634.     At the conclusion of their detention, Plaintiff Geisler and Schroeder both wanted to

leave the police station on their own but were told by a John Doe officer who refused to identify

himself that they must take a ride from the police, who were going to take them to their car.

         635.     The John Doe Officer refused to return Plaintiffs’ phones.

         636.     Plaintiffs did not want a ride from the police and told that them that they could

leave the police station on their own.

         637.     Once Plaintiffs were in the police car, the unidentified officer in the car said, “Don’t

be mad but my lieutenant said we have to drop you off on 35th and Kilbourne.”

         638.     Plaintiff Schroeder and Plaintiff Geisler were unlawfully arrested and given

municipal tickets in the amount of $1,321 each for Disobeying A Lawful Order signed by

Defendant Jeffrey Farina.

         639.     Plaintiffs Geisler and Schroeder were both lawfully protesting in Wauwatosa on

10/9/20 at 6:32p.m. and were arrested while they were engaged in constitutionally protected

activity and had not violated any ordinance or criminal laws.

         640.     Plaintiffs suffered physical discomfort and significant emotional distress and

trauma, including the fear about where they would be taken and what would be done to them while

being unlawfully arrested and detained.

         641.     Plaintiffs continue to experience post-traumatic stress and fear of on-going

retaliation.




   ii.         PLAINTIFFs William Rivera, Aidali Rivera, Hector Rodriguez, and Lazarito
                                  Matheu - October 9, 2020




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       642.    On October 9, 2020, at around 7:30p.m. William Rivera, Aidali Rivera, Hector

Rodriguez, and Lazarito Mathew were driving home from work in the City of Wauwatosa.

       643.    Plaintiff William Rivera worked as a security guard and had just finished his shift

at 7:00 P.M. on October 9, 2020.

       644.    After work, William was picked up by his mother Aidali Rivera, Lazarito Matheu,

and Hector Rodriguez who were taking him home.

       645.    On October 9, 2020 Plaintiff William Rivera lives in Wauwatosa.

       646.    While Plaintiffs were driving on North Avenue, a crowd of people started running

towards them making it difficult for them to move for fear they would hit someone.

       647.    Not wanting to hurt anyone, Lazarito, who was driving, stopped the car owned by

Plaintiff Aidali Rivera and John Doe officers and John Doe National Guard approached their

vehicle.

       648.    Plaintiff Lazarito, who was driving, tried to back his vehicle up and out of nowhere

and without warning an armored vehicle driven by an unidentified John Doe officer rammed

Plaintiffs’ car with Aidali, William, Hector, and Lazarito in it.

       649.    Unidentified John Doe officers surrounded the car, pointing guns at the four

Plaintiff occupants who all put their hands outside of the windows.

       650.    Plaintiffs William Rivera, Aidali Rivera, Hector Rodriguez, and Lazarito were all

unaware of the curfew in Wauwatosa.

       651.    John Doe Officers pointing their guns at Plaintiffs Aidali Rivera, William Rivera,

Lazarito Matheu, and Hector Rodriguez constitutes excessive force which was objectively

unreasonable in light of the facts and circumstances confronting them.

       652.    Plaintiffs Aidali, William, Lazarito, and Hector, were not a threat to any of the John

Doe officers at any time during their detention and subsequent arrests.
                                                                                                  72

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        653.   Plaintiffs were being stopped for a noncriminal nonviolent curfew violation and

were subsequently ticketed for it and released from custody hours later.

        654.   Plaintiffs Aidali Rivera, William Rivera, Lazarito Matheu, and Hector Rodriguez

never resisted detention nor did they ever attempt to flee from any of the John Doe Officers at any

time.

        655.   Because the car was rammed on the back-passenger side, the car was so damaged

that William who was sitting behind the front passenger seat and Aidali who was seated in the

passenger seat had to climb over the driver’s side to get out of the car.

        656.   John Doe officers pointed their guns at Plaintiffs threatening to shoot Plaintiffs in

the car and all four Plaintiffs repeatedly told the John Doe officers that they were trying to drop

William off at his home in Wauwatosa and all four Plaintiffs were unlawfully arrested.

        657.   Plaintiffs Aidali, William, Hector, and Lazarito individually and collectively tried

to explain to the National Guard and the law enforcement officers that they were not participating

in any protest, but were taking William Rivera home, giving the officers his Wauwatosa address.

        658.   As can be seen below, William Rivera is pictured (seated farthest left), still in his

security guard uniform, next to Lazarito and Hector seated on the far right.




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       659.    Plaintiff William Rivera told one of the arresting officer, pictured below and filmed

by CBS58 News, that he was on his way home from work. In response, the officer, John Doe

officer said to Mr. Rivera “at this time it doesn’t matter because you are black.”




       660.    John Doe officers police put zip ties on Plaintiffs’ William, Aidali, Lazarito, and

Hector wrists extremely tightly, causing bruising as can be seen in the photo below.




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       661.    All four Plaintiffs complained repeatedly about the wrist ties being too tight to John

Doe officers and were ignored.

       662.    The John Doe Officers put Aidali, Lazarito, and Hector on one side of the street,

while William Rivera was put on the other side of the street.

       663.    William, Hector, and Lazarito suffered significant injuries as a result of the

excessive force that was     objectively unreasonable in light of the facts and circumstances

confronting the John Doe officers by these Plaintiffs.

       664.    Aidali Rivera suffered significant injuries as a result of the car being intentionally

rammed by the armored vehicle as a result of the objectively unreasonable excessive force that the

John Doe officer intentionally imposed on her she went to Froedtert Hospital.

       665.    Plaintiff's Aidali Rivera car unlawfully searched and driven by a John Dow officer

to a nearby parking lot and when she went back the next day she discovered that it had been towed.

       666.    The towing of Plaintiff’s car was in violation of WPD’s towing policy.




       667.    Plaintiff Aidali was put into a paddy wagon by a John Doe officers and was in

extreme pain due to the car crash and the extremely tight wrist ties.

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          668.   There was no probable cause to arrest Plaintiffs Aidali, William, Lazarito, and

Hector.

          669.   Plaintiff Aidali Rivera was taken to Froedtert in an ambulance and later learned that

she had a ticket for violation of an emergency order by Defendant Jeffrey Farina.

          670.   Plaintiffs William, Lazarito, and Hector were placed under arrest and put into a van

by a John Doe officer and taken to the WPD.

          671.   When Plaintiffs William, Lazarito, and Rodriguez arrived at the WPD they

repeatedly told John Doe officers that they were not part of the protests and that they were trying

to drop William from work at his home in Wauwatosa.

          672.   Once William, Hector, and Lazarito arrived at the Wauwatosa Police Department

the John Doe Officers seized Plaintiffs’ cell phones.

          673.   Plaintiff William told the John Doe officers his current Wauwatosa address.

          674.   Plaintiff William was told by a WPD John Doe officer to take off his work security

shirt and to only wear his white t-shirt before a John Doe officer took his booking photo.

          675.   Plaintiffs were all forced to talk with the FBI individually and they each said that

they wanted a lawyer.

          676.   William, Hector, and Lazarito were all individually questioned by John Doe FBI

agents and were asked if they were a part of TPR and why they were out there. After questioning

a FBI John Doe agent that, “I don't think they are supposed to be here.”

          677.   Nonetheless a John Doe officer kept Plaintiffs cellphone refusing to give it back

and kept them at the WPD until around 3:00a.m., and refusing to give them a phone call.

          678.   Without probable cause, William, Hector, and Lazarito were all given tickets by

Defendant Dexter Schleis for Violating an Emergency Order in the amount of $1,321.



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       679.    After Plaintiffs were released from custody, on October 10, 2020 a John Doe officer

told William, Lazarito, and Hector that they could not be outside of the WPD, refused to give them

their phones, and the John Doe Officer said that he would take them home.

       680.    Plaintiffs did not want to go with the WPD but were told they had no choice and

were arrested for the second time, handcuffed, and got in the squad car.

       681.    The John Doe officers did not take them to their home and instead drove William,

Hector, and Lazarito to 35th and Kilbourn in Milwaukee at 3 a.m. driving past Plaintiff William’s

house in Wauwatosa. This intersection is a high crime area, far from their home.

       682.    The next day Plaintiffs Aidali and Lazarito who were told by a John Doe officer

that their car had not been towed discovered that was towed.

       683.    Plaintiffs Aidali and Lazarito went to Dennis Transportation Service tow lot where

they were told that they would need to pay $299.25 and could not view the car before they paid.

       684.    After paying $299.25 for the car, Plaintiffs Aidali and Lazarito were told by an

unidentified attendant that the car came in without a key and that a John Doe officer told them that

it had crashed into a fence.

       685.    Aidali and Lazarito went to the car and saw that it had a flat tire, had been searched,

money was missing, her driver’s license had been torn, and there was even more damage than

when the John Doe Officers took possession of it and after it had been rammed by an armored

vehicle.




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       686.    Lazarito and Aidali asked the tow lot manager what happened, and the manager

threatened Plaintiff Lazarito, calling him the “n” word and pulling out his gun.

       687.    Aidali and Lazarito immediately left the tow lot, left the car there, and have not

been back since.

       688.    Defendant Dexter Schleis knew there was no probable cause to ticket Plaintiffs

William, Hector, and Lazarito for violation of an emergency order in the amount of $1,321.

       689.    George Schimmel maliciously prosecuted Plaintiff Aidali Rivera for an ordinance

violation of violation of an emergency order despite the lack of probable cause.

       690.    Schimmel maliciously instituted court proceedings against Plaintiff Aidali for a

civil violation of an emergency order that he knew lacked probable cause.

       691.    Aidali after being arrested, having several unnecessary court hearings, hiring an

attorney and the stress that comes with going to court to fight an unlawful ticket Plaintiff Aidali

suffered damages and her ticket was terminated in her favor on February 3, 2021 for the lack of

probable cause to charge.



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         692.   Schimmel knows there is no probable cause to prosecute Plaintiffs Lazarito, Hector,

and William. Schimmel continues to unlawfully prosecute Plaintiffs.

         693.   Plaintiffs Aidali, Hector, Lazarito, and William suffered physical discomfort and

injury, including soreness and bruising from being hit by an armored vehicle and having their arms

handcuffed behind their backs, head trauma, and significant emotional distress and trauma,

including fear about where they would be taken and what would be done to them, from their

unlawful arrest and detention.

         694.   Plaintiffs continue to experience post-traumatic stress and fear on-going retaliation.

         695.   At no time were William Rivera, Aidali Rivera, Hector Rodriguez, and Mathew

Lazarito provided Miranda warning, or informed in any way of any legal rights they had incident

to an arrest, search, seizure, detention, and interrogation.

iii.      PLAINTIFFS Jackie Bogenberger, Raine Cich, Angel Vega, Gabriella Vitucci, and
                              Katelyn Wojnar - October 9, 2020

         696.   Jackie Bogenberger, Raine Cich, Angel Vega, Gabriella Vitucci, and Katelyn

Wojnar were all in the City of Wauwatosa on October 9, 2020.

         697.   While all these five Plaintiffs were in Wauwatosa after 7 p.m. they witnessed the

police deploying tear gas near City Hall. People started running east on North Avenue towards

Milwaukee.

         698.   Plaintiffs all decided to leave Wauwatosa and walk because they did not have

vehicle transportation and the police were not allowing cars to drive in the area. While walking,

Plaintiffs were followed by an unmarked four door truck. An unidentified woman in a red car

pulled up to ask if they were all ok.




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       699.     Plaintiffs Vitucci and Bogenberger were together when John Doe officers

approached them while they were in the City of Milwaukee. The officers refused to identify

themselves and did not have a badge or a name plate.

       700.     Officer Stephen Schmidt arrested Vitucci and Officer Dan Mitchell arrested

Bogenberger in Milwaukee.

       701.     Officer Mitchell threw Bogenberger to the ground and put his kneeled on her back.

Officer Schmidt threw Vitucci to the ground and kneeled her in the back.

       702.     An elderly couple came out of their home and asked the officers why they were

being so aggressive with the Plaintiffs a John Doe officer took the elderly woman to the ground.

       703.     The husband yelled at the John Doe police for tackling his wife and they then

arrested him in front of his home in Milwaukee.

       704.     Plaintiffs Kathelyn Wojnar and Angel Vega were also arrested in Milwaukee by

John Doe officers.

       705.     This couple had violated no law and could not be understood to have violated any

curfew order.

       706.     Officer Schmidt put wrist restraints on Plaintiff Vitucci, which were tight to the

point that her hands were turning purple. Officer Schmidt also put wrist restraints on Plaintiff Cich

which were tight to the point that her hands were also turning purple. Officer Mitchell put the

wrist restraints on Bogenberger tight to the point that her hands were also turning purple.

       707.     While both Bogenberger and Vitucci were on the ground, John Doe officers took

their picture on their cell phone.

       708.     Gabriella was carrying a backpack which contained her phone and Defendant

Timothy Warren unlawfully searched her backpack and phone without her permission.



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         709.   Defendant Warren was teasing Gabriella and Jackie saying, “oh you thought you

were going to get away.” Officer Mitchell and Officer Schmidt took both Jackie and Gabriella’s

ids and compared them, saying “look who we got”.

         710.   Bogenberger’s phone was taken away by Defendant Warren who also searched her

phone.

         711.   Both Bogenberger and Vitucci asked the officers why they were being arrested and

none of the officers answered. Plaintiffs were all arrested and asked to speak to their lawyer.

         712.   At one point, in an effort of disclosure, Vitucci told the arresting one of the John

Doe arresting officers that she had a pocketknife in her bag.

         713.   Defendant Warren threatened Vitucci and told her that if she had her pocket knife

out he was trained to shoot her in the head.

         714.   Plaintiffs Cich, Vitucci, and Wojnar were driven by the officers to the parking lot

at the WPD where they sat for a couple of hours.

         715.   Eventually Cich, Vitucci, and Wojnar were taken to the WPD where they were

booked and had their pictures and fingerprints taken. When fingerprinting Vitucci and Cich the

officer doing the finger printing started to make fun of the protesters trying to provoke a reaction

by bragging about the non-prosecution of Joseph Mensah as it related to the Alvin Cole case, and

talking poorly about the three victims saying he would have reacted the same way Mensah did..

         716.   While at the WPD Cich, Vitucci, and Wojnar were all made to talk to the FBI.

         717.   Despite their invoking their right to remain silent and their right to an attorney the

John Doe officer continued to ask them questions. Plaintiffs Cich, Vitucci, and Wojnar all were

asked; why are you protesting? Are you a member of TPR?

         718.   Before they left the police station they were given tickets for violation of an

emergency order in the amount of $1,321 by Defendant Farina.
                                                                                                   81

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       719.    Plaintiffs Bogenberger and Vega were put in another van. The officer driving the

van identified himself as a Waukesha Officer and told them that he did not know what was going

on and drove them to a parking lot and then were taken to Mayfair Mall.

       720.    At Mayfair Mall, Bogenberger and Vega were fingerprinted and booked.

       721.    While at the Mayfair Mall Bogenberger and Vega were made to talk to the FBI.

       722.    Despite their invoking their right to remain silent and their right to an attorney the

FBI still tried to ask them questions

       723.    At the end of the booking Bogenberger and Vega were not given their phones back.

       724.    Plaintiffs were both given a curfew ticket in the amount of $1,321 by Patrolman

Hodgson.

       725.    After Bogenberger and Vega were told that they could leave several John Doe

officers refused to allow them to call for a ride.

       726.    Plaintiffs Bogenberger and Vega wanted to leave the makeshift Mayfair police

station but were told that they had to ride back with the police, they were handcuffed again, and

were made to accept a “courtesy ride” by the John Doe WPD Officers.

       727.    Plaintiffs were lied to by the John Doe officer that they were going to be driven

back to where they were arrested which was around 67th and North Avenue.

       728.    Despite Plaintiffs Bogenberger and Vega’s repeated objections the police forced

them get back in the police car again detaining them without probable cause.

       729.    A John Doe officer dropped Vega and Bogenberger off after 2:00a.m. with no cell

phones around 3rd and Locust which is more than seven miles away from where they were arrested

and is a very dangerous neighborhood in Milwaukee especially at midnight on any given day.

       730.    Plaintiffs Bogenberger, Cich, Vega, Vitucci and Wojnar all suffered physical

discomfort and injury, including soreness and bruising from having their arms handcuffed behind
                                                                                                  82

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their backs, and significant emotional distress and trauma, including fear about where they would

be taken and what would be done to them, from their unlawful arrest and detention.

       731.      Plaintiffs continue to experience post-traumatic stress and fear on-going retaliation.

       732.      Plaintiffs Bogenberger, Cich, Wojnar, and Vitucci have had negative physical

reactions/issues as result of the trauma and chemical agents which law enforcement used.

       733.      At no time were either of the Plaintiffs provided Miranda warning, or informed in

any way of any legal rights they had incident to an arrest, search, seizure, detention, and

interrogation.

                  iv.     PLAINTIFF Anne Delessio-Parson - October 9, 2020

       734.      Plaintiff Anne Delessio-Parson was in Wauwatosa on October 9, 2020 at around

6:30p.m.

       735.      While in Wauwatosa, Delessio-Parson witnessed the National Guard and officers

dressed in military-style fatigues forming a line on 76th Street across North Avenue.

       736.      Delessio-Parson talked to a few of the officers, who did not have visible badges or

name plates and while talking with the officers, another John Doe officer came from behind the

shields and arrested Plaintiff Delessio-Parson.

       737.      After officers put wrist restraints on Plaintiff, she was put in the back of the van

with two other occupants who asked the officers to keep the door open for air but the officers

refused.

       738.      Plaintiff and the other van occupants were told that they would move the van once

it was “filled up”, presumably by other persons whom the police were going arrest.

       739.      The van arrived at the WPD and Plaintiff Delessio-Parson was told that she was

required to talk to the FBI.



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        740.     Plaintiff Delessio-Parson was photographed, fingerprinted, and made to talk with

an FBI agent who stated his name was “Brett.”

        741.     The FBI agent asked questions. Plaintiff told him she wanted a lawyer and that she

did not want to answer any questions.

        742.     Delessio-Parson was given a ticket by Officer Dexter Schleis for Violating an

Emergency Order in the amount of $1,321.

        743.     Plaintiff, having been told she was released, asked to use the police phone to call

for a ride and was denied a phone call.

        744.     Plaintiff wanted to walk home but was told that she did not have a choice but had

to go with a John Doe WPD officer who forced her into a squad car, thus unlawfully detaining her

for a second time.

        745.     The John Doe officer told Delessio-Parson that they would take her home and

instead dropped Plaintiff off at around 35th and Kilbourn, not her home nor near her home after

1:00a.m. This intersection is in an area of high crime particularly during the night. Plaintiff was

told to find her way home.

        746.     At no time was Plaintiff Delessio-Parson was provided Miranda warning, or

informed in any way of any legal rights she had incident to an arrest, search, seizure, detention and

interrogation.

        747.     Plaintiff suffered physical discomfort and significant emotional distress and

trauma, including the fear about where she would be taken and what would be done to her while

she was being unlawfully arrested and detained.

        748.     Plaintiff continues to experience post-traumatic stress and fear of on-going

retaliation.

                       v.      PLAINTIFF Breon Foster - October 9, 2020
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       749.    On October 9, 2020 Breon Foster was peacefully protesting in the City of

Wauwatosa.

       750.    While he was trying to leave Wauwatosa at around 8:30 p.m. he was violently

grabbed by unidentified police officers, who had tape over their names and who refused to identify

themselves.

       751.    The John Doe officers put zip ties on Plaintiff extremely tight for at least an hour.

       752.    Plaintiff was photographed, booked, and fingerprinted while he was at the WPD.

       753.    Eventually, plaintiff was taken to the Wauwatosa Police station where he was

interrogated by Defendant Joseph Lewandowski and was told that he would be charged for arson,

which he wasn’t.

       754.    Plaintiff Foster was in custody and was interrogated by Defendant Lewandwksi

who did not Mirandize him before questioning him.

       755.    Despite plaintiff invoking his right to remain silent to Defendant Lewandowski and

FBI agents they all continued to question him.

       756.    After he was questioned by the FBI, he was then questioned by Wauwatosa’s

Officer Defendant Joseph Lewandowski.

       757.    Before being questioned by Defendant Lewandowski and the FBI, Plaintiff Breon

Foster stated that he wanted his lawyer Kimberley Motley before going into the interrogation room.

       758.    Despite Plaintiff Foster invoking his constitutional right to remain silent being in

subjected to a custodial interrogation Lewandowski ignored plaintiffs rights and continued to

question him anyway

       759.    Defendant Lewandowski was wearing a “blue lives matter” mask throughout this

interview which was very intimidating for Plaintiff.



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       760.    During this interrogation, Lewandowski specifically dissuaded Plaintiff Foster

from Kimberley Motley being his lawyer.

       761.    Defendant Lewandowski asked if Plaintiff Foster was a member of TPR.

       762.    At the end of the interrogation, Defendant Lewandowski took saliva samples for

the purpose of getting Plaintiff’s DNA and he was later transported to the Milwaukee County Jail.

       763.    Plaintiffs suffered physical discomfort and injury, including soreness and bruising

from having his arms tied behind his back, and significant emotional distress and trauma, including

fear about where he would be taken and what would be done to him, from his unlawful arrest and

detention.

       764.    Plaintiff was eventually given a municipal ticket in the amount of $1,321 for

Violation of an Emergency Order signed by Defendant Farina.

       765.    Plaintiff continues to experience post-traumatic stress and fear on-going retaliation.

                            v. Sonora Larson – October 9, 2020

       766.    On October 9, 2020 Sonora Larson was peacefully protesting in the City of

Wauwatosa.

       767.    While she was protesting she was violently shot with multiple rubber bullets

deployed by various John Doe officers including when she was on the ground.

       768.    The excessive force actions of the John Doe officers was objectively unreasonable.

       769.    As a result of the Defendant John Doe officer’s actions, Plaintiff Larson had various

bruises on her legs and back.




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                      4.      OCTOBER 10, 2020

PLAINTIFFS Isiah Baldwin, Katelyn Knowlton, Christina Vitolo-Haddad, Molly Nilssen,
Dana McCormick, Leah Porter, Pete Sparks, and Sonja Worthy

       i.      PLAINTIFFS Kate Knowlton & Dana McCormick – October 10, 2020

       770.    On October 10, 2020, at approximately 6:50pm, Plaintiffs were sitting and

reading books on the lawn of Wauwatosa City Hall on picnic blankets. Plaintiffs were under a

tree, on no street or thoroughfare and blocking no entrance or exit. There were no other persons

within approximately 50 to 100 yards of the plaintiffs.

       771.    Armored vehicles and lines of armed military-style personnel in riot gear

including helmets and shields, entirely blocked both North Avenue westbound, and 76th Street

southbound from the intersection of 76th Street and North Avenue, making those streets

completely impassible.

       772.    At approximately 7:00pm, flood lights were trained on the lawn, and directly into

the eyes of the Plaintiffs from the line of armed military personnel and vehicles from North

Avenue. Knowlton stood up and requested to speak to a Wauwatosa police officer.

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       773.    Knowlton saw that the line of personnel and vehicles spanning across the entire

Southbound 76th Street had expanded into and across the lawn of City Hall to the wall of the actual

building and was approximately 20-30 yards away from Plaintiffs’ picnic blanket. The line was

“shoulder to shoulder” and provided no egress to Plaintiffs.




       774.    A bull horn announcement stated that plaintiffs were in violation of Wisconsin

Statute 947.06 for unlawful assembly, and if they did not disperse, they would be subject to

arrest. Knowlton stated that there were only two people on the lawn, and that the statute required

three or more people, and again requested to speak to a Wauwatosa police officer. There was no

response.

       775.    Plaintiffs were nonetheless ordered to disperse without cause and forcibly arrested

without the ability to comply with the dispersal order, in violation of their Fourth Amendment

right to be free from unreasonable seizures.




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       776.    The line continued to move toward the Plaintiffs. Knowlton again asked for a

Wauwatosa police officer as the line approached her. At least four armed personnel without any

identifying insignia grabbed both of her arms and forcibly pulled her through the line of personnel

toward the South parking lot of the Wauwatosa City Hall. Knowlton asked what was going on and

asked again for a Wauwatosa police officer. There was no response.

       777.    McCormick was following Knowlton and stated to the John Doe police officers,

“I’m going home, it’s that way” and pointed South. John Doe officers in riot gear responded, “Oh

no you’re not” without providing any further information.

       778.    Two other riot-geared personnel pulled McCormick’s arms behind her back and

forcibly moved her forward going in the same direction as Knowlton.

       779.    Knowlton continued to ask at least three more times for a Wauwatosa police officer

and asked “What is going on?” No response was provided.

       780.    Throughout this entire episode, there were no acts by Plaintiffs Knowlton nor

McCormick, nor acts by any other people that they witnessed, which could constitute non-

peaceable assembly.

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       781.    Knowlton and McCormick were brought to the back of a Wauwatosa police truck

by a John Doe officer and were handcuffed with plastic zip-ties, and searched.

       782.    Knowlton’s back pockets were searched and her cell phone was taken. A John Doe

officer directed Knowlton to get in the back of the truck she asked why she was arrested and was

told, “unlawful assembly.” Knowlton responded that there were only two people on the lawn and

this was an unlawful arrest.

       783.    Knowlton stated that she wanted to speak to an attorney immediately. The John

Doe officer responded, “it doesn’t work that way, you can talk to an attorney after you are

released.” Knowlton stated, “I am an attorney and I want to speak to my attorney right now.” No

one responded or said anything else.

       784.    McCormick was directed to get into the truck without any further explanation or

questions and at no time were either Plaintiffs McCormick or Knowlton advised of their rights.

       785.    At no time was McCormick asked her name or any other identifying information.

       786.    Plaintiffs asked John Doe Officers where they were being taken and told, “you’ll

find out when you get there.”

       787.    The truck drove around for some time, and then stopped to pick up an additional

person, who was loaded into the truck in handcuffs, crying and asking why she had been arrested

and where the truck was going. Again, John Doe officers did not respond and stated that they

would not disclose any location.

       788.    The truck drove for another 10-15 minutes and stopped again in a dark and a

parking lot. Law enforcement opened the back of the truck and stated that another vehicle would

be transporting Plaintiffs and the additional person to yet another location which they would not

disclose.



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         789.   A Brookfield police truck arrived and at that point, for the first time, McCormick

was asked her name by a John Doe Brookfield officer.

         790.   McCormick was then separated from Knowlton and put into the back of a police

squad car alone. She was not advised any further, but she was then able to identify that location as

Our Redeemer Lutheran Church on North Avenue in Wauwatosa.

         791.   After being transport for about 10 minutes, Plaintiffs Knowlton and McCormick

and the additional person were brought into what appeared to be a police processing room. There

were no identifying signs as to where or what this location was.

         792.   Four John Doe Wauwatosa-uniformed officers proceeded with an additional search,

including under the clothes, and seized Plaintiffs’ shoes and handcuffs were removed.

         793.   Two John Doe FBI agents interviewed Plaintiffs Knowlton and McCormick.

         794.   John Doe officers photographed them and Plaintiffs were also asked for their social

security numbers, employment, family history, and if Plaintiffs Knowlton and McCormick were

members of “Antifa” and “the People’s Revolution.”

         795.   After another hour or so, Plaintiffs and the additional person were each issued

tickets for being in violation of an emergency order by Lt. Jeffrey Farina and a listed forfeiture of

$1321.

         796.   WPD John Doe officers told Knowlton, McCormick and the third detainee that they

would be leaving in a police van and dropped off at a point of law enforcement’s choosing. The

additional person became upset and asked why she was not free to leave on her own. Officers

stated that “policy” required law enforcement transport as a “courtesy.” Law enforcement further

stated that Defendant Weber did not want people gathering at the police station.




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        797.    When the additional person cried and expressed fear and claustrophobia in having

to get back into a police transport, she was told that she was risking additional arrest for a curfew

violation, and it would be “safer” to take the law enforcement “courtesy” transport.

        798.    Knowlton and McCormick understood that they were not free to go and were forced

to be unlawfully arrested again by a John Doe officers and had no choice but to go with them.

        799.    McCormick then asked to be taken to “our homes” (to avoid risk of arrest because

of curfew violation), she was told “no, we will drop you off in Wauwatosa.”

        800.    Plaintiffs were then given their shoes and told to leave the building with two John

Doe officers who would do the transporting.

        801.    Plaintiffs’ property was given to the John Doe officers. Once outside, the Joe Doe

officer said he was going to use handcuffs again and stated that it was required “policy.”

McCormick stated Plaintiffs would rather walk. The other John Doe officer then stated something

like “forget it, let it go,” and Plaintiffs were told to get into the back of the truck.

        802.    Plaintiffs McCormick and Knowlton were not dropped off at their homes in

Wauwatosa but were dropped off near Wauwatosa East High School.

        803.    Defendant Farina knows there is no probable cause to ticket Plaintiffs McCormick

and Knowlton for violation of an emergency order in the amount of $1,321.

        804.    Schimmel knows there is no probable cause to prosecute Plaintiffs Knowlton and

McCormick. Despite, knowing this, Schimmel continues to unlawfully prosecute Knowlton and

McCormick.

        805.    Plaintiffs suffered physical discomfort and injury, including soreness and bruising

from having their arms handcuffed behind their backs, and significant emotional distress and

trauma, including fear about where they would be taken and what would be done to them, from

their unlawful arrest and detention.
                                                                                                  92

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       806.      At no time were either of the Plaintiffs provided Miranda warning, or informed in

any way of any legal rights they had incident to an arrest, search, seizure, detention, and

interrogation.

       807.      Plaintiffs continue to experience post-traumatic stress and fear on-going retaliation.

                          ii. PLAINTIFF Molly Nilssen – October 10, 2020

       808.      Plaintiff Nilssen was in the city of Wauwatosa on October 10, 2020 peacefully

protesting when she was hit with rubber bullets and tear gassed.

       809.      Nilssen was arrested by a John Doe officers who took her phone away.

       810.      Plaintiff Nilssen’s wrist restraints were extremely tight and the officers did not

seem to care and she was put in a police van with two other detainees.

       811.      Plaintiff was eventually taken to the WPD and while there, she was photographed,

fingerprinted, and despite the lack of probable cause that Plaintiff had committed any state or

Federal crimes was still forced to sit and talk to John Doe FBI agents.

       812.      Plaintiff Nilssen repeatedly asserted her right to remain silent and her right to an

attorney the FBI agents continued to ask her questions.

       813.      The FBI asked several questions including: what happened; why she was

protesting; what group she with; and if she was with TPR.

       814.      After the questions, Plaintiff was told by the officers that she would be leaving in a

police van and dropped off at a point of law enforcement’s choosing.

       815.      Plaintiff Nilssen was upset and asked why she would not be free to leave on her

own. The John Doe officer stated that “policy” required law enforcement transport as a “courtesy.”

and that Defendant Weber did not want people gathering at the police station.




                                                                                                    93

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       816.    Plaintiff Nilssen was told that if she continued to be upset she would be arrested

again for a curfew violation, and that it would be “safer” to take the law enforcement “courtesy”

transport.

       817.    Plaintiff was walked out of the parking lot accompanied by a John Doe officer and

given a ticket for Violation of an Emergency Order by Defendant Farina.

       818.    At no time was Plaintiff provided Miranda warning, or informed in any way of any

legal rights she had incident to an arrest, search, seizure, detention and interrogation.


      iii.    PLAINTIFFS Leah Porter, Christina Vitolo Haddad, and Sonja Worthy
                                 October 10, 2020

       819.    Leah Porter, Christina Vitolo Haddad, and Sonja Worthy were in the City of

Wauwatosa on October 10, 2020.

       820.    The three came to Wauwatosa to as social service workers, who were exempt from

the Emergency Proclamation, and brought the necessary equipment to triage general issues.

       821.    Plaintiffs Porter, Haddad, and Worthy attended a candlelight vigil outside

Wauwatosa’s City Hall which continued past 7pm.

       822.    Plaintiffs witnessed the National Guard and various law enforcement agencies in

armored vehicles and wearing tactical gear.

       823.    Sometime after 7p.m. the police issued dispersal orders.

       824.    While at Wauwatosa City Hall Plaintiffs Porter, Haddad, and Worthy provided

social service assistance to various persons and left the City Hall area to go home around 7:30pm.

       825.    While they were walking to their car shortly after dispersal orders were given,

Plaintiffs were stopped by John Doe police officers in a car.

       826.    One officer did not have a visible name tag or badge but had a “blue lives” matter

tattoo on his forearm asked them where they were going.
                                                                                               94

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         827.   Plaintiffs Porter, Worthy and Haddad told the John Doe officers that they were

medics and their medical bags were searched and their cellphones seized.

         828.   At no time did Plaintiffs Haddad, Porter, or Worthy give consent to search their cell

phones or their bags.

         829.   Plaintiffs Haddad, Porter, and Worthy were unlawfully arrested by John Doe

officers and the officers took a picture of all three Plaintiffs with their cell phones.

         830.   Plaintiff Haddad repeatedly told John Doe officers that she was not going to answer

any questions. The officers continued to ask her questions. One John Doe officer stated, “Uh oh

ladies it sounds like the feds want to talk to you.”

         831.   Plaintiffs were taken to Mayfair Mall where there was a makeshift police station

and were booked in by an unidentified female police officer.

         832.   Haddad, Porter, and Worthy all together were forced to talk to two John Doe FBI

agents despite their previous assertions that they did not want to answer any questions.

         833.   While in custody Plaintiffs were asked by the FBI agents if they were affiliated

with the People’s Revolution.

         834.   One of the FBI agents took a picture of Plaintiffs with his cellphone.

         835.   After FBI agents stopped questioning them, Plaintiffs were given tickets by WPD

despite their being no probable cause to charge them.

         836.   George Schimmel knows there is no probable cause to prosecute Plaintiffs and is

continuing to prosecute them.

         837.   A Dane County officer drove Plaintiffs Haddad, Porter, and Worthy back to their

car.

         838.   Before dropping them off the officer said, ‘Ladies you’re not going to do anything

like this again, right?’
                                                                                                  95

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        839.   At no time were Plaintiffs given their Miranda rights and were denied their right to

an attorney and to remain silent.

        840.   Plaintiffs suffered physical discomfort and injury, including fear about where they

would be taken and what would be done to them, from their unlawful arrest and detention.

        841.   Plaintiffs Haddad, Porter, and Worthy continue to experience post-traumatic stress

and fear of on-going retaliation.

                       iv.     PLAINTIFF Isiah Baldwin - October 10, 2020

        842.   Plaintiff Isiah Baldwin was in Wauwatosa on October 10, 2020 peacefully

protesting for police accountability and was arrested.

        843.   Plaintiff Baldwin was photographed, fingerprinted, and made to talk with an FBI.

        844.   The FBI agent asked questions. Plaintiff told him he wanted a lawyer and that he

did not want to answer any questions.

        845.   Plaintiff Baldwin having been told he was released, asked to use the police phone

to call for a ride and was denied a phone call.

        846.   Plaintiff wanted to walk home but was told that he did not have a choice but to be

dropped off at home by a John Doe officer.

        847.   After being released, a John Doe officer handcuffed Baldwin and forced him in the

car for his “courtesy” ride home.

        848.   The John Doe officer dropped Baldwin off around 12:30a.m. around Sherman and

Hampton, not his home nor near his home. This intersection is in an area of high crime particularly

at night.

        849.   At no time was Plaintiff Baldwin provided Miranda warning, or informed in any

way of any legal rights he had incident to an arrest, search, seizure, detention and interrogation.



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       850.    Plaintiff Baldwin was given a ticket for Violation of an Emergency Order in the

amount of $1,956.00 by Defendant Farina.

       851.    Plaintiff suffered physical discomfort and significant emotional distress, trauma,

and fear of on-going retaliation.

                      v.     PLAINTIFF Pete Sparks – October 10, 2021

       852.    Plaintiff Sparks was attempting to record police action and protesting in the City of

Wauwatosa on October 10, 2020.

       853.    Plaintiff rode his bicycle near the Wauwatosa Library and an unmarked car with

their lights off, was driving very fast next to him and Sparks fearing for his life thought they were

counter protestors targeting him

       854.    John Doe officers did not identify themselves and they used their car to kettle him

towards the cemetery on 76th and Burleigh. Out of nowhere, several unidentified people in

military fatigues came running out of the area yelling at Plaintiff to stop, jumping at him and

knocking him off his bicycle.

       855.    Plaintiff later learned that these unidentified people were police and they cuffed

him tightly with zip ties before ever announcing that they were police officers.

       856.    Plaintiff Sparks told them that they never announced themselves as police officers

and he was dragged into the cemetery where WPD Officer Defendant Kelly Zielinski and other

John Doe officers started beating and kicking him, causing him pain and numerous injuries.




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       857.    John Doe officers repeatedly pulled and bent Plaintiff’s knee backward, which was

extremely painful and took his cellphone.

       858.    The officers at the scene also damaged plaintiff’s bike which made it immobile and

also had several broken pieces when he recovered it.

       859.    Plaintiff Sparks repeatedly asked the officers at the scene to identify themselves

which they refused and he was eventually taken to the WPD.

       860.    The amount of force used against Plaintiff was excessive and was objectively

unreasonable in light of the facts and circumstances confronting Defendant Zielinski and John Doe

Officers.

       861.    Plaintiff was photographed, fingerprinted, and booked at the WPD.

       862.    Plaintiff was made to talk to the FBI despite their being no probable cause that he

had committed any federal crimes to justify talking to them.

       863.    Plaintiff was eventually given a municipal ticket in the amount of $1,321 for

Violation of an Emergency Order signed by Lt. Jeffrey Farina.


                                                                                               98

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       864.    Plaintiff suffered physical discomfort and injury, including soreness and bruising

from his arms being handcuffed behind his backs, and significant emotional distress and trauma,

including fear about what would be done to him, from his unlawful arrest and detention.

       865.    At no time was Plaintiff Sparks provided Miranda warning, or informed in any way

of any legal rights he had incident to an arrest, search, seizure, detention, and interrogation.

       866.    Plaintiff continues to experience post-traumatic stress and fear on-going retaliation.

                          5.    OCTOBER 11, 2020

                     i.        PLAINTIFF Jill Ferguson - October 11, 2020

       867.    Plaintiff Jill Ferguson is an activist who was filming people protesting in

Wauwatosa on October 11, 2020.

       868.    At around 7:30p.m. Plaintiff was videotaping the interactions between the police

and protestors from her car.

       869.    Plaintiff’s car has numerous bumper stickers regarding a wide variety of social

justice issues including Black Lives Matters (“BLM”) insignia on the outside of the car.

       870.    Plaintiff was immediately stopped and targeted by the John Doe officers in

Wauwatosa and while driving, about six unmarked vehicles stopped and surrounded her.

       871.    After the John Doe officers stopped her car, officers asked Ferguson to step out of

her car and immediately took her cell phone.

       872.    John Doe officers forcefully pushed her on the trunk of car and put extremely tight

handcuffs on her. She asked that her handcuffs be loosened and was ignored.

       873.    John Doe officers at the scene addressed Ferguson as to why she was supporting a

“terrorist group”, implying that TPR and BLM are terrorist organizations.

       874.    John Doe officers at the scene asked Ferguson why she was associating with

“thugs” in TPR and BLM.
                                                                                                   99

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       875.    At no time did the officers identify themselves. Officers had black tape over their

name badges.

       876.    The video that Plaintiff was recording was erased from her phone by one of the

John Doe Officers.

       877.    At no time did Ferguson give the officers permission to search her phone.

       878.    Plaintiff was taken to the WPD where she was photographed and fingerprinted.

While at the WPD Plaintiff was made to talk to the FBI.

       879.    Despite asserting her right to remain silent, the FBI asked her if she “was a member

of a terrorist group like TPR, BLM, or Antifa.”

       880.    Plaintiff was released from the WPD and tried to leave the police station on her

own. But was told by a John Doe Officer that they would give her a “courtesy ride” to her car.

       881.    Despite Plaintiff’s objections the police made her get back in the police car

essentially arresting her again with no probable cause.

       882.    A John Doe officer told Plaintiff that her car had not been towed which it was.

       883.    The towing of Plaintiff’s car was in violation of WPD’s towing policy.

       884.    Plaintiff Fergusons’ car was towed by Dennis Towing and Transportation and she

had to pay $157.75 to get her car back and was told by employees at Dennis Towing that a John

Doe officer with the WPD had called to get her car towed.

       885.    John Doe Officers dropped Plaintiff off several miles away from her car, with no

cell phone, after 2 a.m.

       886.    Plaintiff was given a municipal ticket in the amount of $1,321 for Violation of an

Emergency Order signed by Lt. Jeffrey Farina.

       887.    Plaintiff continues to experience post-traumatic stress and fear on-going retaliation.



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       888.      Plaintiff suffered physical discomfort and injury, including soreness and bruising

from having her arms tied behind her back, and significant emotional distress and trauma,

including fear about where she would be taken and what would be done to her from his unlawful

arrest and detention.

XI.       RELEASE OF PLAINTIFFS PERSONAL INFORMATION FROM MOTOR
          VEHICLE RECORDS IN VIOLATION OF THE DPPA

                 A.     BACKGROUND

       889.      The Driver’s Privacy Protection Act (the “DPPA”), 18 U.S.C. 2721 prohibits any

person from knowingly obtaining or disclosing personal information from a motor vehicle record.

The act defines personal information as information that identifies an individual including an

individual’s driver identification number, name, address, date of birth, height, weight, hair color,

and eye color.

       890.      On January 7, 2021 Defendant Joseph Roy, was employed by the City of

Wauwatosa as a Lieutenant with the WPD, and as part of his duties was and is in charge of the

open records division and at all times relevant was working within his official capacity.

       891.      The WPD had its first written open records policy effective July 27, 2020 as

prepared by Lt. Gierach and Defendant Joseph Roy, that was approved by Defendant Barry Weber.

       892.      On January 7, 2021 Defendant Weber was the official custodian of the records in

the WPD until the new WPD Chief MacGillis was hired on or around June 1, 2021.

       893.      On January 7, 2021 Defendant Joseph Roy disclosed to the third parties police

reports, arrest & booking information, noncriminal tickets and interrogation videos which

contained these fifty-three (53) Plaintiffs’ personal information and/or highly restricted personal

information that was obtained from their motor vehicle records. and disclosed such information

not for a use permitted by the DPPA.

                                                                                                101

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       894.    On January 7, 2021 Defendant Roy released to third parties these fifty-three (53)

Plaintiffs personal information and/or highly restricted personal information for a use that was not

permitted by the DPPA.

       895.    At all times relevant, when Defendant Roy released Plaintiffs’ personal information

and/or highly restricted personal information from these fifty-three (53) Plaintiffs from their motor

vehicle records he was working in his official capacity.

                       B.      PLAINTIFFS ALLEGATIONS

PLAINTIFFS Andrew Aaron, Kamila Ahmed, Robert Agnew, Isiah Baldwin, Jacqueline
Bogenberger, Rebecca Burrell, Raine Cich, Khalil Coleman, Taleavia Cole, Tracy Cole,
Steven Conklin, Anne Delessio-Parson, Rachel Dulay, Erik Fanning, Jill Ferguson, Breon
Foster, Joanna Geisler, Joseph Hayes, Percy Hayes, Destiney Jones, Adante Jordan, Mary
Kachelski, Sean Kafer, Kathelyn Knowlton, Joseph Koepp, John Larry, Alex Larson,
Sonora Larson, Holly Lavora, Lazarito Mathieu, Vaun Mayes, Dana McCormick, Molly
Nilssen, Carmen Palmer, (juvenile male) Palmer 1, (juvenile female) Palmer 2, Leah Porter,
Jose Hernandez Ramirez, William Rivera, Hector Rodriguez, Rosalind Rogers, Nathan
Sabel, William Schroeder, Mariah Smith, Peter Sparks, Angel Vega, Christina Vitolo-
Haddad, Gabriella Vitucci, Jayden Welch, Suzanne Wells, Brandon Wilborn, Katelyn
Wojnar, and Sonja Worthy

       896.    On January 7, 2021 Defendant Roy did not have a permissible purpose for

disclosing these fifty-three (53) Plaintiffs Andrew Aaron, Kamila Ahmed, Robert Agnew, Isiah

Baldwin, Jacqueline Bogenberger, Rebecca Burrell, Raine Cich, Khalil Coleman, Taleavia Cole,

Tracy Cole, Steven Conklin, Anne Delessio-Parson, Rachel Dulay, Erik Fanning, Jill Ferguson,

Breon Foster, Joanna Geisler, Joseph Hayes, Percy Hayes, Destiney Jones, Adante Jordan, Mary

Kachelski, Sean Kafer, Kathelyn Knowlton, Joseph Koepp, John Larry, Alex Larson, Sonora

Larson, Holly Lavora, Lazarito Mathieu, Vaun Mayes, Dana McCormick, Molly Nilssen, Carmen

Palmer, (juvenile male) Palmer 1, (juvenile female) Palmer 2, Leah Porter, Jose Hernandez

Ramirez, William Rivera, Hector Rodriguez, Rosalind Rogers, Nathan Sabel, William Schroeder,

Mariah Smith, Peter Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Jayden



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Welch, Suzanne Wells, Brandon Wilborn, Katelyn Wojnar, and Sonja Worthy (hereinafter referred

to collectively as “these fifty-three (53) Plaintiffs”) personal information and/or highly restricted

personal information from their motor vehicle records to third parties.

       897.    On January 7, 2021 Defendant Roy did not have the express consent of any of these

fifty-three (53) Plaintiffs to obtain, disclose, or use their personal information and/or highly

restricted information from their motor vehicle records to any third parties.

       898.    On January 7, 2021 Defendant Roy with willful or reckless disregard for the law

obtained, disclosed, or used these fifty-three (53) Plaintiffs” personal information and/or highly

restricted personal information from their motor vehicle records to multiple third parties without

their express consent.

       899.    On January 7, 2021 Defendant Roy did not have a permissible purpose for

disclosing these fifty-three (53) Plaintiffs”) personal information and/or highly restricted personal

information from their motor vehicle records to third parties.

       900.    After January 7, 2021 Defendant Roy did not have a permissible purpose for

disclosing these fifty-three (53) Plaintiffs”) personal information and/or highly restricted personal

information from their motor vehicle records to third parties.

       901.    After January 7, 2021 Defendant Roy did not have the express consent of these

fifty-three (53) Plaintiffs to obtain, disclose, or use their personal information and/or highly

restricted information from their motor vehicle records to any third parties.

       902.    After January 7, 2021 Defendant Roy with willful or reckless disregard for the law

obtained, disclosed, or used these fifty-three (53) Plaintiffs”) personal information and/or highly

restricted personal information from their motor vehicle records to multiple third parties without

their express consent.



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       903.    On January 7, 2021 Defendant Roy did not have the express consent of these fifty-

three (53) Plaintiffs to obtain, disclose, or use their personal information and/or highly restricted

information from their motor vehicle records to any third parties.

                                 XII.    CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
              42 U.S.C. § 1983. - FIRST AMENDMENT VIOLATION (CURFEW ORDER)

As Alleged by Plaintiffs Jacqueline Bogenberger, Raine Cich, Tahudah Cole, Taleavia Cole,
Tracy Cole, Ann Delessio-Parson, Rachel Dulay, Erik Fanning, Jill Ferguson, Breon Foster,
Destiney Jones, Kathryn Knowlton, Sonora Larson, Holly Lavora, Dana McCormick, Molly
Neilson, Carmen Palmer, Palmer Doe 1, Palmer Doe 2, Leah Porter, Jose Ramirez, Hector
Rodriguez, Nathan Sabel, Peter Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriela Vitucci,
Susan Wells, Kathleen Wojnar, and Sonja Worthy, and The People’s Revolution.

                  Against Defendants City of Wauwatosa and Dennis McBride

       904.    Plaintiffs incorporate by reference the allegations contained in the foregoing

paragraphs, as though fully set forth herein.

       905.    The First Amendment provides that all citizens have a right to hold and express

their personal political beliefs. See Cohen v. California, 403 U.S. 15, 24 (1971).

       906.    Organized political protest is a form of “classically political speech.” Boos v.

Barry, 485 U.S. 312, 318 (1988).

       907.    “[T]he First Amendment safeguards an individual’s right to participate in the public

debate through political expression and political association.” McCutcheon v. Fed. Election

Com’n, 572 U.S. 185, 203 (2014).

       908.    The U.S. Supreme Court has repeatedly held that police may not interfere with

orderly, nonviolent protests merely because they disagree with the content of the speech or because

they simply fear possible disorder because of “a profound national commitment to the principle




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that debate on public issues should be uninhibited, robust, and wide-open[.]” McCutcheon v. Fed.

Election Com’n, 572 U.S. 185, 203 (2014).

           909.   Indeed, “it has long been clearly established that the First Amendment bars

retaliation for protected speech and association.” Crawford-El v. Britton, 523 U.S. 574, 592

(1998).

           910.   Defendant McBride, as Mayor and chief executive for the city of Wauwatosa, is the

final policymaker.

           911.   As a final policymaker, Defendant McBride proclaimed a curfew on October 7,

2020, with the express intent to restrict the political protests of Plaintiffs.

           912.   At the time Defendant McBride proclaimed the curfew, no condition existed which

would lead him to believe that violence or property destruction was imminent.

           913.   The proclaimed curfew discriminated on the basis of viewpoint as Defendant

McBride enacted it with the specific intent to quiet those who protest police violence.

           914.   The proclaimed curfew covered all public protest spaces in the City of Wauwatosa

leaving no reasonable alternative channels for expression.

           915.   The curfew was proclaimed without significant government interest.

           916.   In fact, the City of Wauwatosa, Defendant McBride, and the Wauwatosa Police

Department possessed no credible threat which would allow them to declare the act of protesting

in the City of Wauwatosa a criminal act.

           917.   The curfew was not narrowly tailored to any government interest.

           918.   The curfew covered the entire city and provided no alternative channels for political

protest.




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        919.    Defendant McBride anticipated protests which would only occur if the decision was

to not charge Mensah with murder.

        920.    The timing of such protest is important and denying Plaintiffs the right to protest

violated their rights to speech, assembly, and governmental redress.

        921.    The curfew was instead proclaimed with the intent to curtail the expressive

activities of Plaintiffs.

        922.    The curfew, as city law, was the policy of the City of Wauwatosa.

        923.    Pursuant to this proclaimed curfew Plaintiffs Jacqueline Bogenberger, Raine Cich,

Tahudah Cole, Taleavia Cole, Tracy Cole Ann Delessio-Parson, Rachel Dulay, Erik Fanning, Jill

Ferguson, Breon Foster, Destiney Jones, Kathryn Knowlton, Sonora Larson, Holly Lavora, Dana

McCormick, Molly Neilson, Carmen Palmer, Palmer Doe 1, Palmer Doe 2, Leah Porter, Jose

Ramirez, Hector Rodriguez, Nathan Sabel, Peter Sparks, Angel Vega, Christina Vitolo-Haddad,

Gabriela Vitucci, Susan Wells, Kathleen Wojnar, and Sonja Worthy were arrested and issued

citations for violations of this curfew.

        924.    The arrest and citation of Plaintiffs is a content-based or viewpoint-based restriction

on speech, or both.

        925.    Plaintiffs’ arrests were a denial of their right to free speech guaranteed by the First

Amendment to the Constitution of the United States.

        926.    By arresting Plaintiffs, Defendants prevented Plaintiffs from speaking out on a

matter of public concern.

        927.    By charging, investigating, and prosecuting Plaintiffs for their constitutionally-

protected expressive activity, Defendants have chilled Plaintiffs from exercising their First

Amendment rights.



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       928.    The actions of Defendants occurred while each was acting under color of State law.

       929.    Defendants’ actions caused, directly and proximately, Plaintiff to suffer damages.

                         SECOND CLAIM FOR RELIEF
              VIOLATION OF THE DRIVER'S PRIVACY PROTECTION ACT.
                             (18 U.S.C. § 2721, et seq.)

As Alleged by Plaintiffs Andrew Aaron, Robert Agnew, Kamila Ahmed, Isiah Baldwin,
Jacqueline Bogenberger, Lavita Booker, Rebecca Burrell, Raine Cich, Khalil Coleman, Tahudah
Cole, Taleavia Cole, Tracy Cole, Steven Conklin, Lauren Cross, Erik Fanning, Jessica Fenner,
Breon Foster, Christine Groppi, Gaige Grosskreutz, Joseph Hayes, Percy Hayes, Adante Jordan,
Mary Kachelski, Sean Kafer, Joseph Koepp, John Larry, Alex Larson, Sonora Larson, Vaun
Mayes, Molly Nilssen, Shawn Page, Carmen Palmer, Juvenile (male) Palmer, Juvenile (female)
Palmer, Oscar Concepcion Rodriguez, Rosalind Rogers, Madeline Schiweitzer, Mariah Smith,
Peter Sparks, Tiffany Stark, Angel Vega, Gabriella Vitucci, Tristiana Walls, Oscar Walton, Jayden
Welch, Britta Welch, Brandon Wilborn, Trisha Wilson, and Kathelyn Wojnar,

                Against Defendant Dominick Ratkowski and John Doe Officers
                             (PROTESTOR TARGET LIST)

       930.    All paragraphs of this Complaint are realleged by all these forty-nine (49)

individual Plaintiff Andrew Aaron, Robert Agnew, Kamila Ahmed, Isiah Baldwin, Jacqueline

Bogenberger, Lavita Booker, Rebecca Burrell, Raine Cich, Khalil Coleman, Tahudah Cole,

Taleavia Cole, Tracy Cole, Steven Conklin, Lauren Cross, Erik Fanning, Jessica Fenner, Breon

Foster, Christine Groppi, Gaige Grosskreutz, Joseph Hayes, Percy Hayes, Adante Jordan, Mary

Kachelski, Sean Kafer, Joseph Koepp, John Larry, Alex Larson, Sonora Larson, Vaun Mayes,

Molly Nilssen, Shawn Page, Carmen Palmer, Juvenile (male) Palmer, Juvenile (female) Palmer,

Oscar Concepcion Rodriguez, Rosalind Rogers, Madeline Schiweitzer, Mariah Smith, Peter

Sparks, Tiffany Stark, Angel Vega, Gabriella Vitucci, Tristiana Walls, Oscar Walton, Jayden

Welch, Britta Welch, Brandon Wilborn, Trisha Wilson, Kathelyn Wojnar, hereinafter for the

purposes of this claim referred to as forty-nine (49) “Target List Plaintiffs” as named above and

incorporated as though fully set forth.

       931.    The DPPA, 18 U.S.C. § 2722 makes it “unlawful for any person knowingly to


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obtain or disclose personal information, from a motor vehicle record, for any use not permitted

under Section 2721(b)” of the DPPA.

       932.    The DPPA, 18 U.S.C. § 2724(a) provides that a “person who knowingly obtains,

discloses or uses personal information, from a motor vehicle record, for a purpose not permitted

under this chapter shall be liable to the individual to whom the information pertains.

       933.    The DPPA, 18 U.S.C. § 2725(1) defines “motor vehicle record” to mean “any

record that pertains to a motor vehicle operator’s permit, motor vehicle title, motor vehicle

registration, or identification card issued by a department of motor vehicles.”

       934.    The DPPA, 18 U.S.C. § 2725(3) defines “personal information” to mean

information that identifies an individual, including an individual’s photograph, social security

number, driver identification number, name, address (but not the 5-digit zip code), telephone

number, and medical or disability information, but does not include information on vehicular

accidents, driving violations, and driver’s status.”

       935.    Defendant Ratkowski obtained, since at least May 25, 2020, and continuing to

present, personal information from the Wisconsin Department of Transportation to complete

citations as well as compile lists, including those involving these forty-nine (49) Target List

Plaintiffs “personal information from a motor vehicle record” within the meaning of 18 U.S.C. §§

2722 & 2725(1), (3) and without their express consent and for no lawful purpose. By obtaining

such information and reports, Defendants obtained the Personal Information, within the meaning

of 18 U.S.C. § 2725(3) of Plaintiffs.

       936.    With knowledge of the provenance of the personal information contained in the

Target List, Defendants John Doe Officers then used and distributed the Target List, and with it,

Plaintiffs’ personal information.

       937.    Defendants Ratkowski and John Doe Officers unlawfully accessed, obtained and
                                                                                              108

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disclosed information for the express purpose of compiling, using and/or disclosing Target List

Plaintiffs personal information to third parties for no lawful purpose, but rather as a pretext for

surveillance, which is not a “permissible use” of seeking or disclosing personal information under

the DPPA, 18 U.S.C. § 2721(b).

        938.   Defendant Ratkowski obtained the personal information and/or highly restricted

personal information of these forty-nine (49) Target List Plaintiffs knowing that he was obtaining

their personal information from a motor vehicle record and knew that he had no permissible use

under the DPPA.

        939.   Defendants Ratkowski and/or John Doe officers unlawfully disclosed Plaintiffs’

information without their express consent and for no lawful purpose.

        940.   As a result of Defendants' conduct, these forty-nine (49) Target List Plaintiffs who

were put on the Target List have suffered harm, and are entitled to recover the damages available

under the DPPA, plus costs and attorneys' fees, as provided under 18 U.S.C. §2724(b) of the

DPPA.

                          THIRD CLAIM FOR RELIEF
 42 U.S.C. § 1983 VIOLATION OF FOURTEENTH AMENDMENT – DENIAL OF DUE
                                 PROCESS

As Alleged by Plaintiffs Andrew Aaron, Robert Agnew, Kamila Ahmed, Isiah Baldwin,
Jacqueline Bogenberger, Lavita Booker, Rebecca Burrell, Raine Cich, Khalil Coleman, Tahudah
Cole, Taleavia Cole, Tracy Cole, Oscar Rodriguez, Steven Conklin, Lauren Cross, Erik Fanning,
Jessica Fenner, Breon Foster, Christine Groppi, Gaige Grosskreutz, Joseph Hayes, Percy Hayes,
Adante Jordan, Mary Kachelski, Sean Kafer, Joseph Koepp, John Larry, Alex Larson, Sonora
Larson, Vaun Mayes, Molly Nilssen, Shawn Page, Carmen Palmer, Juvenile (male) Palmer,
Juvenile (female) Palmer, Rosalind Rogers, Madeline Schiweitzer, Mariah Smith, Peter Sparks,
Tiffany Stark, Angel Vega, Gabriella Vitucci, Tristiana Walls, Oscar Walton, Jayden Welch, Britta
Welch, Brandon Wilborn, Trisha Wilson, Kathelyn Wojnar, and members of the People’s
Revolution an unincorporated entity.

                         Against Defendant CITY OF WAUWATOSA
                                        MONELL

        941.   All paragraphs of this Complaint are realleged by all these forty-nine (49)
                                                                                               109

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individual Plaintiff Andrew Aaron, Robert Agnew, Kamila Ahmed, Isiah Baldwin, Jacqueline

Bogenberger, Lavita Booker, Rebecca Burrell, Raine Cich, Khalil Coleman, Tahudah Cole,

Taleavia Cole, Tracy Cole, Steven Conklin, Lauren Cross, Erik Fanning, Jessica Fenner, Breon

Foster, Christine Groppi, Gaige Grosskreutz, Joseph Hayes, Percy Hayes, Adante Jordan, Mary

Kachelski, Sean Kafer, Joseph Koepp, John Larry, Alex Larson, Sonora Larson, Vaun Mayes,

Molly Nilssen, Shawn Page, Carmen Palmer, Juvenile (male) Palmer, Juvenile (female) Palmer,

Oscar Concepcion Rodriguez, Rosalind Rogers, Madeline Schiweitzer, Mariah Smith, Peter

Sparks, Tiffany Stark, Angel Vega, Gabriella Vitucci, Tristiana Walls, Oscar Walton, Jayden

Welch, Britta Welch, Brandon Wilborn, Trisha Wilson, Kathelyn Wojnar, hereinafter for the

purposes of this claim referred to as forty-nine (49) “Target List Plaintiffs” as well as the People’s

Revolution an unincorporated entity Plaintiff as named above and incorporated as though fully set

forth.

         942.   The City of Wauwatosa through its Police Department (“WPD”) condoned, ratified

and adopted de facto policies, practices, and customs which include, inter alia;

                a.     maintaining a Target List consisting of photos, names, and identifying

                       personal Information and/or highly personal information of individuals

                       whom the Defendant’s believe are affiliated with the People’s Revolution;

                b.     arbitrarily including individuals on the Target List and labeling them as

                       protestors affiliated with the People’s Revolution;

                c.     failing to inform individuals when their information was put on the Target

                       List;


                d.     failing to have a process by which individuals can challenge their inclusion

                       on the Target List;


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               e.      failing to any sort of process by which information contained in the Target

                       List is analyzed for accuracy;

               f.      sharing information contained in the Target List with third parties, including

                       but not limited to federal and local government agencies, prosecutors, other

                       police department, university police departments, and sheriff offices

                       without the express consent of Plaintiffs;


               g.      failing to train and supervise WPD officers and Wauwatosa employees on

                       how to use the Target List in a manner that does not violate individuals’

                       constitutional rights under the Fourth and Fourteenth Amendments;


       943.    The polices, practices, and customs alleged above are or should be well-known

within the WPD.

       944.    The WPD knows that labeling someone as a person affiliated with the People’s

Revolution is stigmatizing particularly to other law enforcement officers and harmful to their

reputation. The City has implemented, enforced, encouraged, and sanctioned WPD’s policy,

practice, and custom of using and maintaining a Target List in a manner that violates the due

process rights of the Plaintiffs in violation of the Fourteenth Amendment.

       945.    The actions of the City through its police department of making, using, and/or

distributing the TPR Target List had a discriminatory effect and purpose against Plaintiffs.

       946.    The WPD is aware of the harms suffered by Plaintiffs as a result of their inclusion

on the Target List including deprivations of employment, Defendants’ actions were taken in

willful, wanton, reckless and malicious disregard of the Plaintiffs’ constitutional rights, for which




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Plaintiffs have suffered injury, including but not limited to pain, suffering, mental distress,

anguish, humiliation, fear of retaliation, and legal expenses.

       947.    The misconduct described in this count was objectively unreasonable and was

undertaken intentionally with malice and knowing disregard for Plaintiffs constitutional rights.

       948.    That the Defendant’s conduct constituted a violation of the Fourteenth Amendment

and/or Plaintiffs’ equal protection rights guaranteed by that same Amendment.

       949.    While acting under color of law, Defendant deprived Plaintiffs of their Fourteenth

Amendment rights for which Plaintiffs are entitled to damages proximately caused thereby.

       950.    Unless restrained by this Court, a real and immediate threat exists that the

Fourteenth Amendment rights of the Plaintiffs’ will be violated by WPD officers in the future and

that Defendants will continue to engage in the unconstitutional and illegal conduct alleged herein,

or other similar unconstitutional or illegal conduct, causing irreparable harm to Plaintiffs.

                                FOURTH CLAIM FOR RELIEF

     42 U.S.C. § 1983. - First Amendment and Fourteenth Amendment (Protester List)

As Alleged by Plaintiffs Andrew Aaron, Robert Agnew, Kamila Ahmed, Isiah Baldwin,
Jacqueline Bogenberger, Lavita Booker, Rebecca Burrell, Raine Cich, Khalil Coleman, Tahudah
Cole, Taleavia Cole, Tracy Cole, Steven Conklin, Lauren Cross, Erik Fanning, Jessica Fenner,
Breon Foster, Christine Groppi, Gaige Grosskreutz, Joseph Hayes, Percy Hayes, Adante Jordan,
Mary Kachelski, Sean Kafer, Joseph Koepp, John Larry, Alex Larson, Sonora Larson, Vaun
Mayes, Molly Nilssen, Shawn Page, Carmen Palmer, Juvenile (male) Palmer, Juvenile (female)
Palmer, Oscar Concepcion Rodriguez, Rosalind Rogers, Madeline Schiweitzer, Mariah Smith,
Peter Sparks, Tiffany Stark, Angel Vega, Gabriella Vitucci, Tristiana Walls, Oscar Walton,
Jayden Welch, Britta Welch, Brandon Wilborn, Trisha Wilson, and Kathelyn Wojnar

                             Against Defendant Dominick Ratkowski

       951.    Plaintiffs incorporate by reference the allegations contained in the foregoing

paragraphs, as though fully set forth herein.

       952.    Defendant Ratkowski’s surveillance program and the creation, maintenance, and



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distribution of the Target List infringed and interfered with Plaintiffs’ ability to enjoy and exercise

fully and freely their rights to freedom of speech, freedom of the press, freedom of assembly,

freedom of association, and freedom to petition their government for redress of grievances, as well

as their rights to privacy, due process, and the equal protection of the laws, as protected by the

First and Fourteenth Amendments to the United States Constitution.

       953.    The actions of Defendant Ratkowski occurred while he was acting under color of

State law.

       954.    Defendant’s conduct violated clearly established rights belonging to Plaintiffs of

which a reasonable person in Defendant’s position knew or should have known.

       955.    Defendant’s actions caused, directly and proximately, Plaintiff to suffer damages.

                                 FIFTH CLAIM FOR RELIEF
                      42 U.S.C. § 1983. - FIRST AMENDMENT RETALIATION

As Alleged by Plaintiffs Andrew Aaron, Kamila Ahmad, Isiah Baldwin, Jacqueline Bogenberger
Raine Cich, Khalil Coleman, Tahudah Cole, Taleavia Cole, Tracy Cole, Anne Delessio-Parson,
Rachel Dulay, Erik Fanning, Breon Foster, Joanna Geisler, Joseph Hayes, Destiney Jones, Sean
Kafer, Kathryn Knowlton, Sonora Larson, Holly Lavora, Dana McCormick, Molly Nilssen,
Carmen Palmer, Palmer Juvenile Female 1, Palmer Juvenile Male 2, Leah Porter, Jose Ramirez,
Hector Rodriguez, Rosalind Rogers, Nathan Sabel, William Schroeder, Mariah Smith, Peter
Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Suzanne Wells, Brandon
Wilborn, Katelyn Wojnar, Sonja Worthy and the People’s Revolution

Against Defendants Jeffrey Farina, Luke Vetter, George Opelt, Timothy Warren, Robert Piehl,
Daniel Mitchell, Russell Richardson, Joseph Lewandowski, and JOHN DOES 1-100

       956.    Plaintiffs incorporate by reference the allegations contained in the foregoing

paragraphs, as though fully set forth herein.

       957.    Plaintiffs were engaged in political speech protected by the First Amendment.

       958.    Plaintiff Mariah Smith was slammed to the ground by Defendant Vetter, Farina

Opelt, and John Does used force. These actions were taken to in retaliation for her speech

protesting police violence on September 5, 2020.

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        959.   Plaintiff Tracy Cole was violently pulled out of her car by her hair by Defendants

Mitchell and Piehl, and thrown to the ground and tased by Defendant Mitchell and John Does and

punched in the face by John Does. These actions were taken in retaliation for her speech protesting

police violence on October 8, 2020.

        960.   Plaintiff Taleavia Cole was violently pulled out of her car by Defendants

Richardson and John Does, thrown to the ground and had a gun pointed at her by John Doe

Defendant. These actions were taken to in retaliation for her speech protesting police violence on

October 8, 2020.

        961.   Plaintiffs Destiney Jones, Palmer Juvenile Female 1, Palmer Juvenile Male 2,

Sonora, Erik Fanning, and Sonora Larson had guns pointed at them by John Doe Officers. These

actions were taken to in retaliation for their speech protesting police violence on October 8, 2020.

        962.   Plaintiffs Rachel Dulay and Jose Ramirez were violently pulled out of their car and

had a gun pointed at them by Defendant Lewandowski. These actions were taken to in retaliation

for their speech protesting police violence on October 8, 2020.

        963.   Plaintiff Sonora Larson was shot with rubber bullets while expressing her beliefs.

These actions were taken to in retaliation for her speech protesting police violence on October 8,

2020.

        964.   Plaintiff Peter Sparks was beaten and kicked for expressing his beliefs by

Defendant Kelly Zielinski. These actions were taken to in retaliation for his speech protesting

police violence.

        965.   Plaintiffs Taleavia Cole, Tracy Cole, Sonora Larson, Jose Ramirez, Mariah Smith,

Destiney Jones, Rachel Dulay, Jose Ramirez, and Peter Sparks were subjected to excessive force

by Defendant WPD Officers and John Doe Officers on the basis of their political expression.



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       966.    Plaintiffs were in a traditional public forum engaging in classic political speech at

the time that Defendant officers used such excessive force.

       967.    Plaintiffs were not engaged in any violent, destructive, criminal, or other behavior

which would warrant the use of such force.

       967.    Such force was instead used for the specific purpose of denying Plaintiffs the

opportunity to engage in political protest.

       969.    Use of force would chill a person of ordinary firmness from engaging in future

expressive activity.

       970.    The content of Plaintiffs’ speech and protest was the motivating factor for

individual Defendant officers' decision to retaliate by use of force.

       971.    Plaintiffs Andrew Aaron, Isiah Baldwin, Khalil Coleman, Joseph Hayes, Sean

Kafer, Rosalind Rogers, Mariah Smith Gabriella Vitucci, and Brandon Wilborn were engaged in

political protest activity in Wauwatosa in a traditional public forum during protests on August 13

& 14, 2020 and September 5, 2020.

       972.    Defendant Timothy Warren issued tickets to Andrew Aaron, Khalil Coleman,

Mariah Smith, and Gabriella Vitucci for their participation in a political protest. Their protest was

the motivating factor for Defendant Warren’s decision to retaliate against these four Plaintiffs.

       973.    Defendant Farina issued citations Isiah Baldwin, Khalil Coleman, Joseph Hayes,

Sean Kafer, Rosalind Rogers, Gabriella Vitucci, and Brandon Wilborn for their participation in a

political protest. Their protest was the motivating factor for Defendant Farina’s decision to retaliate

against these seven Plaintiffs.

       974.    Being subjected to a criminal citation would chill a person of ordinary firmness

from engaging in future expressive activity.



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        975.    The content of Plaintiffs’ speech and protest was the motivating factor for

individual Defendant officers' decision to retaliate by issuing citations.

        976.    Plaintiffs Jacqueline Bogenberger, Raine Cich, Tahudah Cole, Taleavia Cole, Ann

Delessio-Parson, Rachel Dulay, Erik Fanning, Jill Ferguson, Breon Foster, Destiney Jones,

Kathryn Knowlton, Sonora Larson, Holly Lavora, Dana McCormick, Molly Neilson, Carmen

Palmer, Palmer Doe 1, Palmer Doe 2, Leah Porter, Jose Ramirez, Hector Rodriguez, Nathan Sabel,

Peter Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriela Vitucci, Susan Wells, Kathleen

Wojnar, and Sonja Worthy were arrested and issued citations for violations of the curfew from

October 7 – 12, 2020.

        977.    Plaintiffs William Schroeder and Joanna Geisler were issued citations for failure to

follow a lawful order while they were protesting in Wauwatosa on October 9, 2020.

        978.    Defendant officers Farina and Warren issued Plaintiffs citations for their

participation in a political protest.

        979.    The content of Plaintiffs’ speech and protest was the motivating factor for

individual Defendant officers' decision to retaliate by issuing citations.

        980.    Defendants engaged in this conduct intentionally, knowingly, willfully, wantonly,

maliciously, and in reckless disregard of Plaintiff’s constitutional rights.

        981.    At all times relevant to this Complaint, Defendants were acting under color of state

law.

        982.    Defendants’ actions caused Plaintiffs to suffer damages.

                                  SIXTH CLAIM FOR RELIEF
                              42 U.S.C. 1983 - Deliberate Indifference

As Alleged by Plaintiffs Sonora Larson, Peter Sparks, Lazarito Matheu, Aidali Rivera, William
                                Rivera, and Hector Rodriguez



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                                 Against Defendant Barry Weber

       983.    Plaintiffs incorporate by reference the allegations contained in the foregoing

paragraphs, as though fully set forth herein.

       984.    By the morning of October 9, 2020, Defendant Weber had knowledge that the

officers of the WPD were engaged in an effort to silence the voices of those who protested police

violence.

       985.    On October 8, 2020, Tracy Cole was subjected to excessive force, which was

covered extensively in the news media and Defendant Weber knew she and others had been

harmed by officers.

       986.    As Defendant Weber was aware, officers of the WPD, for whom he was the

supervisor, were using tear gas, rubber bullets, pepper spray, and physical violence against those

they perceived as politically opposed to the interests of the WPD.

       987.    As Defendant Weber was aware, WPD officers were using excessive force and

were retaliating against protesters on the basis of their viewpoints or their perceived viewpoints.

       988.    On October 9, 2020 Plaintiff Sonora Larson was shot with multiple rubber bullets

by John Doe officers while she was lying on the ground.

       989.    On October 10, 2020 Plaintiffs Matheu Lazarito, William Rivera, Aidali Rivera,

and Hector Rodriguez were all subjected to objectively unreasonable excessive force by John Doe

officers when their car was rammed and they had a gun pointed at them while they were in

Wauwatosa.

       990.    On October 10, 2020 Defendant Kelly Zielinski and Defendant John Doe officers

subjected Plaintiff Peter Sparks to objectively unreasonable excessive force when he was dragged

into a cemetery where he was beaten and kicked by Defendants.

       991.    In addition to real time knowledge and access to police actions during the curfew,

Defendant Weber also received multiple daily briefings and was aware of all of the constitutional

violations and police actions against these Plaintiffs.



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       992.    As chief of police, Defendant Weber had an obligation to address these

constitutional violations in anticipation of future political protests and he did not address.

       993.    Plaintiffs and other protesters continued to call for police practices which would

not deny them their constitutional rights to be free from excessive force and to exercise their first

amendment rights.

       994.    Defendant Weber was deliberately indifferent to the needs of Plaintiff and the

actions of Defendant occurred while acting under color of State law.

       995.    Defendant's actions caused, directly and proximately, Plaintiffs to suffer damages.


                                 SEVENTH CLAIM FOR RELIEF
      42 U.S.C. § 1983. - FIRST AMENDMENT VIOLATION (EXCESSIVE FORCE & ARREST)

AS ALLEGED BY PLAINTIFFS ISIAH BALDWIN, JACQUELINE BOGENBERGER, RAINE CICH,
TAHUDAH COLE, TALEAVIA COLE, TRACY COLE, ANNE DELESSIO-PARSON, RACHEL DULAY, ERIK
FANNING, JILL FERGUSON, BREON FOSTER, JOANNA GEISLER, JOSEPH HAYES, DESTINEY JONES,
SEAN KAFER, KATHRYN KNOWLTON, SONORA LARSON, HOLLY LAVORA, DANA MCCORMICK,
MOLLY NILSSEN, CARMEN PALMER, PALMER JUVENILE FEMALE 1, PALMER JUVENILE MALE 2,
LEAH PORTER, JOSE RAMIREZ, HECTOR RODRIGUEZ, ROSALIND ROGERS, NATHAN SABEL,
WILLIAM SCHROEDER, MARIAH SMITH, PETER SPARKS, ANGEL VEGA, CHRISTINA VITOLO-
HADDAD, GABRIELLA VITUCCI, SUSAN WELLS, BRANDON WILBORN, KATELYN WOJNAR, SONJA
WORTHY, AND THE PEOPLES REVOLUTION

AGAINST DEFENDANTS CITY OF WAUWATOSA, JEFFREY FARINA, JOSEPH LEWANADOWSKI,
DENNIS MCBRIDE, DANIEL MITCHELL, ROBERT PIEHL, GEORGE OPELT, LUKE VETTER, BARRY
WEBER TIMOTHY WARREN, RUSSELL RICHARDSON AND JOHN DOES 1-100

       996.    Plaintiffs incorporate by reference the allegations contained in the foregoing

paragraphs, as though fully set forth herein.

       997.    Plaintiffs were engaged in political speech protected by the First Amendment.

       998.    Plaintiff Mariah Smith was slammed to the ground by Defendant Vetter, Farina,

Opelt and John Does used force. These actions were taken to stop her from protesting police

violence.




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       999.    Plaintiff Tracy Cole was violently pulled out of her car by Defendants Mitchell and

Piehl, and thrown to the ground and tased by Defendant Mitchell and John Does and punched in

the face by John Does. These actions were taken to stop her from protesting police violence.

       1000. Plaintiff Taleavia Cole was violently pulled out of her car by Defendants

Richardson and John Does, and thrown to the ground and had a gun pointed at her head by John

Doe Defendant. These actions were taken to stop her from protesting police violence.

       1001. Plaintiff Sonora Larson was shot with rubber bullets while expressing her beliefs.

These actions were taken to stop her from protesting police violence.

Plaintiff Peter Sparks was beaten and kicked for expressing his beliefs. These actions were taken

to stop him from protesting police violence.

       1002. Jill Ferguson was stopped from filming police conduct while at a protest. These

actions were taken to stop her from filming police violence.

       1003. Plaintiffs Jose Ramirez, Rachel Dulay, and Peter Smith were subjected to excessive

force by Defendants Joseph Lewandowski and John Doe Defendants on the basis of their political

expression.

       1004. Plaintiffs Peter Smith was subjected to excessive force by Defendants Joseph

Lewandowski and John Doe Defendants on the basis of their political expression.

       1005. Plaintiff’s Destiney Jones, Carmen Palmer, (juvenile male) Palmer 1, (juvenile

female) Palmer 2, were subjected to excessive force when John Doe Defendants pointed guns at

their heads for protesting police killings in Wauwatosa.

       1006. Plaintiffs were in a traditional public forum engaging in classic political speech at

the time that John Doe Defendants used such excessive force.




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        1007. Plaintiffs were not engaged in any violent, destructive, criminal, or other behavior

which would warrant the use of such force.

        1008. Such force was instead used for the specific purpose of denying Plaintiffs the

opportunity to engage in political protest.

        1009. Use of force would chill a person of ordinary firmness from engaging in future

expressive activity.

        1010. Plaintiffs Andrew Aaron, Isiah Baldwin, Khalil Coleman, Joseph Hayes, Sean

Kafer, Rosalind Rogers, Mariah Smith, Gabriella Vitucci, and Brandon Wilborn were engaged in

political protest activity in a traditional public forum during protests in Wauwatosa on August 13

& 14, 2020 and September 5, 2020.

        1011. Defendant Timothy Warren issued tickets to Andrew Aaron, Khalil Coleman,

Mariah Smith, and Gabriella Vitucci for their participation in a political protest.

        1012. Defendant Farina issued citations Andrew Aaron, Isiah Baldwin, Joseph Hayes,

Sean Kafer, Rosalind Rogers, and Brandon Wilborn for their participation in a political protest.

        1013. Being subjected to a court proceedings and a citation would chill a person of

ordinary firmness from engaging in future expressive activity.

        1014. Defendant McBride, as Mayor and chief executive for the city of Wauwatosa, is the

final policymaker.

        1015. As a final policymaker, Defendant McBride proclaimed a curfew on October 7,

2020, with the express intent to restrict the political protests of Plaintiffs.

        1016. Defendant Weber is the chief policy maker for the Wauwatosa Police Department.

        1017. The proclaimed curfew discriminated on the basis of viewpoint as Defendant

McBride enacted it with the specific intent to quiet those who protest police violence.



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        1018. The proclaimed curfew covered all public protest spaces in the City of Wauwatosa,

leaving no reasonable alternative channels for expression.

        1019. The curfew was proclaimed without significant government interest.

        1020. In fact, the City of Wauwatosa, Defendant McBride, and the Wauwatosa Police

Department possessed no credible threat which would allow them to declare the act of protesting

in the City of Wauwatosa a criminal act.

        1021. The curfew was not narrowly tailored to any government interest.

        1022. The curfew was instead proclaimed with the intent to curtail the expressive

activities of Plaintiffs.

        1023. The curfew, as city law, was the policy of the City of Wauwatosa.

        1024. Defendants Mayor McBride and Chief Weber’s policy of dispersing persons,

including Plaintiffs, who are engaged in peaceful, constitutionally protected acts of speech and

expressive conduct violates Plaintiffs’ rights under the First Amendment as applied to Plaintiffs’

peaceful demonstrations.

        1025. Pursuant to this proclaimed curfew Plaintiffs Jacqueline Bogenberger, Raine Cich,

Tahudah Cole, Taleavia Cole, Ann Delessio-Parson, Rachel Dulay, Erik Fanning, Jill Ferguson,

Breon Foster, Destiney Jones, Kathryn Knowlton, Sonora Larson, Holly Lavora, Dana

McCormick, Molly Neilson, Carmen Palmer, Palmer Doe 1, Palmer Doe 2, Leah Porter, Jose

Ramirez, Nathan Sabel, Peter Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriela Vitucci,

Susan Wells, Kathleen Wojnar, and Sonja Worthy were arrested and issued citations for violations

of this curfew.

        1026. The arrest and citation of Plaintiffs is a content-based or viewpoint-based restriction

on speech, or both.



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         1027. Plaintiffs’ arrests were a denial of their right to free speech guaranteed by the First

Amendment to the Constitution of the United States.

         1028. By arresting Plaintiffs, Defendants prevented Plaintiffs from speaking out on a

matter of public concern.

         1029. By charging, investigating, and prosecuting Plaintiffs for their constitutionally

protected expressive activity, Defendants have chilled Plaintiffs from exercising their First

Amendment rights.

         1030. The actions of Defendants occurred while each was acting under color of State law.

         1031. Defendants’ actions caused, directly and proximately, Plaintiff to suffer damages.

                                 EIGHTH CLAIM FOR RELIEF
                                42 U.S.C. § 1983 - Excessive Force

                                (September 5, 2020, October 8 – 10, 2020)

As to Plaintiffs Taleavia Cole, Tracy Cole, Rachel Dulay, Erik Fanning, Destiney Jones, Sonora
Larson, Carmen Palmer, Palmer Juvenile Female 1, Palmer Juvenile Female 2, Lazarito Matheu,
Peter Sparks, Jose Ramirez, Aidali Rivera, William Rivera, Hector Rodriguez, and Mariah Smith

Against Defendant Officers Jeffrey Farina, Joseph Lewandowski, Daniel Mitchell, George
Opelt, Robert Piehl, Russell Richardson James Short, Luke Vetter, Kelly Zielinski, and John Doe
Officers
                                                   1.
       1032. Plaintiffs Taleavia Cole, Tracy Cole, Rachel Dulay, Erik Fanning, Destiney Jones,

Sonora Larson, Carmen Palmer, Palmer Juvenile Female 1, Palmer Juvenile Female 2, Lazarito

Matheu, Peter Sparks, Jose Ramirez, Aidali Rivera, William Rivera, Hector Rodriguez, and

Mariah Smith realleges and incorporate here all paragraphs of this Complaint as though fully set

forth.

1033. At all relevant times herein, the above-named Defendants Officers Jeffrey Farina, Joseph

Lewandowski, Daniel Mitchell, George Opelt, Robert Piehl, Russell Richardson James Short,

Luke Vetter, Kelly Zielinski, and John Doe Officers were “persons” for purposes of 42 U.S.C. §

                                                                                                  122

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1983 and acted under color of state law to deprive Plaintiffs of their constitutional rights.

        1034. On September 5, 2020 Defendant Officers Jeffrey Farina, George Opelt, Luke

Vetter, and John Doe Officers used unnecessary excessive force, that was unjustified and

objectively unreasonable in light of the facts and circumstances confronting them against Plaintiff

Mariah Smith who never resisted detention nor attempted to flee and who was arrested for a

noncriminal disorderly conduct ordinance.

        1035. Plaintiff Mariah Smith did not pose an immediate threat to the safety any of the

officers or others.

        1036. Defendants Luke Vetter, Jeffrey Farina, George Opelt and other John Doe officers

used objectively unreasonable excessive force against Mariah Smith on September 5, 2020 and

she was ultimately arrested for a noncriminal disorderly conduct ticket.

        1037. Defendants Vetter and Farina’s actions of slamming Plaintiff Mariah Smith to the

ground and Defendant Opelt and John Doe Officers actions of putting a knee to her ribs and jaws

was excessive and objectively unreasonable.

        1038. On October 8, 2020 at all times material hereto, the Defendant Officers Daniel

Mitchell, Robert Piehl, and John Doe Officers used unnecessary, excessive force, that was

objectively unreasonable in light of the facts and circumstances confronting them against Plaintiff

Tracy Cole.

        1039. Defendants Daniel Mitchell, Robert Piehl, and John Doe Officers the actions of

Defendant Piehl’s actions of forcefully pulling Plaintiff Tracy Cole’s hair and kneeing her in her

thigh while Defendant Mitchells actions of tasing her and slamming her to the ground, and the

actions of John Doe officers of punching her several times was unlawful and objectively

unreasonable in light of the circumstances confronting the officers.



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       1040. Plaintiff Tracy Cole did not pose an immediate threat to the safety of any of the

officers or others and she was not trying to resist detention or attempting to flee.

       1041. On October 8, 2020 at all times material hereto, the Defendant Officers Russell

Richardson and John Doe Officers used unnecessary, excessive force, without legal cause that was

unjustified and objectively unreasonable in light of the facts and circumstances confronting them

against Plaintiff Taleavia Cole.

       1042. Specifically, Defendants Russell Richardson actions of slamming Plaintiff Taleavia

Cole to the ground, pointing a gun at her, and putting a knee on her back with other John Doe

Officers and Defendant Richardson and John Doe officers pointing a gun to her head was excessive

and objectively unreasonable.

       1043. Plaintiff Taleavia Cole did not pose an immediate threat to the safety of any of the

officers or others and she was not trying to resist detention or attempting to flee.

       1044. On October 8, 2020 at all times material hereto, Defendant James Short by pointing

his gun at Plaintiffs Sonora Larson and Erik Fanning used unnecessary, excessive force, without

legal cause that was unjustified and objectively unreasonable in light of the facts and circumstances

confronting him and others against Plaintiffs who never resisted detention nor did they ever

attempt to flee from Defendant Short or any John Doe Officers at any time.

       1045. Plaintiffs Erik Fanning and Sonora Larson were not a threat to Defendant Short nor

any of the John Doe officers at any time during their detention and subsequent arrests.

       1046. Plaintiffs Fanning and Larson were being stopped for a noncriminal nonviolent

curfew violation and were subsequently ticketed and released from custody hours later.

       1047. On October 8, 2020 at all times material hereto, Defendant Joseph Lewandowski

by pointing his gun at Plaintiffs Rachel Dulay and Jose Ramirez used unnecessary, excessive

force, without legal cause that was unjustified and objectively unreasonable in light of the facts
                                                                                                 124

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and circumstances confronting him and others against Plaintiffs who never resisted detention nor

did they ever attempt to flee from Defendant Lewandowski or any John Doe Officers at any time..

           1048. Plaintiffs Rachel Dulay and Jose Ramirez were not a threat to Defendant

Lewandowski nor any of the John Doe officers at any time during their detention and subsequent

arrests.

           1049. Plaintiffs Dulay and Ramirez were being stopped for a noncriminal nonviolent

curfew violation and were subsequently ticketed and released from custody hours later.

           1050. On October 8, 2020 at all times material hereto, John Doe Officers by pointing their

guns at Plaintiffs Destiney Jones, Carmen Palmer, Palmer Juvenile Female 1, and Palmer Juvenile

Male 2, used unnecessary, excessive force, without legal cause that was objectively unreasonable

in light of the facts and circumstances confronting them against these Plaintiffs who all never

resisted detention nor did they ever attempt to flee from any John Doe Officers.

           1051. Plaintiffs Destiney Jones, Carmen Palmer, Palmer Juvenile Female 1, and Palmer

Juvenile Male 2 were not a threat to any of the John Doe officers at any time during their detention

and subsequent arrests.

           1052   Plaintiff Destiney Jones, Carmen Palmer, Palmer Juvenile Female 1, and Palmer

Juvenile Male 2 was being stopped for a noncriminal nonviolent curfew violation and were

subsequently ticketed and released from custody hours later.

           1053. On October 9, 2020 at all times material hereto, John Doe Officers used

unnecessary, excessive force, without legal cause that was unjustified and objectively

unreasonable in light of the facts and circumstances confronting them against Plaintiff Sonora

Larson.

           1054. John Doe Officers use of excessive force against Sonora Larson which included her

being shot by multiple rubber bullets many of which occurred while she was on the ground on
                                                                                                 125

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October 9, 2020 was excessive force, objectively unreasonable, and it caused her great bodily

harm.

           1055   On October 9, 2020 at all times material hereto, John Doe Officers by pointing their

guns at Plaintiffs Lazarito Matheu, Aidali Rivera, William Rivera, and Hector Rodriguez and by

intentionally hitting the vehicle that Plaintiffs were in. John Doe Officers used unnecessary,

excessive force, without legal cause that was objectively unreasonable in light of the facts and

circumstances confronting them against these Plaintiffs who all never resisted detention nor did

they ever attempt to flee from any officers.

           1056. Plaintiffs Lazarito Matheu, Aidali Rivera, William Rivera, and Hector Rodriguez

were not a threat to any of the John Doe officers at any time during their detention and subsequent

arrests.

           1057   Plaintiffs Lazarito Matheu, Aidali Rivera, William Rivera, and Hector Rodriguez

were being stopped for a noncriminal nonviolent curfew violation and were subsequently ticketed

and released from custody later.

           1058. On October 10, 2020 at all times material hereto, the Defendant Officer Kelly

Zielinski and other John Doe Officers used unnecessary, excessive force, without legal cause that

was unjustified and objectively unreasonable in light of the facts and circumstances confronting

them against Plaintiff Peter Sparks.

           1059. Defendants Kelly Zielinski and John Doe Officers used excessive force against

Peter Sparks when they dragged him into a cemetery and kicked and punched him repeatedly on

October 10, 2020 which was unlawful and objectively unreasonable.

           1060. Defendants’ Officers Daniel Mitchell, George Opelt, Jeffrey Farina, Robert Piehl,

Russell Richardson, Luke Vetter, Kelly Zielinski, and John Doe officer’s actions were taken in

willful, wanton, reckless and malicious disregard of the Plaintiffs’ constitutional rights, for which
                                                                                                  126

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Plaintiffs Taleavia Cole, Tracy Cole, Sonora Larson, Peter Sparks, and Mariah Smith have suffered

injury.

          1061. While acting under color of state law, law enforcement deprived Plaintiffs of their

Fourth Amendment rights for which Plaintiffs are entitled to damages proximately caused thereby.

          1062. Unless restrained by this Court, Defendants will continue to engage in the

unconstitutional and illegal conduct alleged herein, or other similar unconstitutional or illegal

conduct, causing irreparable harm to the people of Wauwatosa.

                                NINTH CLAIM FOR RELIEF
                           42 U.S.C. § 1983. – UNLAWFUL ARREST

AS ALLEGED BY PLAINTIFFS OSCAR CONCEPCION, HOLLY LAVORA, NATHAN SABEL, WILLIAM
RIVERA, AIDALI RIVERA, HECTOR RODRIGUEZ, LAZARITO MATHEU, Jackie Bogenberger, Raine
Cich, Angel Vega, Gabriella Vitucci, Katelyn Wojnar, Anne Delessio-Parson, Kathryn Knowlton,
Dana McCormick, Molly Nilssen, Leah Porter, Christina Vitolo Haddad, Isiah Baldwin, Jill
Ferguson and Sonja Worthy

                        AGAINST DEFENDANTS FARINA AND JOHN DOES 1-100

          1063. Plaintiffs incorporate by reference the allegations contained in the foregoing

paragraphs, as though fully set forth herein.

          1064. John Doe Defendants had no probable cause to believe that Plaintiffs Holly Lavora

and Nathan Sabel had violated any Emergency Curfew when they seized and arrested them for

violating such curfew before the curfew was in effect.

          1065. John Doe Defendants had no probable cause when they arrested William Rivera,

Aidali Rivera, Hector Rodriguez, and Lazarito Matheu when they had knowledge that these

individuals were not in violation of the curfew.

          1066. John Doe Defendants had no probable cause when they arrested Leah Porter, Sonya

Worthy, and Christina Vitolo-Haddad when they had knowledge that these individuals were not

in violation of the curfew.

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       1067. John Doe Defendants knew that had no probable cause when they Kathryn

Knowlton, Dana McCormick were not violating the law when they were arrested.

       1068. Defendants Farina and John Does had no probable cause to believe that Plaintiff

Concepcion had violated the curfew as he was driving an Uber at the time he was arrested and

ticketed.

       1069. John Does Defendants restricted the movements of Jackie Bogenberger, Raine

Cich, Angel Vega, Gabriella Vitucci, Katelyn Wojnar, Anne Delessio-Parson, Kathryn Knowlton,

Dana McCormick, Molly Nilssen, Leah Porter, Christina Vitolo Haddad, Isiah Baldwin, Jill

Ferguson and Sonja Worthy after they were released from custody, even though Plaintiffs had

committed no crime and Defendant possessed no probable cause that a new crime had been

committed.

       1070. At all times relevant to this Complaint, Defendants were acting under color of state

law.

       1071. Defendants’ actions caused Plaintiffs to suffer damages.

                                TENTH CLAIM FOR RELIEF
             42 U.S.C. § 1983. – UNLAWFUL SEARCH AND SEIZURE (CARS, PHONES)

As Alleged by Plaintiffs, Jacqueline Bogenberger, Tahudah Cole, Taleavia Cole, Jill Ferguson,
Destiney Jones, Holly Lavora, Carmen Palmer, Palmer Juvenile Female 1, Palmer Juvenile Male
2, Lazarito Matheu, Aidali Rivera, William Rivera, Hector Rodriguez, and Gabriella Vitucci

Against Defendants Joseph Lewandowski, Shane Wrucke, Brian Skornia, Maria Arbiter, Timothy
Warren and John Doe Officers

       1072. Plaintiffs incorporate by reference the allegations contained in the foregoing

paragraphs, as though fully set forth herein.




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       1073. Defendants Shane Wrucke, James Skornia, Timothy Warren, Maria Albiter, and

John Does had no warrant, consent or other probable cause when they conducted a search of and

seized the phone of Taleavia Cole.

       1074. John Doe Defendants had no warrant, consent or other probable cause when they

conducted a search of and seized the vehicles of Tahudah Cole, Taleavia Cole, Oscar Concepcion,

Destiney Jones, Rachel Dulay, Suzanne Wells, Carmen Palmer, Aidali Rivera, and Jill Ferguson.

       1075. John Doe Defendants had no warrant, consent or other probable cause when they

conducted a search of the phones of Rachel Dulay, Suzanne Wells, Carmen Palmer, (Juvenile

Male) Palmer, and (Juvenile Female) Palmer, Bogenberger, Angel Vega, Leah Porter, Christina

Vitolo Haddad, Jill Ferguson, and Sonja Worthy

       1076. At all times relevant to this Complaint, Defendants were acting under color of state

law.

       1077. Defendants’ actions caused Plaintiffs to suffer damages.

                              ELEVENTH CLAIM FOR RELIEF
                                   Violation of Title VI

                             As Alleged by Plaintiff William Rivera

                             Against Defendant City of Wauwatosa

       1078. Plaintiff William Rivera realleges and incorporates here all paragraphs of this

Complaint as though fully set forth.

       1079. Title VI provides that “[n]o person in the United States shall, on the ground of race,

color, or national origin, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial assistance.”

       1080. Defendant City of Wauwatosa receives federal financial assistance for its programs

and activities that are subject to the requirements of Title VI and its implementing regulations.

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       1081. Wauwatosa has received federal funds and has been awarded the Emergency

Preparedness Grant as well as over $20 million in funds from the American Rescue Plan from the

federal government.

       1082. Plaintiff Rivera was unlawfully arrested while trying to go to his home in

Wauwatosa by a Defendant John Doe Officer on October 9, 2020.

       1083. When Plaintiff Rivera tried to explain that he was trying to go home from work and

lived a few blocks from where he was arrested to several John Doe officers, he was explicitly told

by an arresting John Doe Officer that, “at this point it (arresting him) doesn’t matter because you

are black.”

       1084. Wauwatosa’s discriminatory law enforcement practices violates Title VI.


                          TWELVTH CLAIM FOR RELIEF
                          42 U.S.C. § 1983. – Equal Protection

                         As Alleged by Plaintiff William Rivera

                           Against Defendant John Does 1-100

       1085. Plaintiffs incorporates by reference the allegations contained in the foregoing

paragraphs, as though fully set forth herein.

       1086. Defendant John Doe told William Rivera that they were arresting him because he

is Black.

       1087. Defendants’ actions were taken on account of Mr. Rivera’s race.

       1088. At all times relevant to this Complaint, Defendants were acting under color of state

law.

       1089. Defendants’ actions caused Plaintiff to suffer damages.

               THIRTEENTH CLAIM FOR RELIEF – STATE LAW CLAIM
                  MALICIOUS PROSECUTION (Wisconsin State Law)

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          As Alleged by Plaintiffs Isiah Baldwin, Aidali Rivera, and Rosalind Rogers

                    Against Defendants Jeffrey Farina and John Doe Officers

       1090. These Plaintiffs reallege and incorporate by reference all the allegations in the

preceding paragraphs.

       1091. Pursuant to 28 U.S.C. 1367 Supplemental jurisdiction is proper in that this court

may exercise supplemental jurisdiction over state-law claims as this claim is part of the same case

over which this court has original jurisdiction.

       1092. Defendant John Doe officers unlawfully arrested Plaintiff Aidali Rivera and

detained her for hours claiming a violation of an emergency order with no probable cause knowing

that she was exempt from the curfew.



       1094. Defendant Jeffrey Farina caused Plaintiff Aidali Rivera to be improperly subjected

to judicial proceedings to which there was no probable cause. These proceedings were instituted

and continued maliciously, resulting in damages to Aidali Rivera.

       1095. The proceeding was terminated in favor of Plaintiff Aidali Rivera.

       1096. Defendants Jeffrey Farina and other officers unlawfully arrested Plaintiffs Isiah

Baldwin and Rosalind Rogers and detained them for hours for an ordinance violation of special

permit required with no probable cause.



       1098. Defendant Jeffrey Farina caused Plaintiffs to be improperly subjected to judicial

proceedings to which there was no probable cause. These proceedings were instituted and

continued maliciously, resulting in damages to them.




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       1099. The proceeding was terminated in favor of Plaintiffs Isiah Baldwin and Rosalind

Rogers.

       1100. The misconduct by Defendants Farina and other John Doe Officers in this Count

was undertaken intentionally, with malice, willfulness, and reckless indifference to Plaintiffs

Aidali Rivera, Rosalind Rogers, and Isiah Baldwin’s rights.

       1101. In February 2021, the prosecutions were terminated in Plaintiff Rivera’s, Baldwin,

and Rogers favor and in a manner indicative of innocence.

       1102. As a direct and proximate result of Defendants Farina, and John Doe Officers

misconduct, Plaintiffs Baldwin, Rivera, and Rogers, were all unlawfully arrested and sustained

injury or damage as a result of the proceeding.

                       FOURTEENTH CLAIM FOR RELIEF
               VIOLATION OF THE DRIVER'S PRIVACY PROTECTION ACT.
                                 (18 U.S.C. § 2721, et seq.)

As Alleged by Plaintiffs Andrew Aaron, Kamila Ahmed, Robert Agnew, Isiah Baldwin,
Jacqueline Bogenberger, Rebecca Burrell, Raine Cich, Khalil Coleman, Taleavia Cole, Steven
Conklin, Anne Delessio-Parson, Rachel Dulay, Erik Fanning, Jill Ferguson, Breon Foster, Joanna
Geisler, Joseph Hayes, Percy Hayes, Destiney Jones, Adante Jordan, Mary Kachelski, Sean Kafer,
Kathelyn Knowlton, Joseph Koepp, John Larry, Alex Larson, Sonora Larson, Holly Lavora,
Lazarito Mathieu, Vaun Mayes, Dana McCormick, Molly Nilssen, Carmen Palmer, (juvenile
male) Palmer 1, (juvenile female) Palmer 2, Leah Porter, Jose Hernandez Ramirez, William
Rivera, Hector Rodriguez, Rosalind Rogers, Nathan Sabel, William Schroeder, Mariah Smith,
Peter Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Jayden Welch, Suzanne
Wells, Brandon Wilborn, Katelyn Wojnar, and Sonja Worthy

                                 Against Defendant Joseph Roy

       1103. These Plaintiffs reallege and incorporate by reference all the allegations in the

preceding paragraphs.

       1104. The DPPA, 18 U.S.C. § 2722 makes it “unlawful for any person knowingly to

obtain or disclose personal information, from a motor vehicle record, for any use not permitted

under Section 2721(b)” of the DPPA.

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       1105. The DPPA, 18 U.S.C. § 2724(a) provides that a “person who knowingly obtains,

discloses or uses personal information, from a motor vehicle record, for a purpose not permitted

under this chapter shall be liable to the individual to whom the information pertains.

       1106. The DPPA, 18 U.S.C. § 2725(1) defines “motor vehicle record” to mean “any

record that pertains to a motor vehicle operator’s permit, motor vehicle title, motor vehicle

registration, or identification card issued by a department of motor vehicles.”

       1107. The DPPA, 18 U.S.C. § 2725(3) defines “personal information” to mean

information that identifies an individual, including an individual’s photograph, social security

number, driver identification number, name, address (but not the 5-digit zip code), telephone

number, and medical or disability information, but does not include information on vehicular

accidents, driving violations, and driver’s status.”

       1108. Pursuant to 18 U.S.C. § 2725(4) highly restricted personal information is defined

as “an individual’s photograph or image, social security number, medical or disability

information;”

       1109. Pursuant to 18 U.S.C. § 2725(5) defines express consent as consent in writing.

       1110. Defendant City of Wauwatosa through its law enforcement officers obtained

Plaintiffs Andrew Aaron, Kamila Ahmed, Robert Agnew, Isiah Baldwin, Jacqueline Bogenberger,

Rebecca Burrell, Raine Cich, Khalil Coleman, Taleavia Cole, Steven Conklin, Anne Delessio-

Parson, Rachel Dulay, Erik Fanning, Jill Ferguson, Breon Foster, Joanna Geisler, Joseph Hayes,

Percy Hayes, Destiney Jones, Adante Jordan, Mary Kachelski, Sean Kafer, Kathelyn Knowlton,

Joseph Koepp, John Larry, Alex Larson, Sonora Larson, Holly Lavora, Lazarito Mathieu, Vaun

Mayes, Dana McCormick, Molly Nilssen, Carmen Palmer, (juvenile male) Palmer 1, (juvenile

female) Palmer 2, Leah Porter, Jose Hernandez Ramirez, William Rivera, Hector Rodriguez,

Rosalind Rogers, Nathan Sabel, William Schroeder, Mariah Smith, Peter Sparks, Angel Vega,
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Christina Vitolo-Haddad, Gabriella Vitucci, Jayden Welch, Suzanne Wells, Brandon Wilborn,

Katelyn Wojnar, and Sonja Worthy hereinafter referred to collectively as “these fifty-three (53)

Plaintiff” personal information and highly restricted personal information from their motor vehicle

records.

       1111. Defendant Joseph Roy on January 7, 2021 publicly disclosed these fifty-three (53)

Plaintiffs personal information and/or highly restricted personal information without their express

consent and for a purpose not permitted by the DPPA.

       1112. Defendant Joseph Roy after January 7, 2021 continued to publicly disclose these

fifty-three (53) Plaintiffs personal information and/or highly restricted personal information

without their express consent and for a purpose not permitted by the DPPA.

       1113. Defendant Joseph Roy had no permissible purpose, within the meaning of 18

U.S.C. § 2722(a) or §2721(b), to publicly disclose the personal information and/or highly restricted

personal information of these fifty-three (53) Plaintiffs.

       1114. As a result of Defendant Roy’s conduct, the aforementioned Plaintiffs have suffered

harm, and are entitled to recover the damages available under the DPPA, plus costs and attorneys'

fees, as provided under 18 U.S.C. §2724(b) of the DPPA.

       WHEREFORE, Plaintiffs respectfully pray that judgment be entered against Defendants,

jointly and severally, and request that the Court award the following relief:

   1. An order finding the City of Wauwatosa’s curfew of October 7 - 12, 2021 was unlawful
       and illegally enacted;
   2. An order finding the City of Wauwatosa’s October 7 – 12, 2020 curfew unconstitutional;
   3. A declaration that Defendants’ conduct violated the First, Fourth, and Fourteenth
       Amendments of the United States Constitution;




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4. An order requiring immediate cessation of law enforcement surveillance and monitoring
   of peaceful protest activity, including a prohibition of law enforcement maintaining files
   on the views and expressive activities;
5. An injunction prohibiting the Wauwatosa Police Department from sharing its existing
   files with any other law enforcement or non-law enforcement agencies or municipalities;
6. A preservation order that the files on activists and peaceful protests be preserved as they
   are potential evidence in future litigation;
7. Damages compensating Plaintiffs for their injuries, including but not limited to
   compensatory, pecuniary, punitive and medical expense damages;
8. An award of prejudgment interest;
9. An order enjoining Defendants from enforcing a policy ordering dispersal of people
   peacefully observing or passing by an allegedly unlawful assembly and then arresting
   those through law enforcement;
10. An order that Defendants and other law enforcement agencies whom the Defendants
   engaged, permanently delete any fabricated arrest records, booking photos, arrest
   information, fingerprint cards, and any and all data that they have regarding Plaintiffs;
11. Order the Wauwatosa Police Department to make a public accounting of the scope
   and nature of files subject of this lawsuit, such that Defendants fully, accurately and
   completely identify:
           a)      Number of groups and organizations has the Wauwatosa Police
                   Department been surveilling, monitoring and recording;
           b)      Descriptors used by the WPD (such as “criminal,” “extremists,” and/or
                   “domestic terrorists”);
           c)      Criteria for listing and/or placing an individual and/or organization on the
                   target list;
           d)      Number of individuals with files created by the Wauwatosa Police
                   Department on since the death of George Floyd on May 25, 2020 to present
                   as it relates to protests;
           e)      To whom (all individuals and organizations) the WPD, and including any
                   employees of the City, has the information from the files (including the files
                   themselves) been given, whether by access or providing copies;




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12. An order requiring notification to individuals listed on any files, lists, or other
   monitoring/intelligence document, including on the TPR Target List, of the existence and
   opportunity to that individual to review the information;
13. An order requiring the Wauwatosa Police Department to destroy the Target List and any
   protestor monitoring files and all of its contents with written confirmation after all subjects
   have been notified and provided an opportunity to review;
14. Order the Wauwatosa Police Department to contact any third-party entities who received
   the Target List and any protestor monitoring files to destroy it and all of
15. An injunction prohibiting the Defendants from sharing with third parties any of Plaintiffs
   personal information and highly restricted personal information retrieved from their motor
   vehicle records and without their consent that is not for a permissible lawful purpose.
16. Declare that Defendants’ practice of obtaining personal information through the DOT
   without probable cause or reasonable suspicion as arbitrary and as such violated the DPPA;
17. Enter a preliminary and permanent injunction preventing and restraining Defendants (and
   any of their attorneys, employees, agents, representatives or anyone acting on their behalf)
   from disclosing or using the personal information about Plaintiffs, and requiring
   Defendants to destroy all personal information about Plaintiff that Defendants have in the
   possession, custody or control.
18. Require Defendants to identify under penalty of perjury all manners how the personal
   information of Plaintiffs has been used or disclosed and confirming that all personal
   information about Plaintiffs has been destroyed.
19. Award monetary damages, the exact amount to be determined at trial, in an amount not
   less than the statutory-provided liquidated damages, for each Plaintiff and each member of
   the Class, of not less than $2500 for each separate violation of DPPA by Defendant under
   18 U.S.C. §2724(b)(1);
20. Award punitive damages, the exact amount to be determined at trial, for Defendants’
   willful and reckless disregard of the DPPA and to deter such future violations, pursuant to
   18 U.S.C. §2724(b)(2);
21. Require Defendants to pay pre-judgment interest and post judgment interest;
22. Award reasonable and actual attorney’s fees and other litigation costs pursuant to 18 U.S.C.
   §2724(b)(3);

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   23. Grant any other relief that this Court determines is appropriate pursuant to 18 U.S.C. §
       2724(4) and grant any other relief to which Plaintiff is entitled pursuant to Rule 54(c) of
       the Federal Rules of Civil Procedure;
   24. An award of attorneys’ fees and costs pursuant to 42 U.S.C. §1988; and
   25. All other relief the Court deems just.


Respectfully submitted this 15th day of February 2022.

PLAINTIFFS HEREBY DEMANDS A JURY TRIAL OF THIS MATTER ON ALL ISSUES
SO TRIABLE.




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